Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 1 of 159. PageID #: 645020




                                 EXHIBIT A
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 2 of 159. PageID #: 645021




                             UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF OHIO

                                  EASTERN DIVISION



 IN RE: NATIONAL PRESCRIPTION                MDL 2804
 OPIATE LITIGATION
                                             Case No. 1:17-md-2804
 This Document Relates to:
                                             CLASS ACTION SETTLEMENT
 ALL THIRD PARTY PAYOR ACTIONS               AGREEMENT AMONG THIRD
                                             PARTY PAYORS AND SETTLING
                                             DISTRIBUTORS
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 3 of 159. PageID #: 645022




                                                 TABLE OF CONTENTS

I.      Definitions............................................................................................................................1

II.     Representations and Warranties ...........................................................................................8

III.    Class Definition .................................................................................................................10

IV.     Settlement Funds ................................................................................................................11

V.      Approval and Notice ..........................................................................................................15

VI.     Conditions of Settlement; Effect of Disapproval, Cancellation, or Termination ...............22

VII.    Notice and Claims Administrator ......................................................................................24

VIII.   Attorneys’ Fees and Expenses and Service Awards ..........................................................27

IX.     Releases and Dismissal ......................................................................................................28

X.      Miscellaneous Provisions...................................................................................................32




                                                                     i
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 4 of 159. PageID #: 645023




         This Settlement Agreement, including all exhibits attached hereto (collectively, the
“Agreement”), is entered into as of August 29, 2024, by and between Defendants Cencora, Inc.
(“Cencora”), Cardinal Health, Inc. (“Cardinal”), and McKesson Corporation (“McKesson”)
(each, individually, a “Settling Distributor” and, collectively, the “Settling Distributors”) and
Class Counsel for Third Party Payors, both individually and on behalf of the Class in the above-
captioned action. The Class Representatives, the Class, and the Settling Distributors are
collectively referred to for purposes of this Agreement as the “Settling Parties,” and each,
individually, a “Settling Party.” This Agreement is intended by the Settling Parties to fully,
finally, and forever resolve, discharge, and settle the Released Claims (as that term is defined
herein), upon and subject to the terms and conditions herein, and subject to the approval of the
Court under Rule 23(e) of the Federal Rules of Civil Procedure.

I.     Definitions

       As used in this Agreement, the following terms have the meanings specified below:

       A.      “Action(s)” means a lawsuit purportedly brought on behalf of any Third Party
Payor against one or more Settling Distributors coordinated under or parallel to MDL No. 2804,
In re National Prescription Opiate Litigation, No. 1:17-md-2804-DAP (N.D. Ohio) (“MDL No.
2804”), in any court, including, but not limited to, the Actions listed in Exhibit A.

        B.      “Aetna” means CVS Pharmacy, Inc., CVS Health Corporation, Aetna Inc., Aetna
Life Insurance Company, Aetna Health and Life Insurance Company, and Aetna Health Inc., and
includes: (a) all past and present subsidiaries, divisions, predecessors, successors, and assigns (in
each case, whether direct or indirect), including all entities listed in Exhibit C; and (b) all past
and present subsidiaries and divisions (in each case, whether direct or indirect) of any entity
described in clause (a).

       C.     “Allocated Amount” means the amount of the Net Settlement Funds payable to the
Qualifying Class Member.

         D.     “Anthem” means Elevance Health, Inc. and Anthem Insurance Companies, Inc.
and includes: (a) all past and present subsidiaries, divisions, predecessors, successors, and
assigns (in each case, whether direct or indirect), including all entities listed in Exhibit D; and
(b) all past and present subsidiaries and divisions (in each case, whether direct or indirect) of any
entity described in clause (a).

        E.      “Attorneys’ Fees and Expenses” means payment to Plaintiffs’ counsel of
attorneys’ fees and reimbursable costs and charges (including expert and consulting fees) in an
amount to be determined by the Court and includes the common benefit obligations due under
the Court’s common benefit-related Orders. Attorneys’ Fees and Expenses shall be paid from
the Settlement Funds.

        F.      “Cigna” means The Cigna Group, Cigna Health and Life Insurance Company,
and Connecticut General Life Insurance Company, and includes: (a) all past and present
subsidiaries, divisions, predecessors, successors, and assigns (in each case, whether direct or
indirect), including all entities listed in Exhibit E; and (b) all past and present subsidiaries and
divisions (in each case, whether direct or indirect) of any entity described in clause (a).

                                                   1
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 5 of 159. PageID #: 645024




        G.      “Claim(s)” means any past, present, or future cause of action, claim for relief,
cross-claim or counterclaim, theory of liability, demand, derivative claim, request, assessment,
charge, covenant, damage, debt, lien, loss, penalty, judgment, right, obligation, dispute, suit,
contract, controversy, agreement, parens patriae claim, promise, performance, warranty,
omission, or grievance of any nature whatsoever, whether legal, equitable, statutory, regulatory,
or administrative, whether arising under federal, state, or local common law, statute, regulation,
guidance, ordinance, or principles of equity, whether filed or unfiled, whether asserted or
unasserted, whether known or unknown, whether accrued or unaccrued, whether foreseen,
unforeseen, or unforeseeable, whether discovered or undiscovered, whether suspected or
unsuspected, whether fixed or contingent, and whether existing or hereafter arising, in all such
cases, including, but not limited to, any request for declaratory, injunctive, or equitable relief,
compensatory, punitive, or statutory damages, absolute liability, strict liability, restitution,
abatement, subrogation, contribution, indemnity, apportionment, disgorgement, reimbursement,
attorney fees, expert fees, consultant fees, fines, penalties, expenses, costs, or any other legal,
equitable, civil, administrative, or regulatory remedy whatsoever.

        H.      “Claim-Over” means a Claim asserted by a Non-Released Entity against a
Released Entity on the basis of contribution, indemnity, or other claim-over on any theory
relating to a Non-Party Covered Conduct Claim asserted by a Releasor.

       I.      “Claim Form” means the document or online form, in the form attached as
Exhibit H to this Agreement, that Class Members must submit to the Notice and Claims
Administrator to receive a payment pursuant to this Agreement.

       J.      “Class” or “Settlement Class” has the meaning set forth in Section III.A.

        K.     “Class Counsel” or “Settlement Class Counsel” means those counsel who will
serve as Third Party Payor Class Counsel, namely, Elizabeth J. Cabraser and Eric B. Fastiff of
Lieff Cabraser Heimann & Bernstein, LLP, and Paul J. Geller and Mark J. Dearman of Robbins
Geller Rudman & Dowd LLP.

        L.      “Class Member” or “Settlement Class Member” means an entity that falls within
the definition of the Class and does not elect to opt out of the Class. For the avoidance of doubt,
each Class Representative is a Class Member.

       M.      “Class Representative(s)” or “Settlement Class Representative(s)” means
Cleveland Bakers and Teamsters Health and Welfare Fund; Pipe Fitters Local Union No. 120
Insurance Fund; Pioneer Telephone Cooperative, Inc. Employee Benefits Plan; American
Federation of State, County and Municipal Employees District Council 37 Health & Security
Plan; Louisiana Assessors’ Insurance Fund; and Flint Plumbing and Pipefitting Industry Health
Care Fund.

       N.      “Co-Lead Class Counsel” or “Co-Lead Settlement Class Counsel” means
Elizabeth J. Cabraser of Lieff Cabraser Heimann & Bernstein, LLP and Paul J. Geller of Robbins
Geller Rudman & Dowd LLP, who serve in their capacity as members of the Court-appointed
Settlement Negotiating Committee and as Co-Lead Class Counsel.

       O.      “Court” means the United States District Court for the Northern District of Ohio.

                                                 2
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 6 of 159. PageID #: 645025




        P.       “Covered Conduct” means any actual or alleged act, failure to act, negligence,
statement, error, omission, breach of any duty, conduct, event, transaction, agreement,
misstatement, misleading statement, or other activity of any kind whatsoever, occurring at any
time up to and including the Effective Date (and any past, present, or future consequence of any
such act, failure to act, negligence, statement, error, omission, breach of duty, conduct, event,
transaction, agreement, misstatement, misleading statement, or other activity, occurring at any
time up to and including the Effective Date) arising from or relating to: (1) the discovery,
development, manufacture, packaging, repackaging, marketing, promotion, advertising, labeling,
recall, withdrawal, distribution, delivery, monitoring, reporting, supply, sale, prescribing,
dispensing, physical security, warehousing, use or abuse of, or operating procedures relating to,
any Product, or any system, plan, policy, or advocacy relating to any Product or class of
Products, including, but not limited to, any unbranded promotion, marketing, programs, or
campaigns relating to any Product or class of Products; (2) the characteristics, properties, risks,
or benefits of any Product; (3) the reporting, disclosure, non-reporting or nondisclosure to
federal, state, or other regulators of orders placed with any Released Entity; or (4) diversion
control programs or suspicious order monitoring; provided, however, that as to any Claim that a
Releasor has brought or could bring, Covered Conduct does not include noncompliance with
statutory or administrative supply security standards concerning cleanliness of facilities or
stopping counterfeit products, so long as such standards apply to the storage and distribution of
both controlled and non-controlled pharmaceuticals.

        Q.      “Defendants” means Purdue Pharma, L.P.; Purdue Pharma, Inc.; The Purdue
Frederick Company; Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Par
Pharmaceutical, Inc.; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals,
Inc. n/k/a/ Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica n/k/a Janssen Pharmaceuticals,
Inc.; Johnson & Johnson; Noramco, Inc.; Tasmanian Alkaloids Pty. Ltd.; Teva Pharmaceutical
Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Allergan Limited f/k/a
Allergan plc f/k/a Actavis plc f/k/a Allergan, Inc.; Allergan Finance, LLC f/k/a Actavis, Inc.
f/k/a Watson Pharmaceuticals, Inc.; Allergan Sales, LLC; Allergan USA, Inc.; Watson
Laboratories, Inc.; Warner Chilcott Company, LLC; Actavis Pharma, Inc. f/k/a/ Watson Pharma,
Inc.; Actavis South Atlantic LLC; Actavis Elizabeth LLC; Actavis Mid Atlantic LLC; Actavis
Totowa LLC; Actavis LLC; Actavis Kadian LLC; Actavis Laboratories UT, Inc. f/k/a Watson
Laboratories, Inc.-Salt Lake City; Actavis Laboratories FL, Inc. f/k/a Watson Laboratories, Inc.-
Florida; Mallinckrodt plc; Mallinckrodt LLC; McKesson Corporation; Cencora, Inc.; Cardinal
Health, Inc.; CVS Indiana, LLC; CVS Rx Services, Inc.; CVS TN Distribution, LLC; CVS
Orlando Florida Distribution, LLC; CVS Pharmacy, Inc.; Louisiana CVS Pharmacy, L.L.C.;
Pennsylvania CVS Pharmacy L.L.C.; CVS Health Corporation; Walgreen Co.; Walgreen Eastern
Co.; Walmart Inc. f/k/a Wal-Mart Stores, Inc.; Wal-Mart Stores East, LP; and any and all other
persons and entities named as Defendants in any lawsuit coordinated under or parallel to MDL
No. 2804.

       R.      “Effective Date” means the date of Final Judgment.

        S.     “Escrow Account” means the interest-bearing account to be established and
controlled by the Escrow Agent as set forth in Section IV.C.



                                                 3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 7 of 159. PageID #: 645026




       T.      “Escrow Agent” means the agent to be selected as set forth in Section IV.C.1.

        U.    “Excluded Insurers” means Aetna, Anthem, Cigna, Humana, and UnitedHealth,
and includes:

               1.      the respective past and present officers, directors, members, trustees, and
                       employees of any of the Excluded Insurers (each for actions that occurred
                       during and related to their work for, or employment with, the Excluded
                       Insurers);

               2.      all past and present joint ventures (whether direct or indirect) of each
                       Excluded Insurer, including in any Excluded Insurer’s capacity as a
                       participating member in such joint venture;

               3.      all direct or indirect parents and shareholders of the Excluded Insurer
                       (solely in their capacity as parents or shareholders of the applicable
                       Excluded Insurer); and

               4.      any insurer of any Excluded Insurer or any person or entity otherwise
                       described in the definitions for Aetna, Anthem, Cigna, Humana, and
                       UnitedHealth or in subsections (1)-(3) above (solely in its role as insurer
                       of such person or entity and subject to the last sentence of Section I.QQ.).

        V.    “Fairness Hearing” means the proceedings to be held before the Court to
determine whether the Class should be finally certified for settlement purposes; whether the
Settlement should be approved as fair, reasonable, and adequate pursuant to Federal Rule of
Civil Procedure 23(e)(2); whether a final judgment should be entered; and whether the motion
for award of Attorneys’ Fees and Expenses and Service Awards, if any, should be granted.

      W.       “Fee and Expense Award” means an award by the Court of Attorneys’ Fees and
Expenses.

        X.      “Final Approval Order” means the order entered by the Court, pursuant to
Section V.H., approving this Agreement and directing the dismissal with prejudice of the Actions
against the Settling Distributors. The Final Approval Order shall be substantially in the form of
the order attached hereto as Exhibit J, subject to Section V.A.2.

        Y.      “Final Judgment” means the Final Approval Order when it has become final and
non-appealable. The Final Approval Order shall be deemed to be the Final Judgment on: (a) the
day following the expiration of the deadline for appealing the entry by the Court of the Final
Approval Order (or for appealing any ruling on a timely motion for reconsideration of such Final
Approval Order, whichever is later), if no such appeal is filed; or (b) if an appeal of the Final
Approval Order is filed: (i) the date upon which all appellate courts with jurisdiction (including
the United States Supreme Court by petition for certiorari) affirm such Final Approval Order, or
deny any such appeal or petition for certiorari, such that no further appeal is possible; or (ii) if no
appeal is filed from the appellate court decision obtained pursuant to clause (i), the day following
the expiration of the deadline for filing a petition for certiorari to the United States Supreme
Court.

                                                  4
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 8 of 159. PageID #: 645027




        Z.      “Humana” means Humana Inc., Humana Medical Plan, Inc., Humana Health
Plan, Inc., Humana Insurance Company, and includes: (1) all past and present subsidiaries,
divisions, predecessors, successors, and assigns (in each case, whether direct or indirect),
including all entities listed in Exhibit F; and (2) all past and present subsidiaries and divisions (in
each case, whether direct or indirect) of any entity described in subsection (1).

        AA. “Net Settlement Funds” means the Settlement Funds, less the payments set forth
in Section VII.C.

        BB. “Non-Party Covered Conduct Claim” means a Claim against any Non-Released
Entity involving, arising out of, or related to Covered Conduct (or conduct that would be
Covered Conduct if engaged in by a Released Entity).

       CC. “Non-Party Settlement” means a settlement by any Releasor that settles any Non-
Party Covered Conduct Claim and includes a release of any Non-Released Entity.

       DD.     “Non-Released Entity” means an entity that is not a Released Entity.

         EE.    “Notice” means the Court-approved form of the notice advising Class Members of
their rights with respect to this Agreement in accordance with Section V.D.

        FF.     “Notice and Administrative Costs” means the reasonable sum of money to be paid
out of the Settlement Funds for Notice to the Class and related administrative costs, including
taxes and tax service costs, as approved by the Court.

        GG. “Notice and Claims Administrator” means the notice and claims administrator(s)
to be selected by Co-Lead Class Counsel, with the consent of the Settling Distributors, and
approved by the Court.

       HH.     “Notice Order” means the Court order authorizing the dissemination of Notice to
the Class.

       II.     “Notice Plan” means the plan for distribution of Notice that is subject to Court
approval as set forth in Section V.C.2.

      JJ.     “Objection” means a written objection to the Settlement, or any part of this
Agreement, as set forth in Section V.F.

       KK. “Opioid Supply Chain Members” means the Purdue, Teva, Allergan, Janssen,
Endo, Mallinckrodt, CVS, Walgreens, and Walmart corporate entities, the Setting Distributors,
and unnamed front groups, key opinion leaders, and pharmacy benefit managers (“PBMs”).

       LL.     “Opt-Out Form” has the meaning set forth in Section V.G.

         MM. “Plaintiffs” means the Class Member Third Party Payors that filed cases against
the Settling Distributors in federal court, which cases are coordinated as part of MDL No. 2804,
or in state court, which cases are pending parallel to MDL No. 2804, including, but not limited



                                                   5
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 9 of 159. PageID #: 645028




to, those Actions listed in Exhibit A. A list of Plaintiffs that filed cases against the Settling
Distributors can be found in Exhibit B.

        NN. “Plan of Allocation” means the plan or formula of allocation of the Settlement
Funds, to be approved by the Court, whereby the Net Settlement Funds shall in the future be
distributed to Class Members.

       OO. “Preliminary Approval Order” means the order (or orders) of the Court
preliminarily approving this Agreement and the Settlement, as set forth fully in Section V.C.
The Preliminary Approval Order shall be substantially in the form of the order attached hereto as
Exhibit I, subject to Section V.A.1.

        PP.     “Product” means any chemical substance, whether used for medicinal or
nonmedicinal purposes, and whether natural, synthetic, or semi-synthetic, or any finished
pharmaceutical product made from or with such substance, that is: (1) an opioid or opiate, as
well as any product containing any such substance; (2) benzodiazepine, carisoprodol, or
gabapentin; or (3) a combination or “cocktail” of chemical substances prescribed, sold, bought,
or dispensed to be used together that includes opioids or opiates. Product shall include, but is not
limited to, any substance consisting of or containing buprenorphine, codeine, fentanyl,
hydrocodone, hydromorphone, meperidine, methadone, morphine, oxycodone, oxymorphone,
tapentadol, tramadol, opium, heroin, carfentanil, diazepam, estazolam, quazepam, alprazolam,
clonazepam, oxazepam, flurazepam, triozolam, temazepam, midazolam, carisoprodol,
gabapentin, or any variant of these substances or any similar substance.

        QQ. “Qualifying Class Members” means Class Members that submit a Claim Form
and that have been determined by the Notice and Claims Administrator to be eligible under the
Plan of Allocation to receive an Allocated Amount.

        RR. “Released Claims” means any and all Claims, including Unknown Claims, against
the Released Entities that directly or indirectly are based on, arise out of, or in any way relate to
or concern the Covered Conduct. Without limiting the foregoing, Released Claims include any
Claims that have been, are, or could be asserted against the Settling Distributors by any Releasor
in any federal, state, or local action or proceeding (whether judicial, arbitral, or administrative)
directly or indirectly based on, arising out of, or relating to, in whole or in part, the Covered
Conduct, whether or not such Releasor has brought such action or proceeding. Released Claims
also include all Claims against Settling Distributors asserted in any proceeding to be dismissed
pursuant to the Agreement, whether or not such Claims relate to Covered Conduct. The Settling
Parties intend that this term be interpreted broadly. For the avoidance of doubt, Released Claims
do not include Claims of individuals or entities outside the Class, including Claims by
individuals for personal injuries. Nothing herein shall prohibit a Released Entity from
recovering amounts owed pursuant to insurance contracts.

       SS.     “Released Entities” means the Settling Distributors and:

               1.      all past and present subsidiaries, divisions, predecessors, successors, and
                       assigns (in each case, whether direct or indirect) of each Settling
                       Distributor;


                                                   6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 10 of 159. PageID #: 645029




               2.      all past and present subsidiaries and divisions (in each case, whether direct
                       or indirect) of any entity described in subsection (1);

               3.      the respective past and present officers, directors, members, trustees, and
                       employees of any of the foregoing (each for actions that occurred during
                       and related to their work for, or employment with, any of the Settling
                       Distributors or the foregoing entities);

               4.      all past and present joint ventures (whether direct or indirect) of each
                       Settling Distributor or its subsidiaries, including in any Settling
                       Distributor’s or its subsidiary’s capacity as a participating member in such
                       joint venture;

               5.      all direct or indirect parents and shareholders of the Settling Distributors
                       (solely in their capacity as parents or shareholders of the applicable
                       Settling Distributor with respect to Covered Conduct); and

               6.      any insurer of any Settling Distributor or any person or entity otherwise
                       described in subsections (1)-(5) (solely in its role as insurer of such person
                       or entity and subject to the last sentence of Section I.QQ.).

Any person or entity described in subsections (3)-(6) shall be a Released Entity solely in the
capacity described in such clauses and shall not be a Released Entity with respect to its conduct
in any other capacity. For the avoidance of doubt, CVS Health Corp., Walgreens Boots Alliance,
Inc., and Walmart Inc. (collectively, the “Pharmacies” and each, a “Pharmacy”) are not
Released Entities, nor are their direct or indirect past or present subsidiaries, divisions,
predecessors, successors, assigns, joint ventures, shareholders, officers, directors, members,
trustees, or employees (shareholders, officers, directors, members, trustees, and employees for
actions related to their work for, employment with, or involvement with the Pharmacies)
Released Entities. Notwithstanding the prior sentence, any joint venture or past or present
subsidiary of a Settling Distributor is a Released Entity, including any joint venture between a
Settling Distributor or any Settling Distributor’s subsidiary and a Pharmacy (or any subsidiary of
a Pharmacy); provided, however, that any joint venture partner of a Settling Distributor or a
Settling Distributor’s subsidiary is not a Released Entity unless it falls within subsections (1)-(6)
above. For the avoidance of doubt, any entity acquired, or joint venture entered into, by a
Settling Distributor after the Effective Date is not a Released Entity.

         TT.      “Releasors” means Plaintiffs, any Class Representatives, the Class, and each of
their past, present, and future direct or indirect parents, subsidiaries, divisions, sister companies,
affiliates, joint ventures, predecessors, assigns, related entities, holding companies,
unincorporated business units, contractors, vendors, independent stockholders, officers, directors,
insurers, general or limited partners, principals, employees, agents, attorneys, and any of their
legal representatives (and the predecessors, heirs, executors, administrators, successors, and
assigns of each of the foregoing), provided, however, that any entity excluded from being a Class
Member under Section III.A.1.b. is excluded from the definition of Releasor. The inclusion or
exclusion of a specific reference to a type of entity in this definition shall not be construed as
meaning that the entity may not be a Class Member.


                                                  7
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 11 of 159. PageID #: 645030




        UU. “Service Award(s)” means any award made by the Court to the Class
Representatives in connection with their service as representatives of the Class. Service Awards
shall be paid from the Settlement Funds.

        VV. “Settlement” means the settlement of the Released Claims between the Settling
Parties on the terms and conditions set forth in this Agreement.

       WW. “Settlement Amount” means the agreed upon total payment of three hundred
million U.S. Dollars ($300,000,000.00), inclusive of any and all expenses, fees, and costs,
including without limitation any common benefit assessment owed pursuant to the Ongoing
Common Benefit Order in MDL No. 2804, which sums represent compensatory restitution
(within the meaning of 26 U.S.C. § 162(f)(2)(A)) for costs incurred to pay for the care and
treatment of individuals with substance use disorder, opioid use disorder, or other opioid-related
conditions.

       XX. “Settlement Funds” means the Settlement Amount plus any interest that may
accrue on the Settlement Amount from the date the Settling Distributors pay the Settlement
Amount or any portion thereof.

       YY. “Settling Distributors’ Counsel” means Wachtell, Lipton, Rosen & Katz,
Jenner & Block LLP, and Cravath, Swaine & Moore LLP, or any other law firm so designated in
writing by the Settling Distributors.

        ZZ.    “Third Party Payor” means an entity meeting the criteria defined in Section
III.A.1.a.

        AAA. “UnitedHealth” means UnitedHealth Group, Inc., UnitedHealthcare Insurance
Company, and UnitedHealthcare, Inc., and includes: (1) all past and present subsidiaries,
divisions, predecessors, successors, and assigns (in each case, whether direct or indirect),
including all entities listed in Exhibit G; and (2) all past and present subsidiaries and divisions (in
each case, whether direct or indirect) of any entity described in subsection (1).

       BBB. “Unknown Claims” means any Released Claim that a Class Member does not
know or suspect to exist in their favor at the time of the release of the Released Entities that, if
known by them, might have affected their settlement with and release of the Released Entities, or
might have affected their decision not to object to this Settlement.

      CCC. “Walk-Away Right” means the Settling Distributors’ right to terminate the
Agreement as set forth in Section VI.C.

II.    Representations and Warranties

        A.      Class Representatives’ Representations and Warranties. Class
Representatives represent and warrant to Settling Distributors that the Class Representatives are
members of the Class; have reviewed, and approve, the terms of this Agreement; and will take all
actions reasonably necessary and appropriate to support and obtain this Settlement’s approval,
implementation, and enforcement. Class Representatives further represent and warrant to
Settling Distributors that: (1) no portion of any relief under this Agreement to which any of the

                                                  8
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 12 of 159. PageID #: 645031




Class Representatives may be entitled has been assigned, transferred, or conveyed by or for any
of the Class Representatives to any other person or entity, except: (a) as it relates to payments to
counsel pursuant to any Fee and Expense Award or order of the Court; or (b) pursuant to any
lawful grant from a governmental entity, loan, or lien; (2) each Class Representative has
authority to release all Released Claims on behalf of itself and all other entities that are Releasors
by virtue of their relationship or association with it; and (3) none of the Class Representatives
will submit an Opt-Out Form, file an Objection, nor otherwise challenge the Settlement.

       B.      Class Counsel’s Representations and Warranties. Class Counsel represents
               and warrants to the Settling Distributors as follows:

               1.      Class Counsel believes the Settlement is fair, reasonable, adequate, and
                       beneficial to each Class Member and that participation in the Settlement
                       would be in the best interests of each Class Member.

               2.      Because Class Counsel believes that the Settlement is in the best interests
                       of each Class Member, Class Counsel will not solicit, or assist others in
                       soliciting, Class Members to submit an Opt-Out Form, file an Objection,
                       or seek any relief inconsistent with this Settlement.

               3.      Class Counsel has all necessary authority to enter into and execute this
                       Agreement on behalf of Class Representatives and Class Members.

               4.      Each of the Class Representatives has approved and agreed to be bound by
                       this Agreement.

               5.      The representations of each Class Representative set forth in Section II.A.
                       are true and correct to the best of Class Counsel’s knowledge.

       C.      Settling Distributors’ Representations and Warranties. The Settling
Distributors represent and warrant to Class Representatives as follows:

               1.      Each of the Settling Distributors has received legal advice from its
                       attorneys regarding the advisability of entering into this Agreement and
                       the legal consequences of this Agreement.

               2.      None of the Settling Distributors is relying on any statement,
                       representation, omission, inducement, or promise by Class
                       Representatives, Class Members, or Class Counsel, except those expressly
                       stated in this Agreement.

               3.      Each of the Settling Distributors, with the assistance of its attorneys, has
                       investigated the law and facts pertaining to the Released Claims and the
                       Settlement.

               4.      Each of the Settling Distributors has carefully read, and knows and
                       understands, the full contents of this Agreement and is voluntarily entering
                       into this Agreement after having consulted with its attorneys.

                                                  9
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 13 of 159. PageID #: 645032




               5.     Each of the Settling Distributors has all necessary authority to enter into
                      this Agreement, has authorized the execution and performance of this
                      Agreement, and has authorized the person signing this Agreement on its
                      behalf to do so.

III.   Class Definition

         A.     Class Certification. The Class Representatives and Settling Distributors agree
jointly to request that the Court certify the Class defined below under Federal Rule of Civil
Procedure 23(b)(3):

               1.     The Class shall consist of the following:

                       a.      All entities that paid and/or were reimbursed for: (i) opioid
               prescription drugs manufactured, marketed, sold, distributed, or dispensed by any
               of the Defendants and/or Opioid Supply Chain Members for purposes other than
               resale; and/or (ii) paid or incurred costs for treatment related to the misuse,
               addiction, and/or overdose of opioid drugs, on behalf of individual beneficiaries,
               insureds, and/or members, during the time period from January 1, 1996 to the date
               of entry of the Preliminary Approval Order. For clarity, the Class includes, but is
               not limited to: (a) private contractors of Federal Health Employee Benefits plans;
               (b) plans for self-insured local governmental entities that have not settled claims
               in MDL No. 2804; (c) managed Medicaid plans; (d) plans operating under
               Medicare Part C and/or D; and (e) Taft-Hartley plans. For the avoidance of
               doubt, all Plaintiffs identified in Exhibit B are included in the Class. Exhibit B is
               a non-exhaustive list and does not purport to identify all members of the Class.

                      b.      The following are excluded from the Class:

                              1.       (a) all federal governmental entities and all state and local
                      governmental entities whose claims have been released by a prior
                      settlement with the Settling Distributors; (b) PBMs; (c) consumers; (d)
                      fully insured plan sponsors; and (e) Excluded Insurers, including the
                      related entities as listed in the definition of Excluded Insurers. For the
                      avoidance of doubt: (i) entities that are administered or operated, but not
                      owned, by an Excluded Insurer; and (ii) entities that own an interest, even
                      a controlling interest, in a PBM, are not excluded from the Class, unless
                      they are an Excluded Insurer or are otherwise excluded; and

                              2.     (a) the Settling Distributors and their subsidiaries, affiliates,
                      and controlled persons; (b) officers, directors, agents, servants, or
                      employees of any Settling Distributor, and the immediate family members
                      of any such persons; and (c) persons and entities named as Defendants in
                      any of the Actions coordinated under or parallel to MDL No. 2804.

       B.      Ability to Cure Omissions. In the event that the Settling Parties agree that an
Action or entity was omitted from Exhibit A or B, the Settling Parties may, at any time before


                                                10
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 14 of 159. PageID #: 645033




entry of the Final Approval Order, amend such Exhibit to add such Action or entity. The
Settling Parties agree that they will act reasonably in considering any claim of such omission.

        C.      Certification for Settlement Purposes Only. The Settling Parties agree that any
certification of the Class will be for settlement purposes only. The Settling Parties do not waive
or concede any position or arguments they have for or against certification of any class for any
other purpose in any action or proceeding, and the Settling Parties retain full right and ability to
contest any such class certification.

IV.    Settlement Funds

       A.      Settlement Payment. The Settling Distributors shall pay the Settlement Amount
in consideration of the covenants, agreements, and releases set forth herein.

               1.      The Settling Distributors shall pay by wire transfer a portion of the
                       Settlement Amount sufficient to cover the Notice and Administrative
                       Costs, and any Taxes and Tax Expenses as they become due, but in no
                       event greater than $1,000,000.00, into the Escrow Account at the Escrow
                       Agent within fourteen (14) calendar days of the later of: (i) Preliminary
                       Approval of the Agreement; or (ii) the Settling Distributors’ receipt of the
                       information and instructions required to effectuate the wire transfer. The
                       Settling Distributors shall pay by wire transfer the remainder of the
                       Settlement Amount ($300,000,000.00, less any amount previously
                       transferred into the Escrow Account to cover Notice and Administrative
                       Costs and any Taxes and Tax Expenses that have come due) into the
                       Escrow Account within thirty (30) calendar days of the Final Approval
                       Order.

               2.      The Settlement Amount shall not be subject to reduction, and, upon the
                       occurrence of the Effective Date, no funds may be returned to the Settling
                       Distributors.

               3.      The Settlement Amount will be allocated among the Settling Distributors
                       as follows: McKesson – 38.1%; Cencora – 31.0%; and Cardinal – 30.9%.
                       The obligations of the Settling Distributors are several and not joint. No
                       Settling Distributor shall be responsible for any portion of another Settling
                       Distributor’s share of the Settlement Amount.

        B.      No Additional Payment Obligations. The obligations incurred pursuant to this
Agreement shall be in full and final disposition and settlement of all Released Claims. The
Settlement Amount paid or provided by the Settling Distributors is their sole monetary obligation
under this Agreement. Once the Settlement Amount is paid, the Settling Distributors shall have
no further monetary obligations of any sort or kind to Plaintiffs, the Class, or any counsel for
Plaintiffs pursuant to this Agreement or the Settlement. Under no circumstances will the Settling
Distributors be required to pay more than the Settlement Amount pursuant to this Agreement and
the Settlement set forth herein. For purposes of clarification, the payment of Taxes and Tax
Expenses (as set out in Section IV.D.), any Fee and Expense Award, the Notice and


                                                11
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 15 of 159. PageID #: 645034




Administrative Costs, any Service Awards, and any other costs associated with the
implementation of this Agreement, shall be exclusively paid from the Settlement Funds.
Notwithstanding the foregoing, the Settling Distributors shall be responsible at their own cost,
separate from the Settlement Amount, for providing such notices as the Class Action Fairness
Act of 2005 may require.

       C.      The Escrow Account and Agent.

               1.     Plaintiffs shall arrange for the Escrow Account to be established at
                      Citibank, N.A., with such bank serving as the Escrow Agent subject to an
                      escrow agreement, and such escrow to be administered under the Court’s
                      continuing supervision and control. To the extent that there is any
                      ambiguity or inconsistency when this Agreement and the escrow
                      agreement are read together, the terms of this Agreement shall control.

               2.     The Escrow Agent shall invest the Settlement Amount deposited pursuant
                      to Section IV.A. in U.S. agency or treasury securities or other instruments
                      backed by the full faith and credit of the U.S. government or an agency
                      thereof, or fully insured by the U.S. government or an agency thereof and
                      shall reinvest the proceeds of these instruments as they mature in similar
                      instruments at their then-current market rates; provided, however, that the
                      Escrow Agent will not invest in any instruments that a “qualified
                      settlement fund,” within the meaning of Treas. Reg. § 1.468B-1, et seq., is
                      not permitted to invest in, pursuant to the Treasury regulations, or any
                      modification in Internal Revenue Service (“IRS”) guidelines, whether set
                      forth in IRS rulings, other IRS pronouncements, or otherwise. All risks
                      related to the investment of the Settlement Funds shall be borne by the
                      Escrow Account, and any losses in the Escrow Account shall be borne by
                      the Escrow Account and shall not be recoverable from the Settling
                      Distributors. The Settling Distributors shall have no responsibility for,
                      interest in, or liability whatsoever with respect to the investment decisions
                      or the actions of the Escrow Agent or any transactions executed by the
                      Escrow Agent related to the investment of the Settlement Funds.

               3.     The Escrow Agent shall not, and Class Counsel shall not instruct the
                      Escrow Agent to, disburse the Settlement Funds, except as provided in the
                      Agreement or by order of the Court. For the avoidance of doubt, the
                      Escrow Agent is authorized, and Co-Lead Class Counsel is authorized to
                      instruct the Escrow Agent, to execute such transactions as are consistent
                      with the terms of the Agreement or as directed by the Court.

               4.     All funds held in the Escrow Account shall be deemed and considered to
                      be in custodia legis of the Court, and shall remain subject to the
                      jurisdiction of the Court, until such time as such funds are distributed
                      pursuant to this Agreement and/or further order(s) of the Court.




                                                12
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 16 of 159. PageID #: 645035




       D.    Taxes.

             1.       The Escrow Account shall be, and shall be treated by the Settling Parties,
                      the Escrow Agent, and Class Counsel as being at all times, a “qualified
                      settlement fund” within the meaning of Treas. Reg. § 1.468B-1 (and
                      corresponding or similar provisions of state, local, or foreign law, as
                      applicable), and the Court shall have continuing jurisdiction over the
                      Escrow Account, pursuant to Treas. Reg. § 1.468B-1(c)(1), and over Class
                      Counsel as its tax administrator. Class Counsel shall not take any action
                      or tax position inconsistent with such treatment. In addition, Class
                      Counsel shall timely make such elections as necessary or advisable and do
                      all things necessary to carry out the provisions of this Section IV.D, and
                      shall, in any event, make any available “relation-back election” (as
                      defined in Treas. Reg. § 1.468B-1(j)(2) (and corresponding or similar
                      elections under state, local, or foreign law, as applicable)), back to the
                      earliest permitted date. Such elections shall be made in compliance with
                      the procedures and requirements contained in such regulations. It shall be
                      the responsibility of Class Counsel to timely and properly prepare and
                      deliver the necessary documentation for signature by all necessary parties,
                      and thereafter to cause the appropriate filing to occur. Class Counsel
                      agree to take any other reasonable actions as shall be necessary to ensure
                      that the Escrow Account qualifies as a qualified settlement fund for
                      federal and state income tax purposes, including, but not limited to,
                      requesting the Court to formally: (i) approve the Escrow Account as a
                      “qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1;
                      and (ii) confirm its continuing jurisdiction over the Escrow Account.
                      Notwithstanding anything in the Agreement to the contrary, Class Counsel
                      shall not on behalf of or in connection with the Escrow Account request a
                      private letter ruling, technical advice memorandum, or any other ruling or
                      guidance from the IRS, or any other taxing authority on any matter
                      without consulting with and obtaining the prior written consent of each
                      Settling Distributor.

             2.       For the purpose of § 468B of the Internal Revenue Code of 1986, as
                      amended, and Treas. Reg. § 1.468B-2(k)(3) (and any corresponding or
                      similar provisions of state, local, or foreign law, as applicable), the
                      qualified settlement fund “administrator” shall be Class Counsel. Class
                      Counsel shall satisfy the administrative requirements imposed by Treas.
                      Reg. § 1.468B-2 (and any similar provisions of state, local, or foreign law,
                      as applicable) by, for example: (i) satisfying any information reporting or
                      withholding requirements imposed with respect to the Escrow Account,
                      including with respect to any distributions from the Escrow Account; (ii)
                      timely and properly filing or causing to be filed all informational and other
                      tax returns or filings necessary or advisable with respect to the Escrow
                      Account (including, without limitation, the returns described in Treas.
                      Reg. § 1.468B-2(k)) and paying any taxes reported thereon; (iii) sending
                      copies of all such tax returns and filings to the Settling Distributors; and

                                               13
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 17 of 159. PageID #: 645036




                   (v) providing instructions for the release of sufficient funds from the
                   Escrow Account to pay all Taxes owed by the Escrow Account in
                   accordance with Section IV.D.3. and Treas. Reg. § 1.468B-2 and any
                   applicable state, local, or other tax laws. Such returns, as well as the
                   relation-back election described in Section IV.D.1., shall be consistent
                   with the provisions of this Section IV.D.2 and in all events shall reflect
                   that all Taxes as defined in Section IV.D.3 on the income earned by the
                   Escrow Account shall be paid out of the Settlement Funds as provided in
                   Section IV.D.3. Each Released Entity shall provide to the administrator
                   and the IRS the statement described in Treas. Reg. § 1.468B-3(e)(2) no
                   later than February 15 of the year following each calendar year in which
                   such Released Entity makes a transfer to the Escrow Account. The
                   Released Entities shall have no responsibility or liability for the Escrow
                   Account’s tax returns or other filings.

             3.    The following shall be paid out of the Settlement Funds: (i) all taxes
                   (including any estimated taxes, interest, or penalties) arising with respect
                   to the income earned by the Escrow Account, including, without
                   limitation, any taxes or tax detriments that may be imposed upon the
                   Settling Distributors, their counsel, or any Released Entity with respect to
                   any income earned by the Escrow Account for any period during which
                   the Escrow Account does not qualify as a qualified settlement fund for
                   federal or state income tax purposes (collectively, “Taxes”); and (ii) all
                   expenses and costs incurred in connection with the operation and
                   implementation of this Section IV.D.3, including, without limitation,
                   expenses of tax attorneys and/or accountants (including the Escrow Agent)
                   and mailing and distribution costs and expenses relating to filing (or
                   failing to file) the returns described in this Section IV.D.3 (collectively,
                   “Tax Expenses”). In all events, neither the Settling Distributors nor any
                   other Released Entity nor their counsel shall have any liability or
                   responsibility for the Taxes described in clause (i) above or the Tax
                   Expenses. With funds from the Escrow Account, the Escrow Agent and
                   Class Counsel shall indemnify and hold harmless the Settling Distributors
                   and any other Released Entity and their counsel for Taxes described in
                   clause (i) above and Tax Expenses (including, without limitation, Taxes
                   payable by reason of any such indemnification). Further, Taxes described
                   in clause (i) above and Tax Expenses shall be treated as, and considered to
                   be, a cost of administration of the Escrow Account and shall timely be
                   paid, at Class Counsel’s direction, by the Escrow Agent out of the
                   Settlement Funds without prior order from the Court. Class Counsel and
                   the Escrow Agent shall be obligated (notwithstanding anything herein to
                   the contrary) to withhold from distribution to Class Members or Class
                   Counsel, as the case may be, any funds necessary to pay such amounts,
                   including the establishment of adequate reserves for any Taxes and Tax
                   Expenses (as well as any amounts that may be required to be withheld
                   under Treas. Reg. § 1.468B-2(1)(2)) (and any corresponding or similar
                   provisions of state, local, or foreign law, as applicable). Neither the

                                            14
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 18 of 159. PageID #: 645037




                   Settling Distributors nor any Released Entity nor their counsel is
                   responsible therefor, nor shall they have any liability therefor. The
                   Settling Parties agree to cooperate with the Escrow Agent, Class Counsel,
                   each other, their tax attorneys, and their accountants to the extent
                   reasonably necessary to carry out the provisions of this Section IV.D.3 and
                   with respect to any tax claim, dispute, investigation, audit, examination,
                   contest, litigation, or other proceeding relating to the Agreement.

             4.    The Settling Parties and Class Counsel agree that: (i) each of the Class
                   Members is enforcing its rights as a private party and is not enforcing any
                   rules or exercising any regulatory powers, in either case as part of a
                   governmental function; and (ii) the Settlement Amount is being paid as
                   compensatory restitution (within the meaning of 26 U.S.C. § 162(f)(2)(A))
                   in order to restore, in whole or in part, the Class Members to the same
                   position or condition that they would be in had the Class Members not
                   suffered alleged damage or harm allegedly caused by the Settling
                   Distributors. Upon request by any Settling Distributor, the Class
                   Representatives and Class Counsel agree to perform such further acts and
                   to execute and deliver such further documents as may be reasonably
                   necessary for the Settling Distributors to establish the tax treatment
                   described in this paragraph to the satisfaction of their tax advisors, their
                   independent financial auditors, the IRS, or any other governmental
                   authority, including as contemplated by Treasury Regulations Section
                   1.162-21(b)(3)(ii) and any other subsequently proposed or finalized
                   relevant regulations or administrative guidance.

V.     Approval and Notice

       A.    Approval and Effectiveness.

             1.    It is a condition to the Settlement that: (a) within a reasonable time period
                   after execution of this Agreement, the Court approve and enter the
                   Preliminary Approval Order, substantially in the form attached as Exhibit
                   I, provided that any material modification to the Preliminary Approval
                   Order must be acceptable to the Class Representatives and Settling
                   Distributors; and (b) the Preliminary Approval Order remain in full force
                   and effect until entry of the Final Approval Order. Any material
                   modification to the Settlement imposed by the Court as a condition of its
                   Preliminary Approval Order must be agreed to by the Class
                   Representatives and Settling Distributors in order for the Agreement to
                   remain binding. For the avoidance of doubt, any modification to the
                   Preliminary Approval Order that would alter Section IX of this Agreement
                   is deemed a material modification. Any modification relating to
                   Attorneys’ Fees and Expenses or Service Awards is not a material
                   modification.




                                            15
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 19 of 159. PageID #: 645038




              2.      It is a condition to the Settlement that: (a) within a reasonable time period
                      after the Preliminary Approval Order, including a reasonable period for
                      notice to the Class and other settlement approval-related dates and
                      deadlines as set by the Court, the Court approves and enters the Final
                      Approval Order, substantially in the form attached as Exhibit J, provided
                      that any material modification to the Final Approval Order must be
                      acceptable to the Class Representatives and Settling Distributors; and
                      (b) the Final Approval Order remains in full force and effect until it
                      becomes a Final Judgment. Any material modification to the Settlement
                      imposed by the Court as a condition of its Final Approval Order must be
                      agreed to by the Class Representatives and Settling Distributors in order
                      for the Agreement to remain binding. For the avoidance of doubt, any
                      modification to the Final Approval Order that would alter Section IX of
                      this Agreement is deemed a material modification. Any modification
                      relating to Attorneys’ Fees and Expenses or Service Awards is not a
                      material modification.

              3.      It is a condition to the Settlement that the Final Approval Order not be
                      reversed, vacated, or substantially modified on appeal, a motion for
                      reconsideration, or other review and that it becomes a Final Judgment.
                      Any material modification to the Settlement imposed by the Court or an
                      appellate court, subsequent to the Final Approval Order, must be agreed to
                      by the Class Representatives and Settling Distributors in order for the
                      Agreement to remain binding. For the avoidance of doubt, any
                      modification imposed by the Court or an appellate court that would alter
                      Section IX of this Agreement is deemed a material modification. Any
                      modification relating to Attorneys’ Fees and Expenses or Service Awards
                      is not a material modification.

              4.      The Settling Parties agree that the Settlement is not final and enforceable
                      until the Effective Date, except as to any provisions that the Agreement
                      provides shall occur prior to the Effective Date. The Preliminary
                      Approval Order and the Final Approval Order shall be enforceable upon
                      entry in accordance with their terms.

        B.      Reasonable Best Efforts to Effectuate This Settlement. The Settling Parties:
(a) acknowledge that it is their intent to consummate this Agreement; and (b) agree to cooperate
to the extent reasonably necessary to effectuate and implement the terms and conditions of this
Agreement and to exercise their best efforts to accomplish the terms and conditions of this
Agreement. The Settling Parties will continue to work cooperatively to complete and submit
promptly to the Court for approval the Motions for Preliminary Approval and Final Approval
and such additional documentation as may be necessary for the Court to make the determinations
required hereunder, and to address any concerns regarding the Agreement or the Settlement
identified by the Court or any court of appeal.




                                                16
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 20 of 159. PageID #: 645039




       C.    Preliminary Approval.

             1.     No later than 30 days after the execution of this Agreement, Class Counsel
                    shall submit the Agreement together with its Exhibits to the Court and
                    shall apply for entry of the Preliminary Approval Order (the “Motion for
                    Preliminary Approval”) pursuant to Federal Rule of Civil Procedure 23(e).

             2.     The Motion for Preliminary Approval shall request the entry of a
                    Preliminary Approval Order that includes: (i) the findings required by
                    Federal Rule of Civil Procedure 23(e)(1)(B); (ii) approval of the Notice
                    and proposed Notice Plan; (iii) scheduling of the Fairness Hearing, to
                    occur after the conclusion of the notice period; (iv) the appointment of the
                    Escrow Agent as set forth in Section IV.C.; (v) continuing the stay of all
                    MDL 2804 TPP Actions as to the Settling Distributors until the Court has
                    made its final settlement approval determination; (vi) severing and
                    staying the Actions brought by the TPP Bellwether Plaintiffs and all Class
                    Representatives as to the Settling Distributors until the Court has made its
                    final settlement approval determination; and (vii) enjoining all Settlement
                    Class Members from filing, commencing, prosecuting, continuing,
                    litigating, or intervening in or participating as class members in, any
                    action asserting Released Claims against any Released Entities in any
                    forum or jurisdiction, unless and until such Settlement Class Member has
                    timely excluded itself from the Settlement Class. The Preliminary
                    Approval Order shall provide that if this Agreement is not approved, is
                    voided, terminated, or fails to become effective for any reason, the Settling
                    Parties shall be returned to the status quo that existed immediately prior to
                    May 1, 2024, except as expressly provided herein.

             3.     Class Counsel shall provide the Settling Distributors with a draft of their
                    Motion for Preliminary Approval, together with any accompanying
                    memorandum of law and proposed form of notice, at least five (5)
                    business days in advance of filing and shall consider in good faith any
                    suggestions that the Settling Distributors may have. Class Counsel shall
                    not file such a motion without the Settling Distributors’ consent, which
                    consent shall not be unreasonably withheld.

       D.    Notice to the Class.

             1.     Notice of the Settlement shall be given as soon as practicable after
                    Preliminary Approval and, in any event, the notice process shall
                    commence no later than fourteen (14) calendar days following the entry of
                    the Preliminary Approval Order. Notice shall be provided by the Notice
                    and Claims Administrator to Class Members, subject to any modifications
                    required by the Court. Any Opt-Out or Objection requirements set out in
                    the Notice, as approved by the Court in its Preliminary Approval Order,
                    shall substantially reflect the Opt-Out and Objection requirements as set
                    forth in this Agreement.

                                             17
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 21 of 159. PageID #: 645040




               2.     Class Counsel shall submit to the Court for approval a proposed form of,
                      method for, and schedule for dissemination of Notice to the Class. The
                      Motion for Preliminary Approval shall recite and ask the Court to find that
                      the proposed form of and method for dissemination of Notice to the Class
                      constitutes valid, due, and sufficient notice, constitutes the best notice
                      practicable under the circumstances, and complies fully with the
                      requirements of Federal Rule of Civil Procedure 23.

               3.     Class Counsel shall seek an order authorizing and ordering the Notice and
                      Claims Administrator to submit a report to the Court, Class Counsel, and
                      Settling Distributors (an “Opt-Out Report”), which shall be provided no
                      later than seven (7) calendar days after the deadline set by the Court for
                      receipt of the Opt-Out Forms, identifying all requests to be excluded from
                      the Class, and whether any such requests were deemed untimely and/or
                      failed to provide any of the information required in Section V.G.1. or were
                      otherwise inadequate.

               4.     No later than fourteen (14) calendar days following the commencement of
                      the dissemination of the Notice, Class Counsel shall serve on Settling
                      Distributors and file with the Court proof, by affidavit or declaration, of
                      such dissemination.

        E.       CAFA Notice. Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C.
§ 1715, Settling Distributors shall serve notice of the Settlement on the appropriate federal and
state officials no later than ten (10) calendar days after the filing of this Agreement with the
Court. If the Settlement does not become final for any reason, the Settling Distributors shall not
recover the notice and notice administration costs, including any costs of providing notice
pursuant to the Class Action Fairness Act of 2005, which Settling Distributors shall pay separate
from the Settlement Amount.

       F.      Objections to Settlement.

               1.     Form of Objection & Deadline for Filing. The Notice shall require that
                      any Objection to the Settlement, or any part of this Agreement, including
                      Attorneys’ Fees and Expenses, the Class Representatives’ Service Awards,
                      or the Plan of Allocation, be in writing. The deadline for filing the
                      Objection with the Court shall be forty-five (45) calendar days after
                      commencement of the dissemination of the Notice.

               2.     Content of Objection. The written Objection filed with the Court shall:
                      (a) state the name, address, and telephone number of the objector and must
                      be signed by the objector even if represented by counsel; (b) state that the
                      objector is objecting to the proposed Settlement, Plan of Allocation, the
                      application for Attorneys’ Fees and Expenses, and/or application for
                      Service Awards to Class Representatives; (c) state the Objection(s) and the
                      specific reasons for each Objection, including any legal and evidentiary
                      support the objector wishes to bring to the Court’s attention; (d) state


                                                18
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 22 of 159. PageID #: 645041




                   whether the Objection applies only to the objector, to a subset of the Class,
                   or to the entire Class; (e) identify all class actions to which the objector
                   and its counsel have previously objected; (f) include documents sufficient
                   to prove the objector’s membership in the Class, such as the objectors’
                   status as a Third Party Payor within the Class; (g) state whether the
                   objector intends to appear at the Fairness Hearing; (h) if the objector
                   intends to appear at the Fairness Hearing through counsel, state the
                   identity of all attorneys who will appear on the objector’s behalf at the
                   Fairness Hearing; and (i) state that the objector submits to the jurisdiction
                   of the Court with respect to the Objection or request to be heard and the
                   subject matter of the Settlement of the Action, including, but not limited
                   to, enforcement of the terms of the Settlement.

             3.    Waiver. Any Class Member that does not object in the manner provided
                   herein shall be deemed to have waived such Objection and shall forever be
                   foreclosed from making any Objection to the fairness or adequacy of the
                   proposed Settlement, the Plan of Allocation, the Attorneys’ Fees and
                   Expenses, or to any Service Award, unless otherwise ordered by the Court.
                   All presentations of Objections will be further limited by the information
                   listed in the Objection. A Class Member’s compliance with the foregoing
                   requirements does not in any way guarantee a Class Member the ability to
                   present evidence or testimony at the Fairness Hearing. The decision
                   whether to allow any testimony, argument, or evidence, as well as the
                   scope and duration of any and all presentations of Objections at the
                   Fairness Hearing, will be in the sole discretion of the Court.

       G.    Opt-Out.

             1.    Any entity within the Class that wishes to opt out of the Class and
                   Settlement must submit a written and signed statement entitled, “Opt-Out
                   Form” to the Notice and Claims Administrator and email it to Settling
                   Distributors and Class Counsel as set forth in the Notice. The Opt-Out
                   Form must certify, under penalty of perjury in accordance with 28 U.S.C.
                   § 1746, that the submitting entity is acting on its own behalf, is included in
                   the Class definition, and is legally authorized to exclude itself from the
                   Settlement and must: provide the submitting entity’s name, address,
                   telephone number and email address (if available); provide the complaint
                   and docket number of any case in which the submitting entity is a Plaintiff
                   against the Settling Distributors related to the Covered Conduct; and be
                   received by the Notice and Claims Administrator, Class Counsel, and
                   Settling Distributors no later than the date designated for such purpose in
                   the Notice.

             2.    The standing and Class Member-eligibility-status of entities that submit
                   Opt-Out Forms will be subject to confirmation by the Notice and Claims
                   Administrator.


                                             19
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 23 of 159. PageID #: 645042




             3.    An Opt-Out Form that fails to satisfy any of the requirements set forth in
                   Section V.G.1, including, but not limited to, the provision of inaccurate or
                   incomplete information, shall be null and void and shall have no effect
                   whatsoever on the entity’s membership in the Class.

             4.    All Opt-Out Forms must be served on such schedule as the Court may
                   direct. In seeking Preliminary Approval, Class Counsel will request that
                   the deadline for receipt of Opt-Out Forms be forty-five (45) calendar days
                   after commencement of dissemination of Notice.

             5.    Opt-Out Forms shall be deemed valid only for the entity named in the
                   request.

             6.    Opt-Out Forms shall be deemed timely if received by the Notice and
                   Claims Administrator, Class Counsel, and the Settling Distributors no later
                   than the date designated for such purpose in the Notice.

             7.    Any entity that submits a timely and valid Opt-Out Form in accordance
                   with Section V.G.1. shall not: (i) be bound by any orders or judgments
                   effecting the Settlement; (ii) be entitled to any of the relief or other
                   benefits provided under this Agreement; (iii) gain any rights by virtue of
                   this Agreement; or (iv) be entitled to submit an Objection.

             8.    Any Class Member that does not submit a timely and valid Opt-Out Form
                   in accordance with Section V.G.1. submits to the jurisdiction of the Court
                   and, unless the Class Member submits an Objection that complies with the
                   provisions of Section V.F., shall waive and forfeit any and all Objections
                   to the Settlement or the Agreement the Class Member may have asserted.

             9.    No “mass,” “class,” “group,” or otherwise combined Opt-Out Forms shall
                   be valid, and no entity may submit an Opt-Out Form on behalf of any
                   other entity that is included in the Class definition, including, but not
                   limited to, the entity’s subsidiaries, affiliated or related companies or
                   business entities, divisions, partnerships, joint ventures, clients, customers,
                   or administrative services organization.

             10.   Opt-Out Report. No later than seven (7) calendar days after the deadline
                   set by the Court for receipt of the Opt-Out Forms, and prior to the Fairness
                   Hearing, the Notice and Claims Administrator shall submit to the Court,
                   Class Counsel, and Settling Distributors the Opt-Out Report as described
                   in Section V.D.3.

       H.    Motion for Final Approval and Entry of Final Judgment.

             1.    On or before the deadline set by the Court in the Preliminary Approval
                   Order, Class Counsel shall file a motion for final approval of the
                   Settlement (the “Motion for Final Approval”). In the Motion for Final
                   Approval and at the Fairness Hearing, the Settling Parties will request that

                                             20
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 24 of 159. PageID #: 645043




                    the Court: (a) enter the Final Approval Order substantially in the form
                    attached as Exhibit J to this Agreement, provided that any material
                    modification to the Final Approval Order must be acceptable to the Class
                    Representatives and Settling Distributors; (b) finally certify the Class; (c)
                    approve and adopt the Agreement as final, fair, reasonable, adequate, and
                    binding on all Class Members; (d) enter judgment dismissing the Actions
                    with prejudice and directing the dismissal with prejudice of any of the
                    Actions not before the Court; and (e) permanently enjoin any Class
                    Member from asserting or pursuing any Released Claim against any
                    Released Entity in any forum. The Final Approval Order and Final
                    Judgment shall contain provisions:

                      a.     certifying the Class for settlement purposes; fully and finally
             approving the Settlement contemplated by this Agreement and its terms as being
             fair, reasonable, and adequate within the meaning of Federal Rule of Civil
             Procedure 23 and directing its consummation pursuant to its terms and conditions;
             and finding that the Notice given to the Class Members constituted the best notice
             practicable under the circumstances and complies in all respects with the
             requirements of Federal Rule of Civil Procedure 23 and due process;

                     b.     entering judgment dismissing the Actions coordinated under MDL
             No. 2804 with prejudice as to the Settling Distributors and, except as provided for
             herein, without costs;

                    c.      directing Plaintiff Class Members to dismiss the other Actions not
             coordinated under MDL No. 2804 with prejudice as to the Settling Distributors
             and, except as provided for herein, without costs;

                    d.      discharging and releasing the Released Entities from all Released
             Claims;

                     e.     permanently barring and enjoining the institution and prosecution
             by Class Members of any other action against the Released Entities in any forum
             asserting any Claims related in any way to the Released Claims;

                    f.      reserving and continuing exclusive jurisdiction over the
             Settlement, including the Escrow Account, the Escrow Agent, Class Counsel as
             the Escrow Account’s tax administrator, and all future proceedings concerning the
             administration, consummation, and enforcement of this Agreement;

                     g.       determining pursuant to Federal Rule of Civil Procedure 54(b) that
             there is no just reason for delay and directing entry of a Final Approval Order as
             to Plaintiffs and the Settling Distributors; and

                    h.      containing such other and further provisions consistent with the
             terms of this Agreement to which the Settling Parties expressly consent in writing.



                                              21
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 25 of 159. PageID #: 645044




        Class Counsel also will request that the Court approve the proposed Plan of Allocation
and application for attorneys’ fees and reimbursement of expenses, as described in Section
VIII.A.

              2.      Class Counsel shall provide the Settling Distributors with a draft of the
                      Motion for Final Approval, together with any accompanying
                      memorandum of law at least five (5) business days in advance of filing
                      and shall consider in good faith any comments the Settling Distributors
                      may have. Class Counsel shall not file such a motion without the Settling
                      Distributors’ consent, which consent shall not be unreasonably withheld.

VI.    Conditions of Settlement; Effect of Disapproval, Cancellation, or Termination

       A.     Occurrence of Effective Date.

              1.      Upon the Effective Date, any and all remaining interest or right of the
                      Settling Distributors in or to the Settlement Funds, if any, shall be
                      absolutely and forever extinguished, and the Settlement Funds (less any
                      Notice and Administrative Costs, Taxes, Tax Expenses, or Fee and
                      Expense Award paid) shall be transferred from the Escrow Agent to the
                      Notice and Claims Administrator as successor Escrow Agent within ten
                      (10) business days of the Notice and Claims Administrator notifying Class
                      Counsel it is ready to distribute the Net Settlement Funds, which must be
                      after the Effective Date.

              2.      Upon the Effective Date, Plaintiffs shall dismiss the Actions with
                      prejudice as to the Released Entities, including all Actions listed on
                      Exhibit A, as provided for in the Final Approval Order.

       B.     Failure of Effective Date to Occur.

              1.      In the event that the Effective Date does not occur, for whatever reason,
                      including for the reasons set forth in Sections VI.C.-E., then this
                      Agreement shall be cancelled and terminated, unless the Settling Parties
                      mutually agree in writing to proceed with this Agreement. The Settlement
                      Funds shall be returned to Settling Distributors, less interest accrued on
                      the Escrow Account, any Notice and Administrative Costs, and any Taxes
                      or Tax Expenses paid, incurred, or due and owing (the “Termination
                      Refund”), pursuant to written instructions from Settling Distributors’
                      Counsel to Class Counsel. Class Counsel will promptly provide all
                      necessary instructions to the Escrow Agent to effectuate the foregoing
                      sentence. The Termination Refund shall be allocated among the Settling
                      Distributors consistent with the allocation in Section IV.A.3.

              2.      Upon receipt of the Termination Refund, this Agreement shall terminate,
                      and it, the Settling Distributors’ obligations under it, and all releases
                      contained herein shall become null and void. In the event of such a
                      termination: (a) no Class will be deemed certified as a result of this

                                               22
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 26 of 159. PageID #: 645045




                    Agreement; (b) all orders of the Court preliminarily or otherwise
                    approving the Settlement shall be vacated; (c) the Settling Parties shall be
                    returned to the status quo that existed in the Actions immediately prior to
                    May 1, 2024 (subject to appropriate extensions of deadlines to enable the
                    Actions to proceed); and (d) the Settling Parties shall retain all of their
                    respective rights and defenses as of immediately prior to May 1, 2024.
                    The Settling Parties shall then proceed in all respects as if this Agreement
                    and any related orders had not been executed.

       C.    Walk-Away Right.

             1.     No later than seven (7) calendar days following the deadline set by the
                    Court for Class Members to opt out from the Class, Class Counsel shall
                    provide Settling Distributors’ Counsel with the Opt-Out Report.

             2.     Settling Distributors may, in their sole discretion, terminate the Agreement
                    by serving written notice, by email and overnight courier, to Class
                    Counsel within fifteen (15) business days following receipt by Settling
                    Distributors from Class Counsel of the Opt-Out Report (the “Walk-Away
                    Right”), unless such date is extended by mutual agreement of Class
                    Counsel and Settling Distributors. In deciding whether to exercise the
                    Walk-Away Right, Settling Distributors shall consider such factors as they
                    deem relevant, including the purposes of the Settlement and the number or
                    nature of valid and timely opt-outs, and shall, if Class Counsel so request,
                    meet with Class Counsel. If Settling Distributors do not provide written
                    notice of the exercise of the Walk-Away Right to Class Counsel in
                    accordance with this paragraph, the Walk-Away Right shall be waived.
                    The decision to exercise the Walk-Away Right shall be unreviewable.

             3.     With respect to any member of the Class that timely elected to opt out and
                    is therefore not a member of the Class, Settling Distributors reserve all of
                    their legal rights and defenses.

       D.    Termination.

             1.     This Agreement may be terminated by either the Settling Distributors or
                    Class Counsel by serving on counsel for the other parties and filing with
                    the Court a written notice of termination within ten (10) business days (or
                    such longer time as may be agreed between Settling Distributors and Class
                    Counsel) after any of the following occurrences:

                     a.     the Court, or any appellate court(s), rejects, materially modifies, or
             materially amends or changes the Settlement (with the exception of any provision
             of the Settlement relating to Attorneys’ Fees and Expenses or any Service
             Awards);




                                              23
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 27 of 159. PageID #: 645046




                      b.     the Court, or any appellate court(s), declines to enter without
               material change the material terms in the proposed Preliminary Approval Order or
               the proposed Final Approval Order;

                      c.      an appellate court reverses the Final Approval Order, and the
               Settlement is not reinstated and finally approved without material change by the
               Court on remand; or

                      d.      the Effective Date does not otherwise occur.

       E.      No Court Approval.

               1.     If the Court declines to or does not enter the Preliminary Approval Order
                      or the Final Approval Order, or if the Final Approval Order does not
                      become a Final Judgment because it is reversed, vacated, or modified on
                      appeal, a motion for reconsideration, or other review, the Actions against
                      the Released Entities will resume unless within thirty (30) calendar days
                      of such event, the Settling Parties mutually agree in writing to: (a) seek
                      reconsideration or appellate review of any decision denying entry of such
                      order; (b) attempt to renegotiate the Settlement and seek Court approval of
                      the renegotiated settlement; and/or (c) comply with other guidance or
                      directives the Court has provided.

               2.     If the litigation against the Released Entities resumes pursuant to
                      Section VI.E.1. or the Settling Parties seek reconsideration and/or
                      appellate review of any decision denying entry of the Preliminary
                      Approval Order or Final Approval Order or the decision reversing,
                      vacating, or materially modifying the Final Approval Order and such
                      further reconsideration and/or appellate or other review is denied: (a) the
                      Escrow Agent shall, within seven (7) calendar days of receiving written
                      notice of such resumption or the denial of further reconsideration or
                      appellate review, repay to the Settling Distributors the Termination
                      Refund as of the date on which notice is received; and (b) this Agreement
                      shall terminate upon receipt of the Termination Refund.

VII.   Notice and Claims Administrator

        A.      Time to Appeal. The time to appeal from approval of the Settlement shall
commence upon the Court’s entry of the Final Approval Order regardless of whether or not
either the Plan of Allocation or an application for Attorneys’ Fees and Expenses or Service
Awards has been submitted to the Court or resolved.

       B.     Selection of Notice and Claims Administrator. Co-Lead Class Counsel shall
nominate, subject to the consent of the Settling Distributors, an entity to serve as Notice and
Claims Administrator that shall be subject to appointment by the Court in the Preliminary
Approval Order, and that meets the following requirements:



                                               24
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 28 of 159. PageID #: 645047




             1.    The Notice and Claims Administrator may not be an entity that has acted
                   as counsel, or otherwise represented a party, in Claims relating to opioids.

             2.    The Notice and Claims Administrator shall have the authority to perform
                   all actions consistent with the terms of this Agreement that the Notice and
                   Claims Administrator deems to be reasonably necessary to effectuate the
                   notice. Subject to the Court’s approval, the Notice and Claims
                   Administrator may retain any entity that the Notice and Claims
                   Administrator deems to be reasonably necessary to provide assistance in
                   effectuating Notice to the Class.

             3.    The Notice and Claims Administrator’s role generally shall include
                   administration of the proposed Settlement, including reviewing, analyzing,
                   and approving Claim Forms, including all supporting documentation, as
                   well as determining any Qualifying Class Member’s Allocated Amount
                   and overseeing distribution of the Net Settlement Funds.

             4.    Any successor to the initial Notice and Claims Administrator shall be
                   subject to appointment by the Court, with the consent of all Settling
                   Parties, shall fulfill the same functions from and after the date of
                   succession, and shall be bound by the determinations made by the
                   predecessor(s) to date.

             5.    The Notice and Claims Administrator shall have no authority to alter in
                   any way the Settling Parties’ or Class Members’ rights and obligations
                   under the Agreement.

             6.    The Settling Distributors, Settling Distributors’ Counsel, and Released
                   Entities shall have no involvement with or responsibility for supervising
                   the Notice and Claims Administrator and are not subject to the authority of
                   the Notice and Claims Administrator.

             7.    All fees, costs, and expenses incurred in the administration and/or work by
                   the Notice and Claims Administrator, including fees, costs, and expenses
                   of the Notice and Claims Administrator, as well as the costs of distributing
                   the Notice, shall be paid from the Settlement Funds. Settling Distributors
                   shall have no obligation to pay any such fees, costs, and expenses other
                   than the Settlement Amount.

       C.    Distribution of Settlement Funds.

             1.    Upon further orders of the Court, the Notice and Claims Administrator,
                   subject to such supervision and direction of the Court and/or Co-Lead
                   Class Counsel, as may be necessary or as circumstances may require, shall
                   administer the claims submitted by Class Members and shall oversee
                   distribution of the Settlement Funds, including distribution of the Net
                   Settlement Funds to Class Members pursuant to the Plan of Allocation.


                                            25
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 29 of 159. PageID #: 645048




                       Subject to the terms of this Agreement and any order(s) of the Court, the
                       Settlement Funds shall be applied as follows:

                      a.      to pay all costs and expenses reasonably and actually incurred in
               connection with providing Notice to the Class, in connection with administering
               and distributing the Net Settlement Funds to Class Members, and in connection
               with paying escrow fees and costs, if any;

                       b.      to pay all costs and expenses, if any, reasonably and actually
               incurred in soliciting claims and assisting with the filing and processing of such
               claims;

                       c.      to pay Taxes and Tax Expenses as defined herein;

                      d.     to pay any Fee and Expense Award, and any Service Awards to
               Class Representatives, that are approved by the Court, subject to and in
               accordance with the Agreement; and

                      e.     to distribute the balance of the Net Settlement Funds to Class
               Members as allowed by the Agreement, the Plan of Allocation, or order of the
               Court.

               2.      No amount may be disbursed from the Settlement Funds until the
                       Effective Date, except that: (a) Notice and Administrative Costs, to the
                       extent authorized by the Court, may be paid from the Settlement Funds as
                       they become due; and (b) Taxes and Tax Expenses may be paid from the
                       Settlement Funds as they become due.

       D.      Distribution of Net Settlement Funds.

               1.      Upon the Effective Date and thereafter, and in accordance with the terms
                       of this Agreement, the Plan of Allocation, and any further order(s) of the
                       Court as may be necessary or as circumstances may require, the Net
                       Settlement Funds shall be distributed to Class Members.

               2.      The Net Settlement Funds shall be distributed to Class Members that
                       submit a Claim Form in accordance with a Plan of Allocation to be
                       approved by the Court. No funds from the Net Settlement Funds shall be
                       distributed until after the Effective Date.

               3.      All Class Members shall be subject to and bound by the provisions of this
                       Agreement, the releases contained herein, and the Final Judgment with
                       respect to all Released Claims.

        E.       No Liability for Distribution of Escrow Account. Neither the Released Entities
nor their counsel shall have any responsibility for, interest in, or liability whatsoever with respect
to the distribution of the Escrow Account; the Plan of Allocation; the determination,
administration, or calculation of claims; the Escrow Account’s qualification as a “qualified

                                                 26
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 30 of 159. PageID #: 645049




settlement fund”; the payment or withholding of Taxes or Tax Expenses; the distribution of the
Net Settlement Funds; or any losses incurred in connection with any such matters. The
Releasors hereby fully, finally, and forever release, relinquish, and discharge the Released
Entities and their counsel from any and all such liability. No entity shall have any claim against
Class Counsel or the Notice and Claims Administrator based on the distributions made
substantially in accordance with the Agreement and the Settlement contained herein, the Plan of
Allocation, or further orders of the Court.

        F.      Balance Remaining in Net Settlement Funds. If there is any balance remaining
in the Net Settlement Funds (whether by reason of tax refunds, uncashed checks, or otherwise),
such balance shall be distributed in accordance with the Plan of Allocation or further order of the
Court (but not to the Settling Distributors).

        G.      Orders Regarding Plan of Allocation. Any order or proceeding solely relating
to the Plan of Allocation, including any adjustments to any Class Member’s claim, shall not
operate to terminate or cancel this Agreement or affect the finality of the Final Judgment, or any
other orders entered pursuant to this Agreement.

VIII. Attorneys’ Fees and Expenses and Service Awards

       A.       Fee and Expense Application. Class Counsel may submit an application (the
“Fee and Expense Application”) for distributions from the Settlement Funds for: (a) an award of
attorneys’ fees; (b) reimbursement of expenses incurred in connection with prosecuting the
Action; and (c) any interest on such Attorneys’ Fees and Expenses at the same rate and for the
same periods as earned by the Settlement Funds, as appropriate, and as may be awarded by the
Court.

       B.      Payment of Fee and Expense Award. Any amounts that are awarded by the
Court pursuant to Section VIII.A. shall be paid from the Settlement Funds consistent with the
provisions of this Agreement.

        C.      Award and Allocation of Attorneys’ Fees and Costs. The award, payment, and
allocation of attorneys’ fees and costs under this Agreement and/or the Plan of Allocation are
subject to Court approval under Federal Rule of Civil Procedure 23(h) and to the Court’s
common benefit-related orders. The amount awarded by the Court for attorneys’ fees is subject
to and shall include the common benefit obligations due under the Court’s common benefit-
related orders, which shall be allocated by the Fee Panel among qualified applicants: firms that:
(1) represent litigating Third Party Payors against the Settling Distributors (parallel to
requirements in prior governmental entity settlements); and (2) did work that inured to the
common benefit. The fee award net of the common benefit assessment shall be allocated by Co-
Lead Class Counsel among counsel who have performed authorized work for the benefit of the
Settlement Class, with any appeals to such allocation going to Special Master Cohen.

       D.      Orders Regarding Fee and Expense Award. The procedure for, and the
allowance or disallowance by the Court of, the Fee and Expense Application are not part of the
Settlement set forth in this Agreement. Any order or proceeding solely relating to the Fee and
Expense Application, including any appeal from any Fee and Expense Award or any other order


                                                27
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 31 of 159. PageID #: 645050




relating thereto or reversal or modification thereof, shall not operate to terminate or cancel this
Agreement, or affect or delay the finality of the Final Judgment and the Settlement of the
Actions as set forth herein, provided that any such order or proceeding has no impact on any
other aspect of the Settlement or this Agreement, including, without limitation, Sections V.G.
and VI.C.

        E.      No Liability for Fees and Expenses of Class Counsel. Neither the Released
Entities nor their counsel shall have any responsibility for or liability whatsoever with respect to
any payment(s) to Class Counsel pursuant to this Agreement and/or to any other entity or person
that may assert some claim thereto or any Fee and Expense Award that the Court may make in
the Action, other than as set forth in this Agreement.

        F.       Service Award. Settlement Class Counsel may apply to the Court, upon Notice
to the Class, for appropriate Service Awards for Settlement Class Representatives in connection
with their representation of the Class, subject to the discretion and approval of the Court. The
Service Awards shall be paid from the Settlement Funds, and Settling Distributors shall have no
obligation to pay any Service Award or any other fees, costs, or expenses other than the
Settlement Amount. Any order or proceeding solely relating to the Service Award, including
any appeal from any Service Award or any other order relating thereto or reversal or
modification thereof, shall not operate to terminate or cancel this Agreement, or affect or delay
the finality of the Final Judgment and the Settlement of the Actions as set forth herein, provided
that any such order or proceeding has no impact on any other aspect of the Settlement or this
Agreement, including, without limitation, Sections V.G. and VI.C.

IX.    Releases and Dismissal

        A.      No Future Actions Following Release. As of the Effective Date, the Released
Entities will be fully, finally, and forever released and discharged from all of the Releasors’
Released Claims. Each Releasor will, on or before the Effective Date, hereby absolutely,
unconditionally, and irrevocably covenant not to bring, file, or claim, or to cause, assist in
bringing, or permit to be brought, filed, or claimed, or to otherwise seek to establish liability for
any Released Claims against any Released Entity in any forum whatsoever, whether on its own
behalf, or as part of any putative, purported, or certified class. The releases provided for in this
Agreement are intended by the Settling Parties to be broad and shall be interpreted so as to give
the Released Entities the broadest possible bar against any liability relating in any way to
Released Claims. This Agreement shall be a complete bar to any Released Claim. Other than as
set forth herein, this Agreement does not include any provisions for injunctive relief. Class
Members shall look solely to the Settlement Funds for settlement and satisfaction against the
Settling Distributors of all Claims that are released hereunder.

       B.      Claim-Over and Non-Party Settlement.

               1.      The payments made under this Agreement shall be the sole payments
                       made by the Released Entities to Class Members involving, arising out of,
                       or related to the Released Claims. Claims by Class Members against non-
                       parties shall not result in additional payments by the Released Entities,
                       whether through contribution, indemnification, or any other means.


                                                 28
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 32 of 159. PageID #: 645051




             2.     No Released Entity shall seek to recover for amounts paid under this
                    Agreement based on indemnification, contribution, or any other theory
                    from a manufacturer, pharmacy, hospital, pharmacy benefit manager,
                    health insurer, third-party vendor, trade association, distributor, or health
                    care practitioner, provided that a Released Entity shall be relieved of this
                    prohibition with respect to any entity that asserts a Claim-Over against it.
                    For the avoidance of doubt, nothing herein shall prohibit a Released Entity
                    from recovering amounts owed pursuant to insurance contracts.

             3.     To the extent that, on or after the Effective Date, any Releasor enters into
                    a Non-Party Settlement, including any plan of reorganization (whether
                    individually or as a class of creditors), the Releasor will include (or in the
                    case of a Non-Party Settlement made in connection with a bankruptcy
                    case, will cause the debtor to include), unless prohibited from doing so
                    under applicable law, in the Non-Party Settlement a prohibition on
                    contribution or indemnity of any kind substantially equivalent to that
                    required from Settling Distributors in Section IX.B.2. or a release from
                    such Non-Released Entity in favor of the Released Entities (in a form
                    equivalent to the releases contained in this Agreement) of any Claim-
                    Over. The obligation to obtain the prohibition and/or release required by
                    this subsection is a material term of this Agreement.

             4.     It is the intent of the Parties that the Agreement meets the Uniform
                    Contribution Among Tortfeasors Act and any similar state law or doctrine
                    that reduces or discharges a released party’s liability to pay other parties.

             5.     The provisions of this Section IX.B. are intended to be implemented
                    consistent with these principles. This Agreement and the releases and
                    dismissals provided for herein are made in good faith.

             6.     In the event that any Class Member obtains a judgment with respect to a
                    Non-Released Entity and such Non-Released Entity asserts a Non-Party
                    Covered Conduct Claim against the Released Entities related to the
                    Released Claims, that Class Member and the Settling Distributors shall
                    take the following actions to ensure that the Released Entities do not pay
                    more with respect to the Released Claims to Class Members or to Non-
                    Released Entities than the amounts owed under this Agreement by the
                    Settling Distributors:

                     a.     The Settling Distributors shall notify the Class Member of the
             Claim-Over within sixty (60) days of the assertion of the Claim-Over or within
             sixty (60) days of the Effective Date, whichever is later.

                    b.     The Settling Distributors’ payment obligations under this
             Agreement are and shall be binding, notwithstanding the existence of any Claim-
             Over. In no event shall any Class Member be required to forego, disgorge,



                                              29
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 33 of 159. PageID #: 645052




              diminish, or alter any amounts owing under this Agreement as a result of any
              Claim-Over.

                      c.      The Settling Distributors and the Class Member shall meet and
              confer concerning the means to hold the Released Entities harmless and ensure
              that the Settling Distributors or Released Entities are not required to make any
              payment with respect to the Released Claims beyond the Settlement Amount
              owed by the Settling Distributors under this Agreement.

                      d.      The Class Member and the Settling Distributors shall take steps
              sufficient and permissible under applicable law to hold the Released Entities
              harmless from the Claim-Over and ensure the Released Entities are not required
              to make any payment with respect to the Released Claims beyond the Settlement
              Amount owed by the Settling Distributors under this Agreement. Such steps shall
              include, where permissible:

                             (i)     support by Releasors of a motion to dismiss or such other
                      appropriate motion as may be filed by the Settling Distributors or
                      Released Entities in response to any Claim filed in litigation or arbitration;
                      and

                             (ii)   such other actions as that Releasor and the Settling
                      Distributors may devise to hold the Released Entities harmless from the
                      Claim-Over.

       C.      Litigation Bar. The Settling Parties contemplate and agree that this Agreement
may be pleaded as a bar to a lawsuit, and an injunction may be obtained, preventing any action
from being initiated or maintained in any case sought to be prosecuted on behalf of any
Releasors with respect to the Released Claims.

         D.      General Release. The Releasors acknowledge that, by executing this Agreement,
and for the consideration received hereunder, it is their intention to release, and they are
releasing, all Released Claims, even Unknown Claims. In connection with the releases provided
for in the Agreement, each Releasor expressly, knowingly, and voluntarily waives, releases, and
forever discharges any and all provisions, rights, and benefits conferred by any law of any state
or territory of the United States or other jurisdiction, or principle of common law, which is
similar, comparable, or equivalent to Section 1542 of the California Civil Code, which reads:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
       RELEASE AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE
       MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
       DEBTOR OR RELEASED PARTY.

Releasors likewise expressly, knowingly, and voluntarily waive the provisions of Section 20-7-
11 of the South Dakota Codified Laws, which provides:


                                                30
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 34 of 159. PageID #: 645053




       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT
       THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
       MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE
       DEBTOR.

The Releasors acknowledge that they have been advised by Class Counsel of the contents and
effects of California Civil Code § 1542, and hereby expressly waive and release with respect to
the Released Claims any and all provisions, rights, and benefits conferred by California Civil
Code § 1542 or by any equivalent, similar, or comparable law or principle of law in any
jurisdiction, including, but not limited to, Section 20-7-11 of the South Dakota Codified Laws.
A Releasor may hereafter discover facts other than or different from those which it knows,
believes, or assumes to be true with respect to the Released Claims, but each Releasor hereby
expressly waives, and fully, finally, and forever settles, releases, and discharges, upon the
Effective Date, any and all Released Claims that may exist as of such date but which Releasors
do not know or suspect to exist, whether through ignorance, oversight, error, negligence, or
through no fault whatsoever, and which, if known, would materially affect the Releasors’
decision to participate in this Agreement.

        E.      Assigned Interest Waiver. To the extent that any Releasor has any direct or
indirect interest in any rights of a third party that is a debtor under the Bankruptcy Code as a
result of a claim arising out of Covered Conduct by way of assignment or otherwise, including as
a result of being the beneficiary of a trust or other distribution entity, to assert claims against a
Settling Distributor (whether derivatively or otherwise), under any legal or equitable theory,
including for indemnification, contribution, or subrogation, such Releasor waives the right to
assert any such claim, or to receive a distribution or any benefit on account of such claim and
such claim, distribution, or benefit shall be deemed assigned to such Settling Distributor.

        F.      Res Judicata. Nothing in this Agreement shall be deemed to reduce the scope of
the res judicata or claim preclusive effect that the Settlement gives rise to under applicable law.

        G.      Effectiveness. The releases set forth in the Agreement shall not be impacted in
any way by any dispute that exists, has existed, or may later exist between or among the
Releasors. Nor shall such releases be impacted in any way by any current or future law,
regulation, ordinance, or court or agency order limiting, seizing, or controlling the distribution or
use of the Settlement Funds or any portion thereof, by the enactment of future laws, or by any
seizure of the Settlement Funds or any portion thereof.

         H.     Cooperation. The Settling Parties: (a) acknowledge that it is their intent to
consummate this Agreement; and (b) agree to cooperate to the extent reasonably necessary to
effectuate and implement the terms and conditions of this Agreement and to exercise their best
efforts to accomplish the terms and conditions of this Agreement. Consistent with these
objectives, the Settling Distributors will not oppose Plaintiffs’ Motions for Preliminary and Final
Settlement Approval. The Settling Parties will continue to work cooperatively to complete and
submit promptly to the Court for approval such additional documentation as may be necessary
for the Court to determine whether this Agreement and Settlement should be communicated to
the Class and ultimately approved and to address any concerns regarding the Settlement

                                                 31
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 35 of 159. PageID #: 645054




identified by the Court or any court of appeal. Upon the Effective Date, Class Member Plaintiffs
will also reasonably cooperate with the Settling Distributors to secure the prompt dismissal of
any and all Released Claims in the Actions.

        I.     Non-Released Claims. Notwithstanding the foregoing or anything in the
definition of Released Claims, any claims solely to enforce the terms of this Agreement are not
released.

        J.      Liens. Each Class Member agrees to be responsible for any liens, interests,
actions, or claims asserted by any third party, in a derivative manner, for or against the portion of
Settlement Funds allocated to that Class Member, including, without limitation, any derivative
actions or claims asserted by any financial institutions, lenders, insurers, agents, representatives,
successors, predecessors, assigns, attorneys, bankruptcy trustees, and any and all other entities
that may claim through them in a derivative manner.

        K.      Claims Excluded from Release. Notwithstanding the foregoing, the releases
provided herein shall not release claims of entities that are outside the Class; claims or damages
arising solely from conduct by the Settling Distributors that occur after the Class Period
described in this Agreement; claims against the Settling Distributors other than the Released
Claims; or claims to enforce the terms of this Agreement.

        L.       Upon the Effective Date, Settling Distributors shall be deemed to have, and by
operation of the Judgment shall have, fully, finally, and forever released, relinquished, and
discharged, Class Representatives, each and all of the Class Members, and their counsel, of all
claims, including Unknown Claims, based upon or arising out of the institution, prosecution,
assertion, settlement, or resolution of the Actions, except for enforcement of the Settlement
Agreement. Any other claims or defenses Settling Distributors may have against such persons
including, without limitation, any claims based upon or arising out of any contractual,
employment, or other business relationship with such persons that are not based upon or do not
arise out of the institution, prosecution, assertion, settlement, or resolution of the Actions are
specifically preserved and shall not be affected by the preceding sentence.

X.     Miscellaneous Provisions

        A.      No Admission of Liability or Wrongdoing. The Class Representatives, the
Class, and the Settling Distributors agree to settle the Released Claims and to execute this
Agreement solely to compromise and settle protracted, complicated, and expensive litigation.
The Settling Distributors do not admit liability or wrongdoing. This Agreement shall not be
considered, construed, or represented to be: (1) an admission, concession, or evidence of liability
or wrongdoing; or (2) a waiver or any limitation of any defense otherwise available to the
Settling Distributors.

       B.       Voluntary Settlement. Each Settling Party warrants and represents that it
negotiated the terms of this Agreement in good faith. The Settling Parties agree that throughout
the course of the litigation of the Action, the Settling Parties and their counsel vigorously
prosecuted their claims and/or defenses consistent with the applicable rules of procedure.



                                                 32
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 36 of 159. PageID #: 645055




        C.      Integrated Agreement. Except for any amendments, alterations, or
modifications provided for under Section X.D., this Agreement, including its exhibits and any
other attachments, embodies the entire agreement and understanding between and among the
Settling Parties relating to the subject matter hereof and supersedes: (1) all prior agreements and
understandings relating to such subject matter, whether written or oral; and (2) all purportedly
contemporaneous oral agreements and understandings relating to such subject matter. It is
understood by the Settling Parties that, except for the matters expressly represented herein, the
facts or law with respect to which this Agreement is entered into may turn out to be other than or
different from the facts now known to each party or believed by such party to be true. Each
Settling Party therefore expressly assumes the risk of the facts or law turning out to be so
different, and agrees that this Agreement shall be in all respects effective and not subject to
termination by reason of any such different facts or law.

The exhibits to this Agreement are:

       Exhibit A       Actions
       Exhibit B       Non-Exhaustive List of Plaintiff-Class Members
       Exhibit C       Aetna Affiliates
       Exhibit D       Anthem Affiliates
       Exhibit E       Cigna Affiliates
       Exhibit F       Humana Affiliates
       Exhibit G       UnitedHealth Affiliates
       Exhibit H       Claim Form
       Exhibit I       Form of Preliminary Approval Order
       Exhibit J       Form of Final Approval Order

        D.     Amendment. The terms and provisions of this Agreement may not be altered,
amended, or modified except in writing signed by all Settling Parties. To the extent there is a
conflict between the provisions of this Agreement, the Preliminary Approval Order, the Final
Judgment, the Final Approval Order, and/or the Plan of Allocation, each such document shall
have controlling effect in the following rank order: (1) the Final Judgment; (2) the Final
Approval Order; (3) the Preliminary Approval Order; (4) this Agreement; and (5) the Plan of
Allocation.

        E.      Execution in Counterparts. This Agreement may be executed in counterparts
and by different signatories on separate counterparts, each of which shall be deemed an original,
but all of which shall together be one and the same agreement. One or more counterparts of this
Agreement may be delivered by facsimile or electronic transmission with the intent that it or they
shall constitute an original counterpart hereof. One or more counterparts of this Agreement may
be signed by electronic signature. Counsel for the Settling Parties to this Agreement shall
exchange among themselves original or scanned counterparts and a complete, assembled
executed counterpart shall be filed with the Court.

        F.      Construction. None of the Settling Parties shall be considered to be the drafter
of this Agreement or of any of its provisions for the purpose of any statute, case law, or rule of
interpretation or construction that would or might cause any provision to be construed against the
drafter of this Agreement. The headings of the provisions of this Agreement are not binding and

                                                33
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 37 of 159. PageID #: 645056




are for reference only and do not limit, expand, or otherwise affect the contents or meaning of
this Agreement.

        G.     Each Party to Bear Its Own Costs and Fees. Except as otherwise provided
herein, each Settling Party shall bear its own attorneys’ fees and other litigation expenses and
costs.

         H.      Federal Rule of Evidence 408. The Settling Parties agree that this Agreement,
its terms, and the negotiations surrounding this Agreement shall be governed by Rule 408 of the
Federal Rules of Evidence and shall not be admissible or offered or received into evidence in any
suit, action, or other proceeding, except as provided in this Agreement, upon the written
agreement of the Settling Parties hereto, pursuant to an order of a court of competent jurisdiction,
or as shall be necessary to give effect to, or to declare or enforce the rights of the Settling Parties
with respect to, any provision of this Agreement. Notwithstanding anything to the contrary in
this Agreement or otherwise, Settling Distributors may file or use this Agreement and related
materials in any action: (i) involving a determination regarding insurance coverage; (ii) involving
a determination of the taxable income or tax liability of any Defendants; (iii) to support a claim
for contribution and/or indemnification; or (iv) to support any argument or defense by a Settling
Distributor that the Settlement Amount provides a measure of compensation for asserted harms
or otherwise satisfies the relief sought.

        I.      Preservation of Records. For five (5) years following the Effective Date: (i) the
Notice and Claims Administrator shall be required to keep, maintain, preserve, and otherwise
refrain from altering, modifying, spoiling, deleting, removing, or destroying all records and data
submitted in connection with any Claim Form; and (ii) each Class Representative shall keep,
maintain, preserve, and otherwise refrain from altering, modifying, spoiling, deleting, removing,
or destroying all records and data supporting its Claim Form.

         J.    Binding Effect. This Agreement shall be binding upon, and inure to the benefit
of, the successors and assigns of the Settling Parties. Without limiting the generality of the
foregoing, each and every covenant and agreement entered into herein by Class Representatives
and Class Counsel shall be binding upon all Class Members.

         K.     Notices. All notices from or between the Settling Parties shall be in writing.
Each such notice shall be given by: (a) email; (b) hand delivery; (c) registered or certified mail,
return receipt requested, postage pre-paid; or (d) FedEx or similar overnight courier, and, if
directed to any Class Member, shall be addressed to Class Counsel at their addresses set forth
below, and, if directed to the Settling Distributors, shall be addressed to their attorneys at the
addresses set forth below or such other addresses as Class Counsel or the Settling Distributors
may designate, from time to time, by giving notice to all Settling Parties in the manner described
in this paragraph.




                                                  34
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 38 of 159. PageID #: 645057




If directed to the Class Representatives or any Class Member(s), address notice to:

       Elizabeth J. Cabraser
       LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
       275 Battery Street
       29th Floor
       San Francisco, CA 94111
       ecabraser@lchb.com

       Paul J. Geller
       ROBBINS GELLER RUDMAN & DOWD, LLP
       225 NE Mizner Boulevard
       Suite 720
       Boca Raton, FL 33432
       pgeller@rgrdlaw.com

If directed to the Settling Distributors, address notice to:

       Cencora’s attorneys at:

       Michael T. Reynolds
       CRAVATH, SWAINE & MOORE
       Two Manhattan West
       375 Ninth Avenue
       New York, NY 10001
       mreynolds@cravath.com

       Cardinal’s attorneys at:

       Elaine P. Golin
       WACHTELL, LIPTON, ROSEN & KATZ
       51 West 52nd Street
       New York, NY 10019
       epgolin@wlrk.com

       McKesson’s attorneys at:

       Brian Hauck
       JENNER & BLOCK LLP
       525 Market Street, # 2900
       San Francisco, CA 94105
       bhauck@jenner.com

Any Settling Party may change or add the contact information of the persons designated to
receive notice on its behalf by notice given (effective upon the giving of such notice) as provided
in Section X.K.



                                                  35
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 39 of 159. PageID #: 645058




        L.      Consent to Jurisdiction. The Settling Distributors and each Class Member
hereby irrevocably submit to the exclusive jurisdiction of the Court only for the specific purpose
of any suit, action, proceeding, or dispute arising out of or relating to the enforcement of this
Agreement or the applicability of this Agreement. Solely for purposes of such suit, action, or
proceeding, to the fullest extent that they may effectively do so under applicable law, the Settling
Distributors and the Class Members irrevocably waive and agree not to assert, by way of motion,
as a defense or otherwise, any claim or objection that they are not subject to the jurisdiction of
the Court or that the Court is in any way an improper venue or an inconvenient forum. For the
avoidance of doubt, nothing herein shall be construed as a submission to jurisdiction in any
action involving a determination regarding insurance coverage.

        M.     Resolution of Disputes; Retention of Exclusive Jurisdiction. Any disputes
between or among the Settling Distributors and any Class Members concerning matters
contained in this Agreement, including the Plan of Allocation, shall, if they cannot be resolved
by negotiation and agreement, be submitted to the Court. The Court shall retain exclusive
jurisdiction over the implementation and enforcement of the Settlement.

        N.      Choice of Law. This Agreement shall be construed and enforced in accordance
with, and governed by, the internal, substantive laws of the State of Ohio without giving effect to
that State’s choice of law principles.

        O.       Severability. If any provision of this Agreement—excepting Section III (Class
Definition), Section IV (Settlement Funds), Section V (Approval and Notice), Section VI.C.
(Walk-Away Right), and Section IX (Releases and Dismissal)—were for any reason held to be
invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or unenforceability
shall not affect any other provision of this Settlement Agreement.

       P.      Waiver. No delay or omission by any Settling Party in exercising any rights
under this Agreement will operate as a waiver of that or any other right. A waiver or consent
given by a Settling Party on any one occasion is effective only in that instance and will not be
construed as a bar or waiver of any right on any other occasion, unless otherwise agreed in
writing.

        Q.      Confidentiality. The terms of this Agreement shall remain confidential until the
Motion for Preliminary Approval is filed, unless the Settling Distributors and Class Counsel
agree otherwise, provided that the Settling Parties may disclose the terms of this Settlement to
accountants, lenders, auditors, legal counsel, tax advisors, insurers, or consultants; or as part of
any security or other disclosure required by law (as determined by a Settling Party and its
counsel); or in response to a request by any governmental, judicial, or regulatory authority or
otherwise required by applicable law or court order; and Class Members may disclose the terms
of the Settlement to any entity that has applied to serve as Notice and Claims Administrator, or
Escrow Agent, who shall abide by the terms of this paragraph. Any formal press release by a
Settling Party regarding this Settlement prior to entry of the Final Approval Order shall be shared
in advance with the other Settling Party, with a reasonable opportunity for comments and
suggested changes. No such press release shall be made prior to Class Counsel moving for an
order directing Notice to the Class.



                                                 36
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 40 of 159. PageID #: 645059
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 41 of 159. PageID #: 645060




       IN WITNESS WHEREOF, the Settling Parties hereto, through their fully authorized
       representatives, have executed this Agreement as of the date set opposite their names.


Dated: August 29, 2024      CO-LEAD CLASS COUNSEL, on behalf of Third Party Payor
                            Plaintiffs individually and the Third Party Payor Class, and on
                            behalf of Cleveland Bakers and Teamsters Health and Welfare
                            Fund and Pipefitters Local Union No. 120 Insurance Fund


                             By:
                                   Paul J. Geller

                                   Paul J. Geller
                                   Mark J. Dearman
                                   ROBBINS GELLER RUDMAN & DOWD LLP
                                   225 NE Mizner Boulevard, Suite 720
                                   Boca Raton, FL 33432


                             CO-LEAD CLASS COUNSEL, on behalf of Third Party Payor
                             Plaintiffs individually and the Third Party Payor Class, and on
                             behalf of American Federation of State, County and Municipal
                             Employees District Council 37 Health & Security Plan

                             By:
                                   Elizabeth J. Cabraser

                                   Elizabeth J. Cabraser
                                   Eric B. Fastiff
                                   LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                   275 Battery Street, 29th Floor
                                   San Francisco, CA 94111-3339




                                               37
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 42 of 159. PageID #: 645061
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 43 of 159. PageID #: 645062
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 44 of 159. PageID #: 645063




Dated: August ___, 2024    Cencora, Inc. f/k/a AmerisourceBergen Corporation



                           By:
                                 Michael T. Reynolds

                                 Michael T. Reynolds
                                 CRAVATH, SWAINE & MOORE LLP
                                 Two Manhattan West
                                 375 Ninth Avenue
                                 New York, NY 10001

 Dated: August ___, 2024   Cardinal Health, Inc.



                           By:
                                 Elaine P. Golin

                                 Elaine P. Golin
                                 WACHTELL, LIPTON, ROSEN & KATZ
                                 51 West 52nd Street
                                 New York, NY 10019

Dated: August _29, 2024    McKesson Corporation



                           By:
                                 Brian Hauck

                                 Brian Hauck
                                 JENNER & BLOCK LLP
                                 525 Market Street, # 2900
                                 San Francisco, CA 94105




                                             38
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 45 of 159. PageID #: 645064




                                           Exhibit A - Actions

Case Caption                                     State/Federal Jurisdiction Docket No.

AFL-CIO Local 475 Health and Welfare Fund
                                                   Federal       NDOH         1:19-op-45941-DAP
v. McKesson Corporation, et al.

American Federation of State, County and
Municipal Employees District Council 37
                                                   Federal       NDOH         1:18-op-45013-DAP
Health and Security Plan v. Purdue Pharma,
L.P., et al.

American Resources Insurance Co., Inc. v.
                                                   Federal       NDOH         1:18-op-45910-DAP
Purdue Pharma L.P., et al.

Brighton Health Plan Solutions, LLC d/b/a
MagnaCare Administrative Services and
                                                   Federal       NDOH         1:19-op-45838-DAP
MagnaCare, LLC v. McKesson Corporation, et
al.


Brighton Health Plan Solutions, LLC d/b/a
MagnaCare Administrative Services v.               Federal       NDOH         1:19-op-45837-DAP
McKesson Corporation, et al.

Brookhaven Ambulance Co., Inc. d/b/a South
Country Ambulance v. McKesson Corporation,         Federal       NDOH         1:19-op-45957-DAP
et al.

Building Service Local 2 Welfare Fund v.
                                                   Federal       NDOH         1:19-op-45991-DAP
McKesson Corporation, et al.

Building Trades Welfare Benefit Fund v.
                                                   Federal       NDOH         1:19-op-45899-DAP
Purdue Pharma L.P., et al.

Central California Alliance for Health v. Teva
                                                   Federal       NDOH         1:19-op-45971-DAP
Pharmaceuticals USA, Inc., et al.

Central States, Southeast and Southwest Areas
Health and Welfare Fund, et al. v. Purdue          Federal       NDOH         1:18-op-45623-DAP
Pharma L.P., et al.
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 46 of 159. PageID #: 645065




Case Caption                                     State/Federal Jurisdiction Docket No.

Cleveland Bakers and Teamsters Health and
Welfare Fund, et al. v. Purdue Pharma L.P., et     Federal       NDOH         1:18-op-45432-DAP
al.

Commission on Medical Care, d/b/a
Partnership Health Plan of California v. Teva      Federal       NDOH         1:19-op-45896-DAP
Pharmaceuticals USA, Inc., et al.

CWA Local 1182 and 1183 Health and
                                                   Federal       NDOH         1:19-op-45794-DAP
Welfare Funds v. Purdue Pharma L.P., et al.

Drywall Tapers Insurance Fund v. Purdue
                                                   Federal       NDOH         1:19-op-45810-DAP
Pharma L.P., et al.

Fire and Police Retiree Health Care Fund, San                   TX Bexar
                                                    State                        2019-CI-06151
Antonio v. Richard D. Sackler, et al.                            County

Flint Plumbing and Pipefitting Industry Health
                                                   Federal       NDOH         1:19-op-45430-DAP
Care Fund v. Purdue Pharma L.P., et al.

Health Plan of San Joaquin v. Teva
                                                   Federal       NDOH         1:19-op-46093-DAP
Pharmaceuticals USA, Inc., et al.

Hollow Metal Trust Fund v. Endo Health
                                                   Federal       NDOH         1:20-op-45094-DAP
Solutions, Inc., et al.

Hui Huliau v. McKesson Corporation, et al.         Federal       NDOH         1:20-op-45025-DAP

IBEW Local 25 Health and Benefit Fund v.
                                                   Federal       NDOH         1:20-op-45037-DAP
McKesson Corporation, et al.

IBEW Local 716 Electrical Medical Trust v.
                                                   Federal       NDOH         1:20-op-45148-DAP
McKesson Corporation, et al.

IBEW Local 90 v. Purdue Pharma, L.P., et al.       Federal       NDOH         1:18-op-45069-DAP

Illinois Public Risk Fund v. Purdue Pharma                       IL Cook
                                                    State                       2019-CH-05847
L.P., et al.                                                      County

Inland Empire Health Plan v. The Purdue
                                                   Federal       NDOH         1:19-op-45804-DAP
Frederick Co., Inc., et al.




                                                   -2-
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 47 of 159. PageID #: 645066




Case Caption                                    State/Federal Jurisdiction Docket No.

Intergovernmental Risk Management Agency,
                                                  Federal       NDOH         1:18-op-46210-DAP
et al. v. Purdue Pharma L.P., et al.

International Brotherhood of Trade Unions
Local 713 Health Plan v. McKesson                 Federal       NDOH         1:19-op-45832-DAP
Corporation, et. al.

International Union of Painters and Allied
                                                  Federal       NDOH         1:19-op-45854-DAP
Trades 1974 v. Purdue Pharma L.P., et al.

Iron Workers Local 361 Health Fund v.
                                                  Federal       NDOH         1:20-op-45028-DAP
McKesson Corporation, et al.

Iron Workers Local 40 Health Fund v.
                                                  Federal       NDOH         1:20-op-45027-DAP
McKesson Corporation, et al.

Iron Workers Local 417 Health Fund v.
                                                  Federal       NDOH         1:20-op-45029-DAP
McKesson Corporation, et al.

IUOE Local 138 Health Benefit Fund v.
                                                  Federal       NDOH         1:19-op-45943-DAP
McKesson Corporation, et al.

Laborers 17 Health Benefit Fund v. Purdue
                                                  Federal       NDOH         1:18-op-45072-DAP
Pharma, L.P., et al.

Laborers Local 235 Welfare Fund v. Purdue
                                                  Federal       NDOH         1:19-op-45792-DAP
Pharma L.P., et al.

Local 381 Group Insurance Fund v. McKesson
                                                  Federal       NDOH         1:19-op-45942-DAP
Corporation, et al.

Local 8A-28A Welfare Fund v. Purdue Pharma
                                                  Federal       NDOH         1:19-op-45809-DAP
L.P., et al.

Local Initiative Health Authority for Los
Angeles County d/b/a L.A. Care Health Plan v.     Federal       NDOH         1:19-op-45212-DAP
Purdue Pharma L.P., et al.




                                                  -3-
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 48 of 159. PageID #: 645067




Case Caption                                       State/Federal Jurisdiction Docket No.


Louisiana Assessors Insurance Fund a/k/a the
Insurance Committee of the Assessors’
                                                     Federal       NDOH         1:18-op-46223-DAP
Insurance Fund v. AmerisourceBergen Drug
Corporation, et al.


Mayflower Municipal Health Group v. Johnson
                                                     Federal       NDOH         1:19-op-45897-DAP
and Johnson, et al.

Medford Volunteer Ambulance v. McKesson
                                                     Federal       NDOH         1:20-op-45048-DAP
Corporation, et al.
Medical Mutual of Ohio v. Purdue Pharma,
                                                     Federal       NDOH         1:18-op-45307-DAP
L.P., et al.

Metallic Lathers and Reinforcing Ironworkers
Local 46 Health and Benefit Fund v.                  Federal       NDOH         1:20-op-45030-DAP
McKesson Corporation, et al.

MSP Recovery Claims, Series LLC v. Purdue
                                                     Federal       NDOH         1:18-op-45091-DAP
Pharma, L.P., et al.

MSPA Claims 1, LLC, et al. v. Anda, Inc., et
                                                     Federal       NDOH         1:18-op-45526-DAP
al.
MSPA Claims 1, LLC, et al. v. Purdue Pharma,
                                                     Federal       NDOH         1:18-op-45057-DAP
L.P., et al.
New York City District Council of Carpenters
Welfare Fund v. Endo Health Solutions, Inc., et      Federal       NDOH         1:20-op-45095-DAP
al.
NOITU Insurance Trust Fund v. Purdue
                                                     Federal       NDOH         1:19-op-45808-DAP
Pharma, L.P., et al.
Northeast Carpenters Funds v. Purdue Pharma,
                                                     Federal       NDOH         1:18-op-45741-DAP
L.P., et al.
Ohio Carpenters’ Health Fund v. Purdue
                                                     Federal       NDOH         1:19-op-45072-DAP
Pharma, L.P., et al.
Painting Industry Insurance Fund v. Purdue
                                                     Federal       NDOH         1:19-op-45793-DAP
Pharma, L.P., et al.
Pioneer Telephone Cooperative, Inc. Employee
Benefits Plan, et al. v. Purdue Pharma, L.P., et     Federal       NDOH         1:18-op-46186-DAP
al.



                                                     -4-
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 49 of 159. PageID #: 645068




Case Caption                                    State/Federal Jurisdiction Docket No.

Plumbers Local Union No. 1 Welfare Fund v.
                                                  Federal       NDOH         1:18-op-45838-DAP
Purdue Pharma L.P., et al.

Plumbers Local Union No. 68 Welfare Fund v.
                                                  Federal       NDOH         1:19-op-46008-DAP
McKesson Corporation, et al.

                                                                 PA
Plumbers’ Local Union No. 690 Health Plan v.
                                                   State       Delaware        CV-2019-007625
Teva Pharmaceuticals USA, Inc., et al.
                                                                County
Risk Management, Inc. v. Purdue Pharma L.P.,
                                                  Federal       NDOH         1:18-op-45857-DAP
et al.
Roofers Local 8 WBPA Fund v. McKesson
                                                  Federal       NDOH         1:19-op-46147-DAP
Corporation, et al.

San Francisco Health Plan v. Teva
                                                  Federal       NDOH         1:19-op-45893-DAP
Pharmaceuticals USA, Inc., et al.

Santa Barbara San Luis Obispo Regional
Health Authority d/b/a Cencal Health v. Teva      Federal       NDOH         1:19-op-45895-DAP
Pharmaceuticals USA, Inc., et al.

Security Health Plan of Wisconsin, Inc. v.
                                                  Federal       NDOH         1:19-op-45867-DAP
Janssen Pharmaceuticals, Inc., et al.

Sheet Metal Workers Local 19 Health Fund v.
                                                  Federal       NDOH         1:21-op-45025-DAP
Purdue Pharma L.P., et al.

Sheet Metal Workers Local No. 25 Health and
                                                  Federal       NDOH         1:18-op-45002-DAP
Welfare Fund v. Purdue Pharma, L.P., et al.

South Central UFCW Unions and Employers
Health and Welfare Trust v. McKesson              Federal       NDOH         1:18-op-45998-DAP
Corporation, et al.

Southern Tier Building Trades Benefit Plan v.
                                                  Federal       NDOH         1:20-op-45239-DAP
Purdue Pharma L.P., et al.

Structural Steel 806 Health Plan v. McKesson
                                                  Federal       NDOH         1:19-op-45831-DAP
Corporation, et al.



                                                  -5-
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 50 of 159. PageID #: 645069




Case Caption                                      State/Federal Jurisdiction Docket No.

Suffolk Transportation Services, Inc. v.
                                                    Federal       NDOH         1:19-op-45933-DAP
McKesson Corporation, et al.

Teamsters Health Servs. and Insurance Plan
                                                    Federal       NDOH         1:18-op-45001-DAP
Local 404, et al. v. Purdue Pharma L.P., et al.

Teamsters Local 237 Benefit Fund, et al. v.
                                                    Federal       NDOH         1:18-op-45174-DAP
Purdue Pharma L.P., et al.

Teamsters Local 445 Welfare Fund v.
                                                    Federal       NDOH         1:19-op-46146-DAP
McKesson Corporation, et al.

Teamsters Local 456 Welfare Fund v.
                                                    Federal       NDOH         1:21-op-45067-DAP
McKesson Corporation, et al.

Teamsters Local 493 Health Services and
                                                    Federal       NDOH         1:18-op-45074-DAP
Insurance Plan v. Purdue Pharma L.P., et al.

Teamsters Local 671 Local Health Services
and Insurance Plan v. Purdue Pharma L.P., et        Federal       NDOH         1:18-op-45092-DAP
al.
UFCW Local 1500 Welfare Fund v. McKesson
                                                    Federal       NDOH         1:20-op-45041-DAP
Corporation, et al.

UFCW Local 342 Healthcare Fund v.
                                                    Federal       NDOH         1:20-op-45033-DAP
McKesson Corporation, et al.

UFCW Local 342 Welfare Fund v. McKesson
                                                    Federal       NDOH         1:20-op-45034-DAP
Corporation, et al.

Uniformed Fire Officers Association Benefits
                                                    Federal       NDOH         1:19-op-45946-DAP
Fund v. McKesson Corporation, et al.

United Crafts Benefits Fund v. McKesson
                                                    Federal       NDOH         1:19-op-45945-DAP
Corporation, et al.

United Food and Commercial Workers Health
and Welfare Fund of Northeastern                    Federal       NDOH         1:17-op-45177-DAP
Pennsylvania v. Purdue Pharma, L.P., et al.




                                                    -6-
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 51 of 159. PageID #: 645070




Case Caption                                   State/Federal Jurisdiction Docket No.

United Food and Commercial Workers Local
1000 Oklahoma Health and Welfare Fund v.         Federal       NDOH         1:18-op-45733-DAP
McKesson Corporation, et al.


United Food and Commercial Workers Union
UFCW 1529 and Employers Health and
                                                 Federal       NDOH         1:18-op-45700-DAP
Welfare Plan and Trust v. McKesson
Corporation, et al.

United Wire, Metal and Machine Local 810
Health Benefit Fund v. McKesson Corporation,     Federal       NDOH         1:19-op-46105-DAP
et al.
UOPW Local 175 Welfare Fund v. McKesson
                                                 Federal       NDOH         1:19-op-45940-DAP
Corporation, et al.

Ventura County Medi-Cal Managed Care
Commission d/b/a Gold Coast Health Plan v.       Federal       NDOH         1:19-op-46020-DAP
Teva Pharmaceuticals USA, Inc. et al.

Wayne Farms, LLC v. McKesson Corporation,
                                                 Federal       NDOH         1:20-op-45229-DAP
et al.

Westchester Heavy Construction Laborers
Local 60 Health and Welfare Fund v. Purdue       Federal       NDOH         1:19-op-45795-DAP
Pharma, L.P., et al.




                                                 -7-
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 52 of 159. PageID #: 645071




           Exhibit B - Non-Exhaustive List of Plaintiff-Class Members

Aboffs, Inc.                                Brighton Health Plan Solutions, LLC d/b/a
Advanced C4 Solutions, Inc.                 MagnaCare Administrative Services and
                                            MagnaCare, LLC
AFL-CIO Local 475 Health and Welfare
Fund                                        Brookhaven Ambulance Co., Inc. d/b/a
                                            South Country Ambulance
Agricultural Group Compensation Self-
Insured Fund                                Building Service Local 2 Welfare Fund
Al Marino, Inc.                             Building Trades Welfare Benefit Fund
Allied Security Health and Welfare Fund     Cardoza Plumbing Corporation
American Federation of State, County and    Carpenters Health and Welfare of
Municipal Employees District Council 33     Philadelphia and Vicinity
Health and Welfare Fund                     Cedar International Services, LLC
American Federation of State, County, and   Central California Alliance for Health
Municipal Employees District Council 37     Central States, Southeast and Southwest
Health and Security Plan                    Areas Health and Welfare Fund
American Federation of State, County and    Cleveland Bakers and Teamsters Health and
Municipal Employees District Council 47     Welfare Fund
Health and Welfare Fund                     Commission on Medical Care, d/b/a
American Resources Insurance Co., Inc.      Partnership Health Plan of California
Arizona Counties Insurance Pool             CWA Local 1182 and 1183 Health and
Arizona Municipal Risk Retention Pool       Welfare Funds
Arizona School Alliance for Workers’        Drywall Tapers Insurance Fund
Compensation, Inc.                          Eastern Atlantic Carpenters Health Fund
Arkansas Municipal League                   Fire and Police Retiree Health Care Fund,
Asbestos Workers Local Union No. 2          San Antonio
Welfare Fund                                Flint Plumbing and Pipefitting Industry
Association of Arkansas Counties            Health Care Fund
Association of Arkansas Counties Risk       Gordon L. Seaman, Inc.
Management Fund                             Health Plan of San Joaquin
Austin and Williams, Inc.                   Hollow Metal Trust Fund
Bios Companies, Inc. Welfare Plan           Hui Huliau
Bios Companies, Inc. as Plan Sponsor and    IBEW Local 25 Health and Benefit Fund
Fiduciary of Bios Companies, Inc. Welfare   IBEW Local 38 Health and Welfare Fund
Plan
                                            IBEW Local 716 Electrical Medical Trust
Black Prince Distillery, Inc.
                                            IBEW Local 90 Benefits Plan
Bricklayers and Allied Craftworkers Local
Union No. 1 of PA/DE Health and Welfare     Illinois Public Risk Fund
Fund                                        ILWU-PMA Welfare Plan
Brighton Health Plan Solutions, LLC d/b/a   Inland Empire Health Plan
MagnaCare Administrative Services
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 53 of 159. PageID #: 645072




Intergovernmental Personnel Benefit                Metallic Lathers and Reinforcing
Cooperative                                        Ironworkers Local 46 Health and Benefit
Intergovernmental Risk Management                  Fund
Agency                                             Minute Men Select, Inc.
International Brotherhood of Trade Unions          Minute Men, Inc.
Local 713 Health Plan                              MSI Corporation
International Construction, Inc.                   MSP Recovery Claims, Series, LLC
International Intimates, Inc.                      MSPA Claims 1, LLC
International Union of Painters and Allied         Municipal Health Benefit Fund
Trades 1974                                        Municipal League Workers’ Compensation
Iron Workers Local 361 Health Fund                 Trust
Iron Workers Local 40 Health Fund                  Municipal Legal Defense Program
Iron Workers Local 417 Health Fund                 National Roofers Union and Employers
Ironworkers Local 580 Health and Benefit           Joint Health and Welfare Fund
Fund                                               New York City District Council of
IUOE Local 138 Health Benefit Fund                 Carpenters Welfare Fund
Kaya Associates, Inc.                              Noitu Insurance Trust Fund
Kentucky League of Cities Insurance                Northwest Arizona Employee Benefit Trust
Services                                           Ohio Carpenters’ Health Fund
L.A. Care Health Plan                              Painting Industry Insurance Fund
Laborers 17 Heath Benefit Fund                     Phillip Fyman and Alexander Weingarten,
Laborers Local 1298 of Nassau and Suffolk          M.D., P.C.
Counties Welfare Fund                              Pioneer Telephone Cooperative, Inc.
Laborers Local 235 Welfare Fund                    Employee Benefits Plan
LNO, Inc.                                          Pioneer Telephone Cooperative, Inc.,
Local 381 Group Insurance Fund                     (PTCI) as Plan Sponsor and Fiduciary of
                                                   PTCI Employee Benefits Plan
Local 8A-28A Welfare Fund
                                                   Pipe Fitters Local Union No. 120 Insurance
Louisiana Agricultural Compensation Self-
                                                   Fund
Insurance Fund
                                                   Pipefitters Local 636 Insurance Fund
Louisiana Assessors’ Insurance Fund a/k/a
the Insurance Committee of the Assessors’          Plumbers and Steamfitters Local 166 Health
Insurance Fund                                     and Welfare Fund
Louisiana Loggers Self-Insured Fund                Plumbers Local Union No. 1 Welfare Fund
MAO-MSO Recovery II, LLC                           Plumbers Local Union No. 68 Welfare Fund
Marketing Services of Indiana, Inc.                Plumbers Local Union No. 690 Health Plan
Mayflower Municipal Health Group                   Public Service Insurance Co.
Medford Volunteer Ambulance                        Risk Management, Inc.
Medical Mutual of Ohio                             Roofers Local 149 Security Benefit Trust
                                                   Fund
                                                   Roofers Local 8 WBPA Fund



                                             -2-
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 54 of 159. PageID #: 645073




San Francisco Health Plan                          UFCW Local 342 Welfare Fund
Santa Barbara San Luis Obispo Regional             Uniformed Fire Officers Association
Health Authority, d/b/a Cencal Health              Benefits Fund
Security Health Plan of Wisconsin, Inc.            United Crafts Benefits Fund
Sheet Metal Workers Local 19 Health Fund           United Food and Commercial Workers
Sheet Metal Workers Local 38 Insurance             Health and Welfare Fund of Northeastern
and Welfare Fund                                   Pennsylvania
Sheet Metal Workers Local No. 25 Health            United Food and Commercial Workers
and Welfare Fund                                   Local 1000 Oklahoma Health and Welfare
                                                   Fund
South Central UFCW Unions and
Employers Health and Welfare Trust                 United Food and Commercial Workers
                                                   Local 1995 and Employers Health and
Southern Tier Building Trades Benefit Plan
                                                   Welfare Fund
Structural Steel 806 Health Plan
                                                   United Food and Commercial Workers
Suffolk Transportation Services, Inc.              Union UFCW Local 1529 and Employers
Teamsters Health Services and Insurance            Health and Welfare Plan and Trust
Plan 404                                           United Food and Commercial Workers
Teamsters Local 237 Retirees’ Benefit Fund         Unions and Employers Health and Welfare
Teamsters Local 237 Welfare Fund                   Fund - Atlanta
Teamsters Local 445 Welfare Fund                   United Wire, Metal and Machine Local 810
Teamsters Local 456 Welfare Fund                   Health Benefit Fund
Teamsters Local 493 Health Services and            UOPW Local 175 Welfare Fund
Insurance Plan                                     Ventura County Medi-Cal Managed Care
Teamsters Local 671 Health Services and            Wayne Farms, LLC
Insurance Plan                                     Westchester Heavy Construction Laborers
Teamsters Local 677 Health Services and            Local 60 Health and Welfare Fund
Insurance Plan                                     Zenith Insurance Co.
UFCW Local 1500 Welfare Fund                       ZNAT Insurance Co.
UFCW Local 342 Healthcare Fund




                                             -3-
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 55 of 159. PageID #: 645074




                              Exhibit C - Aetna Affiliates

@Credentials Inc. (Delaware)
Accendo Insurance Company (Utah)
Accordant Health Services, L.L.C. (Delaware)
Acorn Network, LLC (Illinois)
ACS ACQCO CORP. (Delaware)
Active Health Management, Inc. (Delaware)
ADMINCO Inc. (Arizona)
Administrative Enterprises, Inc. (Arizona)
Advanced Care Scripts, Inc. (Florida)
AE Fourteen, Incorporated (Connecticut)
Aetna (Beijing) Enterprise Management Services Co., Ltd. (China)
Aetna (Shanghai) Enterprise Services Co. Ltd. (China)
Aetna ACO Holdings Inc. (Delaware)
Aetna ACO Holdings, Inc. (Delaware)
Aetna Asset Advisors, LLC (Delaware)
Aetna Behavioral Health, LLC (Delaware)
Aetna Better Health Inc. (Connecticut)
Aetna Better Health Inc. (Georgia)
Aetna Better Health Inc. (New Jersey)
Aetna Better Health Inc. (New York)
Aetna Better Health Inc. (Ohio)
Aetna Better Health Inc. (Pennsylvania)
Aetna Better Health of California Inc. (California)
Aetna Better Health of Florida Inc. (Florida)
Aetna Better Health of Illinois Inc. (Illinois)
Aetna Better Health of Indiana Inc. (Indiana)
Aetna Better Health of Kansas Inc. (Kansas)
Aetna Better Health of Kentucky Insurance Company (Kentucky)
Aetna Better Health of Michigan Inc. (Michigan)
Aetna Better Health of Missouri LLC (Missouri)
Aetna Better Health of Nevada Inc. (Nevada)
Aetna Better Health of North Carolina Inc. (North Carolina)
Aetna Better Health of Oklahoma Inc. (Oklahoma)
Aetna Better Health of Tennessee Inc. (Tennessee)
Aetna Better Health of Texas Inc. (Texas)
Aetna Better Health of Washington, Inc. (Washington)
Aetna Better Health Premier Plan MMAI Inc. (Illinois)
Aetna Better Health, Inc. (Louisiana)
Aetna Capital Management, LLC (Delaware)
Aetna Card Solutions, LLC (Connecticut)
Aetna Corporate Services LLC (Delaware)
Aetna Dental Inc. (New Jersey)
Aetna Dental Inc. (Texas)

                                             1
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 56 of 159. PageID #: 645075




Aetna Dental of California Inc. (California)
Aetna Financial Holdings, LLC (Delaware)
Aetna Florida Inc. (Florida)
Aetna Global Benefits (Asia Pacific) Limited (Hong Kong)
Aetna Global Benefits (Bermuda) Limited (Bermuda)
Aetna Global Benefits (Europe) Limited (England & Wales)
Aetna Global Benefits (Middle East) LLC (UAE)
Aetna Global Benefits (Singapore) PTE. LTD. (Singapore)
Aetna Global Benefits (UK) Limited (England and Wales)
Aetna Global Benefits Limited (DIFC, UAE)
Aetna Global Holdings Limited (England & Wales)
Aetna Health and Life Insurance Company (Connecticut)
Aetna Health Holdings, LLC (Delaware)
Aetna Health Inc. (Connecticut)
Aetna Health Inc. (Florida)
Aetna Health Inc. (Georgia)
Aetna Health Inc. (Louisiana)
Aetna Health Inc. (Maine)
Aetna Health Inc. (New Jersey)
Aetna Health Inc. (New York)
Aetna Health Inc. (Pennsylvania)
Aetna Health Inc. (Texas)
Aetna Health Insurance Company (Pennsylvania)
Aetna Health Insurance Company of Europe DAC (Ireland)
Aetna Health Insurance Company of New York (New York)
Aetna Health Management, LLC (Delaware)
Aetna Health of California Inc. (California)
Aetna Health of Iowa Inc. (Iowa)
Aetna Health of Michigan Inc. (Michigan)
Aetna Health of Ohio Inc. (Ohio)
Aetna Health of Utah Inc. (Utah)
Aetna HealthAssurance Pennsylvania, Inc. (Pennsylvania)
Aetna Holdco (UK) Limited (England and Wales)
Aetna Inc. (Pennsylvania)
Aetna Insurance (Hong Kong) Limited (Hong Kong)
Aetna Insurance Company Limited (England and Wales)
Aetna International Ex Pat LLC (Delaware)
Aetna International LLC. (Connecticut)
Aetna Ireland Inc. (Delaware)
Aetna Life & Casualty (Bermuda) Ltd. (Bermuda)
Aetna Life Assignment Company (Connecticut)
Aetna Life Insurance Company (Connecticut)
Aetna Medicaid Administrators LLC (Arizona)
Aetna Network Services LLC (Connecticut)
Aetna Partners Diversified Fund, LLC (Delaware)
Aetna Resources LLC (Delaware)

                                            2
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 57 of 159. PageID #: 645076




Aetna Risk Assurance Company of Connecticut Inc. (Connecticut)
Aetna Student Health Agency Inc. (Massachusetts)
Aetna Ventures, LLC (Delaware)
Aetna Workers’ Comp Access, LLC (Delaware)
AHP Holdings, Inc. (Connecticut)
Alabama CVS Pharmacy, L.L.C. (Alabama)
Alaska CVS Pharmacy, L.L.C. (Alaska)
Allina Health and Aetna Health Plan Inc. (Minnesota)
Allina Health and Aetna Insurance Company (Minnesota)
Allina Health and Aetna Insurance Holding Company LLC (Delaware)
AMC - Tennessee, LLC (Delaware)
American Continental Insurance Company (Tennessee)
American Drug Stores Delaware, L.L.C. (Delaware)
American Health Holding, Inc. (Ohio)
APS Acquisition LLC (Delaware)
Arizona CVS Stores, L.L.C. (Arizona)
Arkansas CVS Pharmacy, L.L.C. (Arkansas)
ASCO HealthCare, LLC (Maryland)
ASI Wings, LLC (Delaware)
AUSHC Holdings, Inc. (Connecticut)
Badger Acquisition LLC (Delaware)
Badger Acquisition of Kentucky LLC (Delaware)
Badger Acquisition of Minnesota LLC (Delaware)
Banner Health and Aetna Health Insurance Company (Arizona)
Banner Health and Aetna Health Insurance Holding Company LLC (Delaware)
Banner Health and Aetna Health Plan Inc. (Arizona)
Busse CVS, L.L.C. (Illinois)
Campo’s Medical Pharmacy, LLC (Louisiana)
Canal Place, LLC (Delaware)
Caravan Health ACO 20 LLC (Missouri)
Caravan Health ACO 22 LLC (Missouri)
Caravan Health ACO 43 LLC (Missouri)
Caravan Health ACO 50 LLC (Missouri)
Caravan Health ACO M-1 LLC (Missouri)
Caravan Health, Inc. (Delaware)
Carbon Parent Acquisition Corporation (Delaware)
Care Pharmaceutical Services, LP (Delaware)
CareCenter Pharmacy, L.L.C. (Delaware)
Carefree Insurance Services, Inc. (Florida)
Caremark Arizona Mail Pharmacy, LLC (Arizona)
Caremark Arizona Specialty Pharmacy, L.L.C. (Arizona)
Caremark Florida Mail Pharmacy, LLC (Florida)
Caremark Florida Specialty Pharmacy, LLC (Florida)
Caremark Hawaii Mail Pharmacy, L.L.C. (Hawaii)
Caremark Illinois Mail Pharmacy, LLC (Illinois)
Caremark Illinois Specialty Pharmacy, LLC (Illinois)

                                           3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 58 of 159. PageID #: 645077




Caremark IPA, L.L.C. (New York)
Caremark Kansas Specialty Pharmacy, LLC (Kansas)
Caremark Massachusetts Specialty Pharmacy, L.L.C. (Massachusetts)
Caremark Michigan Specialty Pharmacy, LLC (Michigan)
Caremark New Jersey Specialty Pharmacy, LLC (New Jersey)
Caremark North Carolina Specialty Pharmacy, LLC (North Carolina)
Caremark PhC, L.L.C. (Delaware)
Caremark Puerto Rico Specialty Pharmacy, L.L.C. (Puerto Rico)
Caremark Puerto Rico, L.L.C. (Puerto Rico)
Caremark Rx, L.L.C. (Delaware)
Caremark Tennessee Specialty Pharmacy, LLC (Tennessee)
Caremark Texas Mail Pharmacy, LLC (Texas)
Caremark, L.L.C. (California)
CaremarkPCS Health, L.L.C. (Delaware)
CaremarkPCS, L.L.C. (Delaware)
CCI Foreign, S.à R.L. (R.C.S. Luxembourg)
CCRx Holdings, LLC (Delaware)
CCRx of North Carolina LLC (Delaware)
Censeo Health LLC (Delaware)
Central Rx Services, LLC (Nevada)
CHP Acquisition, LLC (Delaware)
Claims Administration Corp. (Maryland)
Cofinity, Inc. (Delaware)
Collaborative ACO 30 LLC (Delaware)
Compscript, LLC (Florida)
Connecticut CVS Pharmacy, L.L.C. (Connecticut)
Continental Life Insurance Company of Brentwood, Tennessee (Tennessee)
Continuing Care Rx, LLC (Pennsylvania)
Coram Alternate Site Services, Inc. (Delaware)
Coram Clinical Trials, Inc. (Delaware)
Coram Healthcare Corporation of Florida (Delaware)
Coram Healthcare Corporation of Greater D.C. (Delaware)
Coram Healthcare Corporation of Greater New York (New York)
Coram Healthcare Corporation of Massachusetts (Delaware)
Coram Healthcare Corporation of Mississippi (Delaware)
Coram Healthcare Corporation of Nevada (Delaware)
Coram Healthcare Corporation of Northern California (Delaware)
Coram Healthcare Corporation of Southern California (Delaware)
Coram Healthcare Corporation of Southern Florida (Delaware)
Coram Healthcare Corporation of Utah (Delaware)
Coram LLC (Delaware)
Coram Specialty Infusion Services, L.L.C. (Delaware)
Cordavis Limited (Ireland)
Cordavis Trading Limited (Ireland)
Coventry Consumer Advantage, Inc. (Delaware)
Coventry Health and Life Insurance Company (Missouri)

                                            4
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 59 of 159. PageID #: 645078




Coventry Health Care National Accounts, Inc. (Delaware)
Coventry Health Care National Network, Inc. (Delaware)
Coventry Health Care of Illinois, Inc. (Illinois)
Coventry Health Care of Kansas, Inc. (Kansas)
Coventry Health Care of Missouri, Inc. (Missouri)
Coventry Health Care of Nebraska, Inc. (Nebraska)
Coventry Health Care of Virginia, Inc. (Virginia)
Coventry Health Care of West Virginia, Inc. (West Virginia)
Coventry Health Plan of Florida, Inc. (Florida)
Coventry HealthCare Management Corporation (Delaware)
Coventry Prescription Management Services Inc. (Nevada)
CP Acquisition, LLC (Oklahoma)
Cure Intermediate 1, LLC (Delaware)
Cure Intermediate 2, LLC (Delaware)
Cure Intermediate 3, LLC (Delaware)
Cure TopCo, LLC (Delaware)
CVS 2948 Henderson, L.L.C. (Nevada)
CVS 3268 Gilbert, L.L.C. (Arizona)
CVS 3745 Peoria, L.L.C. (Arizona)
CVS Accountable Care Organization Inc. (Pennsylvania)
CVS Accountable Care, LLC (Delaware)
CVS ACO, LLC (Delaware)
CVS AL Distribution, L.L.C. (Alabama)
CVS Albany, L.L.C. (New York)
CVS AOC Corporation (California)
CVS AOC Services, L.L.C. (Delaware)
CVS Bellmore Avenue, L.L.C. (New York)
CVS Cabot Holdings Inc. (Delaware)
CVS Care Concierge, LLC (Delaware)
CVS Caremark Advanced Technology Pharmacy, L.L.C. (Illinois)
CVS Caremark Indemnity Ltd. (Bermuda)
CVS Caremark Part D Services, L.L.C. (Delaware)
CVS Foreign, Inc. (New York)
CVS Gilbert 3272, L.L.C. (Arizona)
CVS Health Applications, LLC (Rhode Island)
CVS Health Clinical Trial Services LLC (Connecticut)
CVS Health Corporation
CVS Health Growth Equity, LLC (Delaware)
CVS Health Solutions LLC (Delaware)
CVS Health Ventures Fund GP, LLC (Delaware)
CVS Health Ventures Fund, LP (Delaware)
CVS Health Ventures Management, LLC (Delaware)
CVS Indiana, L.L.C. (Indiana)
CVS International, Inc. (Delaware)
CVS International, Inc. (Delaware)
CVS IPA of New York LLC (New York)

                                           5
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 60 of 159. PageID #: 645079




CVS Management Support, LLC (Delaware)
CVS Manchester NH, L.L.C. (New Hampshire)
CVS Media Exchange LLC (Delaware)
CVS Michigan, L.L.C. (Michigan)
CVS NJ ODS, LLC (Delaware)
CVS Orlando FL Distribution, L.L.C. (Florida)
CVS PA Distribution, L.L.C. (Pennsylvania)
CVS Pharmacy Overseas Online, LLC
CVS Pharmacy, Inc. (Rhode Island)
CVS PR Center, Inc. (Delaware)
CVS RS Arizona, L.L.C. (Arizona)
CVS Rx Services, Inc. (New York)
CVS Safir Sourcing, LLC (Delaware)
CVS SC Distribution, L.L.C. (South Carolina)
CVS Shaw Holdings Inc. (Delaware)
CVS State Capital, L.L.C. (Maine)
CVS TN Distribution, L.L.C. (Tennessee)
CVS Transportation, L.L.C. (Indiana)
CVS Vero FL Distribution, L.L.C. (Florida)
D & R Pharmaceutical Services LLC (Kentucky)
D.A.W., LLC (Massachusetts)
Delaware CVS Pharmacy, L.L.C. (Delaware)
Delaware Physicians Care, Incorporated (Delaware)
District of Columbia CVS Pharmacy, L.L.C. (District of Columbia)
Drynachan, LLC (Delaware)
E.T.B., Inc. (Texas)
Echo Merger Sub, Inc. (Delaware)
Employee Assistance Services LLC (Kentucky)
Enloe Drugs, LLC (Delaware)
Enterprise Patient Safety Organization, LLC (Rhode Island)
Evergreen Pharmaceutical of California, LLC (California)
Evergreen Pharmaceutical, LLC (Washington)
Express Pharmacy Services of PA, L.L.C. (Delaware)
FairCost LLC (Connecticut)
First Choice of the Midwest LLC (South Dakota)
First Health Group Corp. (Delaware)
First Health Life & Health Insurance Company (Texas)
Florida Health Plan Administrators, LLC (Florida)
Florida Health Plan Administrators, LLC (Florida)
Garfield Beach CVS, L.L.C. (California)
Geneva Woods Pharmacy Washington, LLC (Delaware)
Geneva Woods Pharmacy Wyoming, LLC (Delaware)
Geneva Woods Pharmacy, LLC (Alaska)
Georgia CVS Pharmacy, L.L.C. (Georgia)
German Dobson CVS, L.L.C. (Arizona)
Goodhealth Worldwide (Asia) Limited (Hong Kong)

                                             6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 61 of 159. PageID #: 645080




Goodhealth Worldwide (Global) Limited (Bermuda)
Goodyear CVS, L.L.C. (Arizona)
Grand St. Paul CVS, L.L.C. (Minnesota)
Grandview Pharmacy, LLC (Indiana)
Halo HoldCo I, Inc. (Delaware)
Halo HoldCo II, Inc. (Delaware)
Health and Human Resource Center, Inc. (California)
Health Data & Management Solutions, Inc. (Delaware)
Health Re, Inc. (Vermont)
Highland Park CVS, L.L.C. (Illinois)
Holiday CVS, L.L.C. (Florida)
Home Care Pharmacy, LLC (Delaware)
Home Pharmacy Services, LLC (Missouri)
Hook-SupeRx, L.L.C. (Delaware)
Horizon Behavioral Services, LLC (Delaware)
I.g.G. of America, LLC (Maryland)
Idaho CVS Pharmacy, L.L.C. (Idaho)
Innovation Health Holdings, LLC (Delaware)
Innovation Health Insurance Company (Virginia)
Innovation Health Plan, Inc. (Virginia)
Interlock Pharmacy Systems, LLC (Missouri)
Iowa CVS Pharmacy, L.L.C. (Iowa)
iTriage, LLC (Delaware)
JHC Acquisition, LLC (Delaware)
Kansas CVS Pharmacy, L.L.C. (Kansas)
Kentucky CVS Pharmacy, L.L.C. (Kentucky)
Langsam Health Services, LLC (Delaware)
LCPS Acquisition, LLC (Delaware)
Liberty Health Partners LLC (Delaware)
Liberty Health, LLC (Delaware)
Lobos Acquisition, LLC (Delaware)
Lo-Med Prescription Services, LLC (Ohio)
Longs Drug Stores California, L.L.C. (California)
Louisiana CVS Pharmacy, L.L.C. (Louisiana)
Main Street Pharmacy, L.L.C. (Maryland)
Managed Care Coordinators, Inc. (Delaware)
Managed Healthcare, LLC (Delaware)
Martin Health Services, LLC (Delaware)
Maryland CVS Pharmacy, L.L.C. (Maryland)
Medical Arts Health Care, LLC (Georgia)
Medical Examinations of New York, P.C. (New York)
Melville Realty Company, Inc. (New York)
Mental Health Associates, Inc. (Louisiana)
Mental Health Network of New York IPA, Inc. (New York)
Meritain Health, Inc. (New York)
Merwin Long Term Care, LLC (Minnesota)

                                           7
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 62 of 159. PageID #: 645081




MHHP Acquisition Company, LLC (Delaware)
MHNet Specialty Services, LLC (Maryland)
MinuteClinic Diagnostic of Hawaii, L.L.C. (Hawaii)
MinuteClinic Diagnostic of Illinois, LLC (Delaware)
MinuteClinic Diagnostic of Kentucky, L.L.C. (Kentucky)
MinuteClinic Diagnostic of Louisiana, L.L.C. (Louisiana)
MinuteClinic Diagnostic of Maine, L.L.C. (Maine)
MinuteClinic Diagnostic of Massachusetts, LLC (Massachusetts)
MinuteClinic Diagnostic of Nebraska, L.L.C. (Nebraska)
MinuteClinic Diagnostic of New Hampshire, L.L.C. (New Hampshire)
MinuteClinic Diagnostic of New Mexico, L.L.C. (New Mexico)
MinuteClinic Diagnostic of Ohio, LLC (Ohio)
MinuteClinic Diagnostic of Oklahoma, LLC (Oklahoma)
MinuteClinic Diagnostic of Pennsylvania, LLC (Minnesota)
MinuteClinic Diagnostic of Rhode Island, LLC (Minnesota)
MinuteClinic Diagnostic of South Carolina, L.L.C. (South Carolina)
MinuteClinic Diagnostic of Texas, LLC (Minnesota)
MinuteClinic Diagnostic of Utah, L.L.C. (Utah)
MinuteClinic Diagnostic of Virginia, LLC (Virginia)
MinuteClinic Diagnostic of Wisconsin, L.L.C. (Wisconsin)
MinuteClinic Physician Practice of Texas (Texas)
MinuteClinic Telehealth Services of Texas Association (Texas)
MinuteClinic Telehealth Services, LLC (Delaware)
MinuteClinic, L.L.C. (Delaware)
Mississippi CVS Pharmacy, L.L.C. (Mississippi)
Missouri CVS Pharmacy, L.L.C. (Missouri)
Montana CVS Pharmacy, L.L.C. (Montana)
NCS Healthcare of Illinois, LLC (Ohio)
NCS Healthcare of Iowa, LLC (Ohio)
NCS Healthcare of Kansas, LLC (Ohio)
NCS Healthcare of Kentucky, LLC (Ohio)
NCS Healthcare of Montana, LLC (Ohio)
NCS Healthcare of New Mexico, LLC (Ohio)
NCS Healthcare of Ohio, LLC (Ohio)
NCS Healthcare of South Carolina, LLC (Ohio)
NCS Healthcare of Tennessee, LLC (Ohio)
NCS Healthcare of Wisconsin, LLC (Ohio)
Nebraska CVS Pharmacy, L.L.C. (Nebraska)
NeighborCare of Indiana, LLC (Indiana)
NeighborCare Pharmacy Services, LLC (Delaware)
New Jersey CVS Pharmacy, L.L.C. (New Jersey)
Niagra Re, Inc. (New York)
NIV Acquisition, LLC (Delaware)
Noah HoldCo I, Inc. (Delaware)
Noah HoldCo II, Inc. (Delaware)
North 53 TAOH Limited (Ireland)

                                            8
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 63 of 159. PageID #: 645082




North 53, LLC (Delaware)
North Carolina CVS Pharmacy, L.L.C. (North Carolina)
North Shore Pharmacy Services LLC (Delaware)
NovoLogix, LLC (Delaware)
Oak Street Health LLC (Illinois)
Oak Street Health Medicare Partners LLC (Illinois)
Oak Street Health MSO, LLC (Illinois)
Oak Street Health, Inc. (Delaware)
Oakwell, LLC (Delaware)
Ocean Acquisition Sub, L.L.C. (Delaware)
OCR Services, LLC (Delaware)
Ohio CVS Stores, L.L.C. (Ohio)
Oklahoma CVS Pharmacy, L.L.C. (Oklahoma)
Omnicare Indiana Partnership Holding Company LLC (Delaware)
Omnicare of Nebraska LLC (Delaware)
Omnicare of Nevada, LLC (Delaware)
Omnicare of New York, LLC (Delaware)
Omnicare Pharmacies of Pennsylvania West LLC (Pennsylvania)
Omnicare Pharmacies of the Great Plains Holding, LLC (Delaware)
Omnicare Pharmacy and Supply Services LLC (South Dakota)
Omnicare Pharmacy of Tennessee LLC (Delaware)
Omnicare Pharmacy of the Midwest, LLC (Delaware)
Omnicare Property Management, LLC (Delaware)
Omnicare Resources, LLC (Delaware)
Omnicare, LLC (continued)
Omnicare, LLC (Delaware)
Oregon CVS Pharmacy, L.L.C. (Oregon)
OSH-ESC Joint Venture (Illinois)
OSH-NJ LODS LLC (New Jersey)
OSH-PCJ Joliet LLC (Illinois)
OSH-RI, LLC (Rhode Island)
Part D Holding Company, L.L.C. (Delaware)
PatientBlox, Inc. (Delaware)
PE Holdings, LLC (Connecticut)
Pennsylvania CVS Pharmacy, L.L.C. (Pennsylvania)
Performax, Inc. (Delaware)
Pharmacy Associates of Glenn Falls, LLC (New York)
Pharmacy Consultants, LLC (South Carolina)
Phoenix Data Solutions LLC (Delaware)
PHPSNE Parent Corporation (Delaware)
Precision Benefit Services, Inc. (Delaware)
Prime Net, Inc. (Ohio)
PRN Pharmaceutical Services, LP (Delaware)
ProCare Pharmacy Direct, L.L.C. (Ohio)
ProCare Pharmacy, L.L.C. (Rhode Island)
Prodigy Health Group, Inc. (Delaware)

                                            9
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 64 of 159. PageID #: 645083




Professional Risk Management, Inc. (Ohio)
PT Aetna Management Consulting (Indonesia)
Pt. Aetna Global Benefits Indonesia (Indonesia)
Puerto Rico CVS Pharmacy, L.L.C. (Puerto Rico)
Red Oak Sourcing, LLC (Delaware)
Remedy BPCI Partners, LLC (Delaware)
Remedy Holdings, LLC (Delaware)
Remedy Partners, LLC
Resources for Living, LLC (Texas)
Rhode Island CVS Pharmacy, L.L.C. (Rhode Island)
Roeschen’s Healthcare LLC (Wisconsin)
RubiconMD Holdings, Inc. (Delaware)
RubiconMD MSO, LLC (Delaware)
Rubincon MD, Inc. (Delaware)
Schaller Anderson Medical Administrators, Incorporated (Delaware)
Scrip World, LLC (Utah)
SH Rx Distributor, LLC (Delaware)
SH Rx Holding, LLC (Delaware)
Sheffield Avenue CVS, L.L.C. (Illinois)
Shore Pharmaceutical Providers, LLC (Delaware)
Signify Episode Administrators, LLC (Delaware)
Signify Health IPA, LLC (New York)
Signify Health, Inc. (Delaware)
Signify Health, LLC (continued)
Signify Health, LLC (Delaware)
Signify Home & Community Care, LLC (Delaware)
Signify IPA NY, LLC (New York)
Signify Ireland Technology Development Limited (Ireland)
Signify Newco Inc. (Delaware)
Silverscript Insurance Company (Tennessee)
South Carolina CVS Pharmacy, L.L.C. (South Carolina)
Specialized Pharmacy Services, LLC (Michigan)
Spinnaker Bidco Limited (England and Wales)
Sterling Healthcare Services, LLC (Delaware)
Superior Care Pharmacy, LLC (Delaware)
Sutter Health and Aetna Administrative Services LLC (California)
Sutter Health and Aetna Insurance Company (California)
Sutter Health and Aetna Insurance Holding Company LLC (Delaware)
T2 Medical, Inc. (Delaware)
TAVHealth, LLC (Delaware)
TCPI Acquisition, LLC (Delaware)
Tennessee CVS Pharmacy, L.L.C. (Tennessee)
Texas Health + Aetna Health Insurance Company (Texas)
Texas Health + Aetna Health Insurance Holding Company LLC (Texas)
Texas Health + Aetna Health Plan Inc. (Texas)
The Vasquez Group Inc. (Illinois)

                                          10
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 65 of 159. PageID #: 645084




Thomas Phoenix CVS, L.L.C. (Arizona)
TVG Logic Buyer, LLC (Delaware)
U.S. Healthcare Holdings, LLC (Ohio)
U.S. Healthcare Properties, Inc. (Pennsylvania)
UC Acquisition, LLC (Delaware)
UNI-Care Health Services of Maine, LLC (New Hampshire)
Utah CVS Pharmacy, L.L.C. (Utah)
Value Health Care Services LLC (Delaware)
Vermont CVS Pharmacy, L.L.C. (Vermont)
Virginia CVS Pharmacy, L.L.C. (Virginia)
Warm Springs Road CVS, L.L.C. (Nevada)
Washington CVS Pharmacy, L.L.C. (Washington)
Washington Lamb CVS, L.L.C. (Nevada)
Weber Medical Systems LLC (Delaware)
Wellpartner, LLC (Delaware)
West Virginia CVS Pharmacy, L.L.C. (West Virginia)
Westhaven Services Co, LLC (Ohio)
Williamson Drug Company, LLC (Virginia)
Wisconsin CVS Pharmacy, L.L.C. (Wisconsin)
Woodward Detroit CVS, L.L.C. (Michigan)
Work and Family Benefits, Inc. (New Jersey)
Zinc Health Services, LLC (Delaware)
Zinc Health Ventures, LLC (Delaware)
ZS Acquisition Company, LLC (Delaware)




                                          11
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 66 of 159. PageID #: 645085




                            Exhibit D - Anthem Affiliates

Advantage Medical Group, LLC
Alianza Medicos del SurEste, LLC
Alliance Care Management, LLC
AMERIGROUP Community Care of New Mexico, Inc.
Amerigroup District of Columbia, Inc.
Amerigroup Mississippi, Inc.
Amerigroup Pennsylvania, Inc.
AMGP Georgia Managed Care Company, Inc.
AMH Health, LLC
AMH Health Plans of Maine, Inc.
Anthem Benefits Agency, Inc. f/k/a EHC Benefits Agency, Inc.
Anthem Blue Cross Life and Health Insurance Company
Anthem Financial, Inc.
Anthem Health Plans, Inc.
Anthem Health Plans of Kentucky, Inc.
Anthem Health Plans of Maine, Inc.
Anthem Health Plans of New Hampshire, Inc.
Anthem Health Plans of Virginia, Inc.
Anthem HealthChoice Assurance, Inc. f/k/a Empire HealthChoice Assurance, Inc.
Anthem HealthChoice HMO, Inc. f/k/a Empire HealthChoice HMO, Inc.
Anthem Holding Corp.
Anthem HP, LLC f/k/a HealthPlus HP, LLC
Anthem Insurance Companies, Inc.
Anthem Kentucky Managed Care Plan, Inc.
Anthem Life & Disability Insurance Company
Anthem Life Insurance Company
Anthem Partnership Holding Company, LLC
Anthem Southeast, Inc.
APR, LLC
Arcus Enterprises, Inc.
Associated Group, Inc.
ATH Holding Company, LLC
AUMSI UM Services, Inc.
Beacon Health Financing LLC
Beacon Health Holdings LLC
Beacon Health Options Holdco, Inc.
Beacon Health Vista Parent, Inc.
Beacon Plan Funding, LLC
Best Transportation of PR LLC
BioPlus Parent, LLC
BioPlus Specialty Pharmacy Services, LLC
Blue Cross Blue Shield Healthcare Plan of Georgia, Inc.
Blue Cross Blue Shield of Wisconsin

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 67 of 159. PageID #: 645086




Blue Cross of California
Blue Cross of California Partnership Plan, Inc.
Carelon Behavioral Care, Inc.
Carelon Behavioral Health Holdings, LLC f/k/a BVO Holdings, LLC
Carelon Behavioral Health, Inc. f/k/a Beacon Health Options, Inc.
Carelon Behavioral Health IPA, Inc. f/k/a CHCS IPA, Inc.
Carelon Behavioral Health of California, Inc. f/k/a Beacon Health Options of California, Inc.
Carelon Behavioral Health Strategies IPA, LLC f/k/a BHS IPA, LLC
Carelon Behavioral Health Strategies, LLC f/k/a Beacon Health Strategies, LLC
Carelon Digital Platforms, Inc.
Carelon Digital Platforms Israel Ltd.
Carelon Employment Company, LLC
Carelon Global Solutions India LLP
Carelon Global Solutions Ireland Limited
Carelon Global Solutions Philippines, Inc.
Carelon Global Solutions Puerto Rico, L.L.C.
Carelon Global Solutions U.S., Inc.
Carelon Health Federal Services, Inc. f/k/a ValueOptions Federal Services, Inc.
Carelon Health of Arizona, Inc. f/k/a CareMore Heath Plan of Arizona, Inc.
Carelon Health of Nevada, Inc. f/k/a CareMore Health Plan of Nevada
Carelon Health of New Jersey, Inc. f/k/a ValueOptions of New Jersey, Inc.
Carelon Health of Pennsylvania, Inc. f/k/a Beacon Health Options of Pennsylvania, Inc.
Carelon Health of Texas f/k/a myNEXUS NPHO of Texas
Carelon Health of Virginia, LLC f/k/a CareMore, LLC
Carelon Health Solutions, Inc. f/k/a Health Management Corporation
Carelon Holdings I, Inc.
Carelon Holdings II, LLC.
Carelon Holdings, Inc.
Carelon Insights, Inc.
Carelon Insights IPA of New York, LLC f/k/a myNEXUS NY IPA, LLC
Carelon Medical Benefits Management, Inc. f/k/a American Imaging Management, Inc.
Carelon Palliative Care, Inc. f/k/a Aspire Health, Inc.
Carelon Post Acute Solutions, Inc. f/k/a MyNexus, Inc.
Carelon Research, Inc. f/k/a Health Core, Inc.
Carelon Subrogation, LLC f/k/a Meridian Resource Company, LLC
CarelonRx, Inc.
CarelonRx Pharmacy, Inc.
CareMore Health IPA of New York, Inc.
CareMore Health of Arizona, Inc.
CareMore Health Plan
CareMore Health Plan of Texas, Inc.
CareMore Health System
Caribbean Accountable Care, LLC
Castellana Physician Services, LLC
CCHA, LLC
Centro Medicina Familiar del Norte, LLC

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 68 of 159. PageID #: 645087




Centros de Medicina Primaria Advantage del Norte, LLC
Centros Medicos Unidos del Oeste, LLC
Cerulean Companies, Inc.
Claim Management Services, Inc.
Clinica Todo Salud - Aibonito, LLC
Clinica Todo Salud, LLC
Clinical Staff Solutions, LLC
Community Care Health Plan of Kansas, Inc.
Community Care Health Plan of Louisiana, Inc.
Community Care Health Plan of Nebraska, Inc.
Community Care Health Plan of Nevada, Inc.
Community Insurance Company
Compcare Health Services Insurance Corporation
Consorcio MultiSalud del Norte, Inc.
Consorcio MultiSalud del Oeste, Inc.
Crossroads Acquisition Corp.
DeCare Analytics, LLC
DeCare Dental Health International, LLC
DeCare Dental Insurance Ireland, Ltd.
DeCare Dental Networks, LLC
DeCare Dental, LLC
DeCare Operations Ireland, Limited
Delivery Network, LLC
Dental Services Organization, LLC
Designated Agent Company, Inc.
Dogwood Pharmacy, LLC
EasyScripts Cutler Bay, LLC
EasyScripts Hialeah, LLC
EasyScripts Westchester, LLC
EasyScripts, LLC
Elevance Health, Inc.
Elevance Health Information Technology Services, Inc. f/k/a WellPoint Information Technology
Services, Inc.
ELV Holding Company, LLC
Federal Government Solutions, LLC
FHC Health Systems, Inc.
Freedom Health, Inc.
Freedom SPV, Inc.
Golden West Health Plan, Inc.
Greater Georgia Life Insurance Company
GR Health Solutions, LLC
Group Retiree Health Solutions, Inc.
Grupo Advantage del Oeste, LLC
Grupo Advantage Metro, LLC
Healthcare Subrogation Group, L.L.C.
HealthKeepers, Inc.

                                             3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 69 of 159. PageID #: 645088




HealthLink Administrators, Inc. f/k/a HealthLink HMO, Inc.
HealthLink, Inc.
Health Ventures Partner, L.L.C.
HealthSun Health Plans, Inc.
HealthSun Physicians Network I, LLC
HealthSun Physicians Network, LLC
Healthy Alliance Life Insurance Company
Highland Acquisition Holdings, LLC
Highland Intermediate Holdings, LLC
Highland Investor Holdings, LLC
HMO Colorado, Inc.
HMO Missouri, Inc.
IEC Group Holdings, Inc.
IEC Group, Inc.
InHealth Management, LLC
IPA Holdings, LLC
Living Complete Technologies, Inc.
MAPR Capital, LLC
MAPR Global, LLC
MAPR Holdings, LLC
Massachusetts Behavioral Health Partnership, LLP
Matthew Thornton Health Plan, Inc.
Medical Dental Network Management, LLC
Missouri Care, Incorporated
MMM Healthcare, LLC
MMM Holdings, LLC
MMM Multi Health, LLC
MMM Transportation, LLC
Momentum Health Partners, LLC
MSO Holdings, LLC
MSO of Puerto Rico, LLC
Nash Holding Company, LLC
National Government Services, Inc.
New England Research Institutes, Inc.
NGS Federal, LLC
Optimum Healthcare, Inc.
OPTIONS Health Care, Inc.
Pasteur Medical Bird Road, LLC
Pasteur Medical Center, LLC
Pasteur Medical Cutler Bay, LLC
Pasteur Medical Group, LLC
Pasteur Medical Hialeah Gardens, LLC
Pasteur Medical Kendall, LLC
Pasteur Medical Management, LLC
Pasteur Medical Miami Gardens, LLC
Pasteur Medical North Miami Beach, LLC

                                             4
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 70 of 159. PageID #: 645089




Pasteur Medical Partners, LLC
PHM Healthcare Solutions, Inc.
PHM IntraHospital Physician Group, LLC
PHM MultiDisciplinary Clinic Aguadilla LLC
PHM MultiDisciplinary Clinic Arecibo LLC
PHM MultiDisciplinary Clinic Cabo Rojo LLC
PHM MultiDisciplinary Clinic Guayama LLC
PHM MultiDisciplinary Clinic Maunabo LLC
PHM MultiDisciplinary Clinic, LLC
PHM MultiSalud, LLC
PHM Specialty Network, LLC
Physician Group Practices, LLC
PMC Medicare Choice, LLC
Raina RX LLC
RightCHOICE Managed Care, Inc.
River Medical Pharmacy, LLC
Rocky Mountain Hospital and Medical Service, Inc.
Santa Barbara Specialty Pharmacy, LLC
SellCore, Inc.
Simply Healthcare Plans, Inc.
Southeast Services, Inc.
State Sponsored Services, Inc.
The Elevance Health Companies, Inc.
The Elevance Health Companies of California, Inc.
The Elevance Health Companies of Puerto Rico, LLC
TrustSolutions, LLC
UNICARE Health Plan of West Virginia, Inc.
UNICARE Illinois Services, Inc.
UNICARE National Services, Inc.
UniCare Specialty Services, Inc.
VITA Care, LLC
Wellmax Health Medical Centers, LLC
Wellmax Health Physicians Network, LLC
WellPoint Acquisition, LLC
WellPoint California Services, Inc.
Wellpoint Corporation f/k/a AMERIGROUP Corporation
Wellpoint Delaware, Inc. f/k/a Amerigroup Delaware, Inc.
WellPoint Dental Services, Inc.
Wellpoint Federal Corporation
WellPoint Health Solutions, Inc.
WellPoint Holding Corp.
Wellpoint Insurance Company f/k/a Amerigroup Insurance Company
Wellpoint Insurance Services, Inc.
Wellpoint Iowa, Inc. f/k/a Amerigroup Iowa, Inc.
Wellpoint IPA of New York, LLC f/k/a Amerigroup IPA of New York, LLC
Wellpoint Life and Health Insurance Company f/k/a UniCare Life & Health Insurance Company

                                            5
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 71 of 159. PageID #: 645090




Wellpoint Maryland, Inc.
Wellpoint New Jersey, Inc. f/k/a AMERIGROUP New Jersey, Inc.
Wellpoint Ohio, Inc. f/k/a AMERIGROUP Ohio, Inc.
Wellpoint Partnership Plan, LLC f/k/a Amerigroup Partnership Plan, LLC
Wellpoint South Carolina, Inc.
Wellpoint Tennessee, Inc. f/k/a AMERIGROUP Tennessee, Inc.
Wellpoint Texas, Inc. f/k/a AMERIGROUP Texas, Inc.
Wellpoint Washington, Inc. f/k/a AMERIGROUP Washington, Inc.
Wisconsin Collaborative Insurance Company




                                             6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 72 of 159. PageID #: 645091




                           Exhibit E – Cigna Affiliates

Accredo Health Group, Inc.
Accredo Health, Incorporated
Allegiance Life & Health Insurance Company
American Retirement Life Insurance Company
Ascent Health Services LLC
Bravo Health Mid-Atlantic, Inc.
Bravo Health Pennsylvania, Inc.
Care Continuum, Inc.
CareCore NJ, LLC
Chiro Alliance Corporation
Cigna & CMB Life Insurance Company Limited
Cigna Arbor Life Insurance Company
Cigna Dental Health Of California, Inc.
Cigna Dental Health Of Colorado, Inc.
Cigna Dental Health Of Delaware, Inc.
Cigna Dental Health Of Florida, Inc.
Cigna Dental Health Of Kansas, Inc.
Cigna Dental Health Of Kentucky, Inc.
Cigna Dental Health Of Maryland, Inc.
Cigna Dental Health Of Missouri, Inc.
Cigna Dental Health Of New Jersey, Inc.
Cigna Dental Health Of North Carolina, Inc.
Cigna Dental Health Of Ohio, Inc.
Cigna Dental Health Of Pennsylvania, Inc.
Cigna Dental Health Of Texas, Inc.
Cigna Dental Health Of Virginia, Inc.
Cigna Dental Health Plan Of Arizona, Inc.
Cigna Europe Insurance Company S.A.-N.V.
Cigna Global Insurance Company Limited
Cigna Global Reinsurance Company, Ltd.
Cigna Health and Life Insurance Company
Cigna HealthCare Mid-Atlantic, Inc.
Cigna HealthCare of Arizona, Inc.
Cigna HealthCare of California, Inc.
Cigna HealthCare of Colorado, Inc.
Cigna HealthCare of Connecticut, Inc.
Cigna HealthCare of Florida, Inc.
Cigna HealthCare of Georgia, Inc.
Cigna HealthCare of Illinois, Inc.
Cigna HealthCare of Indiana, Inc.
Cigna HealthCare of Massachusetts, Inc.
Cigna HealthCare of New Hampshire, Inc.
Cigna HealthCare of New Jersey, Inc.

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 73 of 159. PageID #: 645092




Cigna HealthCare of North Carolina, Inc.
Cigna HealthCare of Pennsylvania, Inc.
Cigna HealthCare of South Carolina, Inc.
Cigna HealthCare of St. Louis, Inc.
Cigna HealthCare of Tennessee, Inc.
Cigna HealthCare of Texas, Inc.
Cigna Holding Company
Cigna Holdings, Inc.
Cigna Insurance Company
Cigna Insurance Middle East S.A.L.
Cigna Life Insurance Company of Canada
Cigna Life Insurance Company of Europe S.A.-N.V.
Cigna National Health Insurance Company
Cigna Services Middle East FZE
Cigna Spruce Holdings GmBH
Cigna Worldwide General Insurance Company Limited
Cigna Worldwide Insurance Company
Cigna-Evernorth Enterprise Services, Inc.
Connecticut General Corporation
Connecticut General Life Insurance Company
CuraScript, Inc.
ESI Mail Pharmacy Service, Inc.
Evernorth Accountable Care, LLC
Evernorth Health, Inc.
Evernorth Wholesale Distribution, Inc.
Evernorth-VillageMD Care Alliance of NJ, LLC (F/K/A “ENAC of NJ, LLC”)
eviCore Healthcare MSI, LLC
Express Reinsurance Company
Express Scripts Administrators LLC
Express Scripts Pharmaceutical Procurement, LLC
Express Scripts Pharmacy, Inc.
Express Scripts Strategic Development, Inc.
Express Scripts Utilization Management Company
Express Scripts, Inc.
HealthSpring Life & Health Insurance Company, Inc.
HealthSpring of Florida, Inc.
Inside RX, LLC
Loyal American Life Insurance Company
ManipalCigna Health Insurance Company Limited
Matrix Healthcare Services, Inc.
Medco Containment Insurance Company of NY
Medco Containment Life Insurance Company
Medco Health Services, Inc.
Medco Health Solutions, Inc.
MSI Health Organization of Texas, Inc.
Provident American Life & Health Insurance Company

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 74 of 159. PageID #: 645093




Sterling Life Insurance Company
Temple Insurance Company Limited
The Cigna Group




                                       3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 75 of 159. PageID #: 645094




                           Exhibit F - Humana Affiliates

516-526 West Main Street Condominium Council of Co-Owners, Inc.
A & A HomeCare, Inc.
Aberdeen Holdings, Inc.
Able Home Healthcare, Inc.
Access Home Health of Florida, LLC
Accredited Home Health of Broward, Inc.
Advanced Oncology Services, Inc.
Alexander Infusion, LLC
All About Home Care Management, LLC
Alpine Home Health Care, LLC
Altercare LLC
Altercare of Palm Beach County, LLC
Amazing Home Health Care, Inc.
Amazing Home Health Holdings, LLC
American Homecare Management Corp.
Amicus Medical Center LLC
Amicus Medical Group, Inc.
Amicus Medical Services Organization, LLC
Arcadian Health Plan, Inc.
Asian American Home Care, Inc.
BWB Sunbelt Home Health Services, LLC
California Hospice, LLC
Capital Care Resources of South Carolina, LLC
Capital Care Resources, LLC
Capital Health Management Group, LLC
Care Hope Holdings, Inc.
Care Hope Home Health Agency, Inc.
Care Partners Home Care, LLC
CareNetwork, Inc.
CarePlus Health Plans, Inc.
Cariten Health Plan Inc.
CDO 1, LLC
CDO 2, LLC
CenterWell Accountable Care, LLC
CenterWell Care Solutions, Inc.
CenterWell Certified Healthcare Corp.
CenterWell Health Services (Certified), Inc.
CenterWell Health Services (USA) LLC
CenterWell Health Services Holding Corp.
CenterWell Health Services, Inc.
CenterWell Home Health Services, LLC
CenterWell IPA Solutions, LLC
CenterWell Pharmacy, Inc.

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 76 of 159. PageID #: 645095




CenterWell Senior Primary Care (FL), Inc.
CenterWell Services of New York, Inc.
CHA HMO, Inc.
Chattahoochee Valley Home Care Services, LLC
Chattahoochee Valley Home Health, LLC
CHMG Acquisition LLC
CHMG of Atlanta, LLC
CHMG of Griffin, LLC
CompBenefits Company
CompBenefits Corporation
CompBenefits Dental, Inc.
CompBenefits Direct, Inc.
CompBenefits Insurance Company
Complex Clinical Management, Inc.
Conviva Care Solutions II, LLC
Conviva Care Solutions, LLC
Conviva Group Holdings, LLC
Conviva Health Management, LLC
Conviva Health MSO of Texas, Inc.
Conviva Medical Center Management, LLC
Conviva Physician Group, LLC
Conviva Specialty, LLC
Corpus Christi Home Care, Inc.
Dental Care Plus Management, Corp.
DentiCare, Inc.
Eagle NY Rx, LLC
Eagle Rx Holdco, Inc.
Eagle Rx, Inc.
Eastern Carolina Home Health Agency, LLC
Echo Primary Care Holdings, LLC
Edge Health MSO, Inc.
Elite Health Medical Centers, LLC
Elite Health Primary Care, LLC
Emphesys Insurance Company
Emphesys, Inc.
Enclara Pharmacia, Inc.
First Home Health, Inc.
Focus Care Health Resources, Inc.
FPG Acquisition Corp.
FPG Acquisition Holdings Corp.
FPG Holding Company, LLC
FPG Senior Services, LLC
GBA Holding, Inc.
GBA West, LLC
Georgia Hospice, LLC
Gilbert’s Home Health Agency, Inc.

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 77 of 159. PageID #: 645096




Go365, LLC
GuidantRx, Inc.
Harden Clinical Services, LLC
Harden HC Texas Holdco, LLC
Harden Healthcare Holdings, LLC
Harden Healthcare, LLC
Harden Home Health, LLC
Harden Hospice, LLC
Harris, Rothenberg International Inc.
Hawkeye Health Services, Inc.
Health Value Management, Inc.
Healthcare Planning of America, LLC
Healthfield Home Health, LLC
Healthfield of Southwest Georgia, LLC
Healthfield of Statesboro, LLC
Healthfield of Tennessee, LLC
Healthfield Operating Group, LLC
Healthfield, LLC
HHS Healthcare Corp.
Home Health Care Affiliates of Central Mississippi, L.L.C.
Home Health Care Affiliates of Mississippi, Inc.
Home Health Care Affiliates, Inc.
Home Health Care of Carteret County, LLC
Home Health of Rural Texas, Inc.
Home Health Services, Inc.
Homecare Holdings, Inc.
Horizon Health Care Services, Inc.
Hospice Pharmacy Solutions, LLC
HP Solutions Holdings, LLC
HUM Provider Holdings, LLC
Humana Active Outlook, Inc.
Humana At Home (Dallas), Inc.
Humana At Home (Houston), Inc.
Humana At Home (San Antonio), Inc.
Humana At Home (TLC), Inc.
Humana At Home 1, Inc.
Humana at Home, Inc.
Humana Benefit Plan of Illinois, Inc.
Humana Benefit Plan of South Carolina, Inc.
Humana Benefit Plan of Texas, Inc.
Humana Dental Company
Humana Digital Health and Analytics Platform Services, Inc.
Humana Direct Contracting Entity, Inc.
Humana Employers Health Plan of Georgia, Inc.
Humana Government Business, Inc.
Humana Health Benefit Plan of Louisiana, Inc.

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 78 of 159. PageID #: 645097




Humana Health Company of New York, Inc.
Humana Health Insurance Company of Florida, Inc.
Humana Health Plan of California, Inc.
Humana Health Plan of Ohio, Inc.
Humana Health Plan of Texas, Inc.
Humana Health Plan, Inc.
Humana Health Plans of Puerto Rico, Inc.
Humana Healthcare Research, Inc.
Humana Inc.
Humana Innovation Enterprises, Inc.
Humana Insurance Company
Humana Insurance Company of Kentucky
Humana Insurance Company of New York
Humana Insurance of Puerto Rico, Inc.
Humana Management Services of Puerto Rico, Inc.
Humana MarketPOINT of Puerto Rico, Inc.
Humana MarketPOINT, Inc.
Humana Medical Plan of Michigan, Inc.
Humana Medical Plan of Pennsylvania, Inc.
Humana Medical Plan of Utah, Inc.
Humana Medical Plan, Inc.
Humana Pharmacy Solutions, Inc.
Humana Real Estate Company
Humana Regional Health Plan, Inc.
Humana WellWorks LLC
Humana Wisconsin Health Organization Insurance Corporation
HumanaDental Insurance Company
HumanaDental, Inc.
Humco, Inc.
HUM-e-FL, Inc.
Hummingbird Coaching Systems LLC
Independent Care Health Plan
Innovative Financial Group Holdings, LLC
Innovative Financial Partners, LLC
Integracare Holdings, Inc.
Integracare Home Health Services, Inc.
Integracare Intermediate Holdings, Inc.
Integracare of Albany, LLC
Integracare of Athens-Home Health, LLC
Integracare of Olney Home Health, LLC
Integracare of Texas, LLC
Integracare of West Texas-Home Health, LLC
Integracare of Wichita Falls, LLC
KAH Development 10, L.L.C.
KAH Development 12, L.L.C.
KAH Development 14, L.L.C.

                                           4
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 79 of 159. PageID #: 645098




KAH Development 4, L.L.C.
Kentucky Homecare Holdings, Inc.
Kentucky Homecare Parent Inc.
KND Development 50, L.L.C.
Lighthouse Hospice - Metroplex, LLC
Lighthouse Hospice Management, LLC
Lighthouse Hospice-San Antonio, LLC
Managed Care Indemnity, Inc.
Med. Tech. Services of South Florida, Inc.
Medstar Home Health, LLC
Med-Tech Services of Dade, Inc.
Med-Tech Services of Palm Beach, Inc.
METCARE of Florida, Inc.
Metropolitan Health Networks, Inc.
Mid-South Home Health Agency, LLC
Mid-South Home Health of Gadsden, LLC
Mid-South Home Health, LLC
Missouri Home Care of Rolla, Inc.
M-SAC, Inc.
Nevada Independent Physicians, LLC
New York Healthcare Services, Inc.
North Region Providers, LLC
Nursing Care-Home Health Agency, Inc.
On the Way Home Care, Inc.
One Home Health Holdings CCTX, LLC
One Home Health Holdings, LLC
One Home Medical Equipment NC, LLC
One Home Medical Equipment TX, LLC
One Home Medical Equipment VA, LLC
One Home Medical Equipment, LLC
One Homecare Solutions, LLC
One Homecare Systems, LLC
One Infusion Pharmacy NC, LLC
One Infusion Pharmacy TX, LLC
One Infusion Pharmacy VA, LLC
One Infusion Pharmacy, LLC
One Nursing Care, LLC
One TPA Systems, Inc.
Outcome Resources,
Outreach Health Services of North Texas, LLC
PBM Holding Co.
PBM Plus Mail Service Pharmacy, LLC
PF Development 10, L.L.C.
PF Development 15, L.L.C.
PF Development 16, L.L.C.
PF Development 21, L.L.C.

                                               5
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 80 of 159. PageID #: 645099




PF Development 5, L.L.C.
PF Development 7, L.L.C.
PF Development 9, L.L.C.
Pharaoh JV, LLC
PHH Acquisition Corp.
PHHC Acquisition Corp.
PHP Companies, Inc.
Preferred Health Partnership, Inc.
Primary Care Holdings II, LLC
Prime Accountable Care West, LLC
Prime West JV Holdings, LLC
Professional Healthcare at Home, LLC
Professional Healthcare, LLC
QC-Medi New York, Inc.
Quality Care - USA, Inc.
Quality Living Home Health Care LLC
Rees Financial LLC
ROHC, L.L.C.
Senior Home Care, Inc.
SeniorBridge Family Companies (FL), Inc.
SeniorBridge Family Companies (NY), Inc.
SHC Holding, Inc.
South Florida Cardiology Associates, LLC
Southern Nevada Home Health Care, Inc.
Synergy Home Care-Acadiana Region, Inc.
Synergy Home Care-Capitol Region, Inc.
Synergy Home Care-Central Region, Inc.
Synergy Home Care-Northeastern Region, Inc.
Synergy Home Care-Northshore Region, Inc.
Synergy Home Care-Northwestern Region, Inc.
Synergy Home Care-Southeastern Region, Inc.
Synergy, Inc.
TAR Heel Health Care Services, LLC
Texas Dental Plans, Inc.
The Dental Concern, Inc.
The Lead Store LLC
Total Care Home Health of Louisburg, LLC
Total Care Home Health of North Carolina, LLC
Total Care Home Health of South Carolina, LLC
Transcend Population Health Management II, LLC
Trident Home Health, LLC
Trilogy Home Healthcare NE FL, Inc.
Trilogy Home Healthcare SW FL, Inc.
Trueshore BPO, LLC
Trueshore S.R. I.
Van Winkle Home Health Care, Inc.

                                           6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 81 of 159. PageID #: 645100




Vernon Home Health Care Agency, LLC
Versa Management LLC
Vitality HHS Holdings, Inc.
Vitality Home Care, Inc.
Voyager Acquisition, L.P.
Voyager Home Health, Inc.
Voyager Hospicecare, Inc.
Wake Forest Baptist Health Care at Home, LLC




                                           7
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 82 of 159. PageID #: 645101




                       Exhibit G - UnitedHealth Affiliates

1070715 B.C. Unlimited Liability Company
1st Avenue Pharmacy, Inc.
310 Canyon Medical, LLC
4C MSO LLC
5995 Minnetonka, LLC
A Better Way Therapy, L.L.C.
A+ Learning and Development Centers LLC
AAA Home Health, Inc.
Able Home Health, Inc. (Alabama)
Able Home Health, Inc. (Mississippi)
AbleTo, Inc.
Acadian Home Health Care Services, L.L.C.
Acadian HomeCare of New Iberia, LLC
Acadian HomeCare, L.L.C.
Acadian Physical Therapy Services, LLC
Access Hospice, LLC
Accurate Rx Pharmacy Consulting, LLC
AccuReg Holdings, LLC
ACHC ACO, LLC
ACN Group IPA of New York, Inc.
ACN Group of California, Inc.
ACO Clinical Partners, LLC
Administradora Clínica La Colina S.A.S.
Administradora Country S.A.S.
Administradora Médica Centromed S.A.
Adult Day Care of America, Inc.
Advanced Care House Calls of Alabama, LLC
Advanced Care House Calls of California, LLC
Advanced Care House Calls of Colorado, LLC
Advanced Care House Calls of Connecticut, LLC
Advanced Care House Calls of Florida, LLC
Advanced Care House Calls of Georgia, LLC
Advanced Care House Calls of Idaho, LLC
Advanced Care House Calls of Illinois, LLC
Advanced Care House Calls of Maryland, LLC
Advanced Care House Calls of Massachusetts, LLC
Advanced Care House Calls of Michigan, LLC
Advanced Care House Calls of Mississippi, LLC
Advanced Care House Calls of New Hampshire, LLC
Advanced Care House Calls of New Mexico, LLC
Advanced Care House Calls of Oregon, LLC
Advanced Care House Calls of Pennsylvania, LLC
Advanced Care House Calls of Rhode Island, LLC

                                          1
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 83 of 159. PageID #: 645102




Advanced Care House Calls of South Carolina, LLC
Advanced Care House Calls of Tennessee, LLC
Advanced Care House Calls of Texas, LLC
Advanced Care House Calls of Virginia, LLC
Advanced Care House Calls of Washington, LLC
Advanced Care House Calls of Wisconsin, LLC
Advanced Clinical Partners, LLC
Advanced Geriatric Education & Consulting, LLC
Advanced Surgery Center of Carlsbad, LLC
Advanced Surgery Center of Clifton, LLC
Advanced Surgical Center, LLC
Advanced Surgical Hospital, LLC
Advanced Therapy Associates, LLC
Advocate Condell Ambulatory Surgery Center, LLC
Advocate Southwest Ambulatory Surgery Center, L.L.C.
Advocate-SCA Partners, LLC
Aesthetic Plastic Surgery Institute of Louisville, LLC
AFAM Acquisition, LLC
AFAM Holding Co II, LLC
AFAM Holding Co III, LLC
AFAM Holding Co IV, LLC
AFAM Holding Co V, LLC
AFAM Holding Co, LLC
AFAM Sub I, LLC
AF-CH-HH, LLC
Affirmations Psychological Services, LLC
AHCG Management, LLC
AHN Central Services, LLC
AHN Target Holdings, LLC
AHP CHS Holdings LLC
Alabama Health Care Group, LLC
Alabama Homecare of Montgomery, LLC
Alabama Physical Therapy Services of Birmingham, LLC
Alaska Health Care Group, LLC
Aliansalud Entidad Promotora de Salud S.A.
All Savers Insurance Company
All Savers Life Insurance Company of California
Allina Health Surgery Center - Lakeville, LLC
Allina Health Surgery Center - Vadnais Heights, LLC
Almost Family ACO Services of Kentucky, LLC
Almost Family ACO Services of South Florida, LLC
Almost Family ACO Services of Tennessee, LLC
Almost Family PC of Ft. Lauderdale, LLC
Almost Family PC of Kentucky, LLC
Almost Family PC of SW Florida, LLC
Almost Family PC of West Palm, LLC

                                            2
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 84 of 159. PageID #: 645103




Almost Family Personal Care, LLC
Almost Family, Inc.
Aloha Surgical Center, LLC
Altus Hospice of Georgia, LLC
Ambient Healthcare, Inc.
Ambient Holdings, Inc.
Ambulatory Center for Endoscopy, L.L.C.
Ambulatory Partner Holdings, LLC
American Health Network of Indiana II, LLC
American Health Network of Kentucky, LLC
American Health Network of Ohio Care Organization, LLC
American Health Network of Ohio II, LLC
American Health Network of Ohio, LLC
AmeriChoice Corporation
AmeriChoice of New Jersey, Inc.
AMG Health, LLC
Amigo Family Counseling, LLC
Análisis Clínicos ML S.A.C.
Antelope Valley Surgery Center, L.P.
Apex Clinical Partners, LLC
Apothecary Holdings, Inc.
AppleCare Medical Management, LLC
Aquitania Chilean Holding SpA
Arcadia JV Holdings, LLC
ArchWell Health Medical Holdings, LLC
ArchWell Health Medical of Florida, LLC
ArchWell Health MSO, LLC
ArchWell Health, LLC
Arise Physician Group
Arizona Health Care Group, LLC
Arizona In-Home Healthcare Partnership-I, LLC
Arizona In-Home Healthcare Partnership-II, LLC
Arizona In-Home Healthcare Partnership-III, LLC
Arizona In-Home Partner-I, LLC
Arizona In-Home Partner-II, LLC
Arizona In-Home Partner-III, LLC
Arizona Physical Therapy Services of Cottonwood, LLC
Arizona Physical Therapy Services of Mesa, LLC
Arizona Physical Therapy Services of Phoenix, LLC
Arizona Physical Therapy Services of Scottsdale, LLC
Arizona Physicians IPA, Inc.
Arkansas Extended Care, LLC
Arkansas Health Care Group, LLC
Arkansas Healthcare Partners, LLC
Arkansas Home Health Providers-III, LLC
Arkansas Home Health Providers-IV, LLC

                                           3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 85 of 159. PageID #: 645104




Arkansas Home Hospice, LLC
Arkansas HomeCare of Forrest City, LLC
Arkansas HomeCare of Fulton, LLC
Arkansas HomeCare of Hot Springs, LLC
Arkansas In-Home Healthcare Partnership-I, LLC
Arkansas In-Home Healthcare Partnership-II, LLC
Arkansas In-Home Partner-I, LLC
Arkansas In-Home Partner-II, LLC
Arkansas Nursing Providers, LLC
Arkansas Physical Therapy Services of Conway, LLC
Arkansas Physical Therapy Services of Rogers, LLC
Arusha LLC
ASC Computer Software (NZ) Limited
ASC Computer Software Pty. Ltd.
ASC Holdings of New Jersey, LLC
ASC Network, LLC
Ascribe Limited
Ascribe Limited
Assisted Care by Black Stone of Central Ohio, LLC
Assisted Care by Black Stone of Cincinnati, LLC
Assisted Care by Black Stone of Dayton, LLC
Assisted Care by Black Stone of Northwest Ohio, LLC
Assisted Care by Black Stone of Toledo, LLC
Assured Capital Partners, Inc.
ASV-HOPCo-SCA Cornerstone, LLC
Athens-Limestone HomeCare, LLC
Atlanta Outpatient Surgery Center, Inc.
Atlanta Surgery Center, Ltd. (L.P.)
Atlantic Gastro Surgicenter, LLC
Atlantic Homeaid, Inc.
Atlantic Homecare, Inc.
Atrius MSO, LLC
Augusta Home Care Services, LLC
Aventura Medical Tower Surgery Center, LLC
Avery Parent Holdings, Inc.
Aveta Inc.
AxelaCare Intermediate Holdings, LLC
AxelaCare, LLC
Banmédica Colombia S.A.S.
Banmédica Internacional SpA
Banmédica S.A.
Baton Rouge HomeCare, L.L.C.
Bayfront HMA Home Health LLC
Beach Surgical Holdings III, LLC
Beauregard Memorial Hospital HomeCare, L.L.C.
Behavioral Healthcare Options, Inc.

                                            4
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 86 of 159. PageID #: 645105




Beltway Surgery Centers, L.L.C.
Benefit Administration for the Self Employed, L.L.C.
Benefitter Insurance Solutions, Inc.
Berwick Home Care Services, LLC
BGR Acquisition, LLC
BHC Services, Inc.
Bind Benefits, Inc.
Birmingham Home Care Services, LLC
Birmingham Outpatient Surgical Center, LLC
Black Stone of Central Ohio, LLC
Black Stone of Cincinnati, LLC
Black Stone of Dayton, LLC
Black Stone of Northeast Ohio, LLC
Black Stone of Northwest Ohio, LLC
Black Stone Operations, LLC
Blackstone Group, LLC
Blackstone Health Care, LLC
Bloomfield ASC, LLC
Blue Island Home Care Services, LLC
Blue Ridge GP, LLC
Bluegrass Accountable Care, LLC
Body Image Therapy Center Intensive LLC
Boone Memorial HomeCare, LLC
Bordeaux (Barbados) Holdings I, SRL
Bordeaux (Barbados) Holdings II, SRL
Bordeaux Holding SpA
Bordeaux Holdings, LLC
Bordeaux International Financing, Inc.
Bordeaux International Holdings, Inc.
Bordeaux UK Holdings I Limited
Bordeaux UK Holdings II Limited
Bordeaux UK Holdings III Limited
Bracor, Inc.
Brevard HMA Home Health, LLC
Brevard HMA Hospice, LLC
Brighter Financial, Inc.
BriovaRx Infusion Services 102, LLC
BriovaRx of Florida, Inc.
BriovaRx of Maine, Inc.
BriovaRx of Massachusetts, LLC
Brookdale Hospice of Philadelphia, LLC
California Health Care Group, LLC
California Medical Group Insurance Company, Risk Retention Group
Cambridge Home Health Care Holdings, Inc.
Cambridge Home Health Care, Inc.
Cambridge Home Health Care, Inc./Private

                                            5
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 87 of 159. PageID #: 645106




Cambridge Personal Care, LLC
Camden HomeCare, LLC
Camp Hill-SCA Centers, LLC
Cape Fear Valley HomeCare and Hospice, LLC
Capital City Medical Group, L.L.C.
Capstone Behavioral Health, Inc.
Care Advisors by Black Stone, LLC
Care Improvement Plus of Texas Insurance Company
Care Improvement Plus South Central Insurance Company
Care Improvement Plus Wisconsin Insurance Company
Care Logistics, LLC
CareMount Dental Member, LLC
CareMount Health Solutions, LLC
CareMount Value Partners IPA, LLC
Caretenders of Cleveland, Inc.
Caretenders of Columbus, Inc.
Caretenders of Jacksonville, LLC
Caretenders Visiting Services Employment Company, Inc.
Caretenders Visiting Services of District 6, LLC
Caretenders Visiting Services of District 7, LLC
Caretenders Visiting Services of Gainesville, LLC
Caretenders Visiting Services of Hernando County, LLC
Caretenders Visiting Services of Kentuckiana, LLC
Caretenders Visiting Services of Ocala, LLC
Caretenders Visiting Services of Orlando, LLC
Caretenders Visiting Services of Pinellas County, LLC
Caretenders Visiting Services of Southern Illinois, LLC
Caretenders Visiting Services of St. Augustine, LLC
Caretenders Visiting Services of St. Louis, LLC
Caretenders VNA of Ohio, LLC
Caretenders VS of Boston, LLC
Caretenders VS of Central KY, LLC
Caretenders VS of Lincoln Trail, LLC
Caretenders VS of Louisville, LLC
Caretenders VS of Ohio, LLC
Caretenders VS of SE Ohio, LLC
Caretenders VS of Western KY, LLC
Castle Rock SurgiCenter, LLC
Catalyst360, LLC
Catamaran S.á.r.l.
CDC Holdings Colombia S.A.S.
Cedar Creek Home Health Care Agency, LLC
Center for Quality Improvement, LLC
Central Florida Partnership, LLC
Central Jersey Ambulatory Surgical Center, L.L.C.
Centre Home Care LLC

                                            6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 88 of 159. PageID #: 645107




CentrifyHealth, LLC
Centro de Entrenamiento Capacitación en Reanimación SpA
Centro de Servicios Compartidos Banmédica SpA
Centro Odontológico Americano S.A.C.
Centromed Quilpué S.A.
Centros Médicos y Dentales Multimed Ltda.
Centurion Casualty Company
Chalfont HoldCo, LLC
Change Encircle, LLC
Change Healthcare Advocates, LLC
Change Healthcare Business Fulfillment, LLC
Change Healthcare Canada Company
Change Healthcare Communications, LLC
Change Healthcare Correspondence Services, Inc.
Change Healthcare Engagement Solutions, Inc.
Change Healthcare eRx Canada, Inc.
Change Healthcare Finance, Inc.
Change Healthcare HealthQx, LLC
Change Healthcare Holdco Inc.
Change Healthcare Holdings, Inc.
Change Healthcare Holdings, LLC
Change Healthcare Imaging Australia Pty Limited
Change Healthcare Inc.
Change Healthcare Intermediate Holdings, Inc.
Change Healthcare Intermediate Holdings, LLC
Change Healthcare Ireland Limited
Change Healthcare Ireland Solutions Limited
Change Healthcare LLC
Change Healthcare Operations, LLC
Change Healthcare Payer Payment Integrity, LLC
Change Healthcare Performance, Inc.
Change Healthcare Pharmacy Solutions, Inc.
Change Healthcare Philippines, Inc.
Change Healthcare Practice Management Solutions Group, Inc.
Change Healthcare Practice Management Solutions Investments, Inc.
Change Healthcare Practice Management Solutions, Inc.
Change Healthcare Puerto Rico, LLC
Change Healthcare Resources Holdings, Inc.
Change Healthcare Resources IPA, LLC
Change Healthcare Resources LLC
Change Healthcare Solutions, LLC
Change Healthcare Technologies, LLC
Change Healthcare Technology Enabled Services, LLC
Change Healthcare UK Holdings Limited
Channel Islands Surgicenter Properties, LLC
Charlotte-SC, LLC

                                             7
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 89 of 159. PageID #: 645108




Chester River Home Care & Hospice, LLC
Chesterfield Visiting Nurses Service, Inc.
Citrus Regional Surgery Center, L.P.
Claims Management Systems, Inc.
Clarksville Home Care Services, LLC
Clay County Hospital Home Care, LLC
Clear Health Strategies, LLC
Cleveland Home Care Services, LLC
Clínica Alameda SpA
Clínica Bío Bío SpA
Clínica Ciudad del Mar S.A.
Clínica Dávila y Servicios Médicos S.p.A.
Clínica San Felipe S.A.
Clínica Sánchez Ferrer S.A.
Clínica Santa María S.p.A.
Clínica Vespucio S.A.
Clinical Partners of Colorado Springs, LLC
Clinton Home Health & Hospice, LLC
CMC Home Health and Hospice, LLC
Coalition for Advanced Pharmacy Services, Inc.
Coastal Counseling Center, Inc.
Cobranzas Banmédica SpA
Collaborative Care Holdings, LLC
Collaborative Care Services, Inc.
Collaborative Realty, LLC
Colmedica Medicina Prepagada S.A.
Colonial Outpatient Surgery Center, LLC
Colonial Practice Management, LLC
Colorado Clinical Partners, LLC
Colorado Health Care Group, LLC
Colorado In-Home Healthcare Partnership-I, LLC
Colorado In-Home Partner-I, LLC
Colorado Innovative Physician Solutions, Inc.
Colorado Springs Surgery Center, Ltd.
Comfort Care Transportation, LLC
Commonwealth Clinical Partners, LLC
Compassionate Healthcare Management Group, Inc.
Compassionate Hospice of Georgia, Inc.
Connecticut Health Care Group Holdings, LLC
Connecticut Home Health Care, Incorporated
Connecticut Surgery Center, Limited Partnership
Connecticut Surgery Properties, LLC
Connecticut Surgical Center, LLC
ConnectYourCare, Inc.
ConnectYourCare, LLC
Constructora Inmobiliaria Magapoq S.A.

                                           8
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 90 of 159. PageID #: 645109




Consumer Wellness Solutions, LLC
Coosa Valley HomeCare, LLC
Cornerstone Palliative and Hospice LLC
Cornerstone Surgery Center, LLC
Country Scan Ltda.
Covenant Palliative and Hospice, LLC
Crossroads Home Care Services, LLC
Cruise DE, Inc.
Crystal Run Ambulatory Surgery Center of Middletown, LLC
Crystal Run Healthcare ACO, LLC
Crystal Run Transformation Services, LLC
CTVSA Holdings, LLC
CTVSA Management, LLC
Cypress Care, Inc.
Dallas County Medical Center HomeCare, L.L.C.
Database Solutions II, LLC
Daybreak Real Estate, LLC
Day-Op Surgery Consulting Company, LLC
DBP Services of New York IPA, Inc.
Delaware Health Care Group, LLC
Delaware Surgery Center, LLC
Deming Home Care Services, LLC
Dental Benefit Providers of California, Inc.
Dental Benefit Providers, Inc.
Derry Surgical Center, LLC
Diagnóstico Ecotomográfico Centromed Ltda.
Diasnóstico por Imágenes Centromed Ltda.
Digestive Health Specialists Endoscopy Center - Arizona, LLC
Diplomat Blocker, LLC
Diplomat Corporate Properties, LLC
Diplomat Pharmacy, Inc.
Discovery Counseling & Consulting, LLC
Distance Learning Network, Inc.
divvyMED, LLC
DocASAP US, LLC
DocASAP, Inc.
Doctor + S.A.C.
Dovetail Digital Limited
Dry Creek Surgery Center, LLC
DSP Flint Real Estate, LLC
DSP-Building C, LLC
DTC Surgery Center, LLC
DWIC of Tampa Bay, Inc.
E Street Endoscopy, LLC
Ear Professionals International Corporation
East Alabama Medical Center HomeCare, LLC

                                             9
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 91 of 159. PageID #: 645110




East Arkansas Health Holdings, LLC
East Brunswick Surgery Center, LLC
East Side Endoscopy, L.L.C.
Eastern Georgia Partnership, LLC
ECBC General Partner, LLC
eCode Solutions, LLC
Edelson and Associates, Inc.
Edenbridge Healthcare Limited
Egan Health Care Corporation
Egan Healthcare of Northshore, Inc.
Egan Healthcare of Plaquemines, Inc.
Egan Hospice Services of the Northshore, LLC
Egton Limited
Egton Medical Information Systems Limited
EH-SCA Holdings, LLC
El Dorado Home Care Services, LLC
Electronic Network Systems, Inc.
Elite Physical Therapy Services, LLC
Elk Valley Health Services, LLC
Elk Valley Home Health Care Agency, LLC
Elk Valley Professional Affiliates, Inc.
EM Orange Tree LLC
Emerald Coast Surgery Center, L.P.
EMIS Care Limited
EMIS Group Limited
EMIS Health Community Pharmacy Limited
EMIS Health India Private Limited
EMIS Health Limited
EMIS Health Primary Care Limited
EMIS Health Secondary Care Limited
EMIS Health Specialist Care Limited
Emisar Pharma Services LLC
Emporia Home Care Services, LLC
Empremédica S. A.
Endo Parent, Inc.
Endoscopy Associates of Valley Forge, LLC
Endoscopy Center Affiliates, Inc.
Endoscopy Center of Bucks County, LP
Enterprise Life Insurance Company
EP Campus I, LLC
EPIC Health Plan
EPIC Management Services, LLC
Episource LLC
Equian Parent Corp.
Equian, LLC
eRx Network Holdings, Inc.

                                               10
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 92 of 159. PageID #: 645111




eRx Network, LLC
Eureka Springs Hospital HomeCare, LLC
Eureka Springs Hospital Hospice, LLC
Everett MSO, Inc.
Excel MSO, LLC
Excelsior Insurance Brokerage, Inc.
Executive Health Resources, Inc.
Executive Surgery Center, L.L.C.
Eye Specialists Surgery Centers LLC
Fairhaven Holdings, LLC
Fairhaven Real Estate, LLC
Family Health Care Services
Family Home Hospice, Inc.
Fayette Medical Center HomeCare, LLC
Feliciana Physical Therapy Services, LLC
First Family Insurance, LLC
First Risk Advisors, Inc.
FirstCall Health Services, Inc.
Florence Home Care Services, LLC
Florence Visiting Nurses Service, Inc.
Florida Physical Therapy Services of Fort Myers, LLC
Florida Physical Therapy Services of Gainesville, LLC
Florida Physical Therapy Services of Miramar, LLC
Florida Physical Therapy Services of Ocala, LLC
Florida Physical Therapy Services of Orlando, LLC
Florida Physical Therapy Services of Ormond Beach, LLC
Florida Physical Therapy Services of Panama City, LLC
Florida Physical Therapy Services of Pensacola, LLC
Florida Physical Therapy Services of Sarasota II, LLC
Florida Physical Therapy Services of Sarasota, LLC
Florida Physical Therapy Services of Sun City, LLC
Floyd HomeCare, LLC
FMG Holdings, LLC
Footman Walker Associates Limited
For Health of Arizona, Inc.
For Health, Inc.
Fort Payne Home Care, LLC
Fort Smith HMA Home Health, LLC
FourteenFish Limited
Franklin Home Care Services, LLC
Franklin Surgical Center LLC
Freedom Data Systems, Inc.
Freedom Life Insurance Company of America
Freeway Surgicenter of Houston, LLC
Frontier Healthcare Billing Services LLC
Frontier Healthcare Management Services, LLC

                                           11
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 93 of 159. PageID #: 645112




Frontier Medex Tanzania Limited
FrontierMEDEX Kenya Limited
FrontierMEDEX US, Inc.
FrontierMEDEX, Inc.
Fulton Home Care Services, LLC
Fundación Banmédica
Gadsden Home Care Services, LLC
Galesburg Home Care, LLC
Gamma Acquisition Inc.
GANJ GI Management, LLC
Genoa Healthcare LLC
Genoa Healthcare, Inc.
Genoa of Arkansas, LLC
Genoa Telepsychiatry, Inc.
Genoa, QoL Wholesale, LLC
Georgia Health Care Group, L.L.C.
Georgia HomeCare of Harris, LLC
Gericare, LLC
gethealthinsurance.com Agency Inc.
Gladiolus Surgery Center, L.L.C.
Glenwood Surgical Center, L.P.
Glenwood-SC, Inc.
Global One Ventures, LLC
Global Traveler Organization (Cayman) SPC Limited
Golden Outlook, Inc.
Golden Rule Financial Corporation
Golden Rule Insurance Company
Golden Triangle Surgicenter, L.P.
Grace Hospice, LLC
Granite City Home Care Services, LLC
Grant Memorial HomeCare and Hospice, LLC
Grants Pass Surgery Center, LLC
Grove Place Surgery Center, L.L.C.
GSHS Home Health, LLC
Gulf Homecare, Inc.
H&W Indemnity (SPC), Ltd.
H.I. Investments Holding Company, LLC
Halcyon Healthcare, LLC
Halcyon Hospice of Aiken, LLC
Harken Health Insurance Company
Hattiesburg Home Care Services, LLC
Hays Surgery Center, LLC
HCAT Acquisition Inc.
hCentive, Inc.
HCI Acquisition Corp.
HCP ACO California, LLC

                                           12
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 94 of 159. PageID #: 645113




Health at Home - Seattle Metro, LLC
Health at Home - Sonoma, LLC
Health at Home Holdings - Alabama, LLC
Health at Home Holdings - Albuquerque, LLC
Health at Home Holdings - Arizona, LLC
Health at Home Holdings - Boston, LLC
Health at Home Holdings - Charlotte, LLC
Health at Home Holdings - Chicago, LLC
Health at Home Holdings - Detroit, LLC
Health at Home Holdings - Durham, LLC
Health at Home Holdings - Edmond, LLC
Health at Home Holdings - High Point, LLC
Health at Home Holdings - Indianapolis, LLC
Health at Home Holdings - Ohio, LLC
Health at Home Holdings - Philadelphia, LLC
Health at Home Holdings - Portland, LLC
Health at Home Holdings - Seattle Metro, LLC
Health at Home Holdings - Sonoma, LLC
Health at Home Holdings - St. Louis, LLC
Health at Home Holdings - Tulsa, LLC
Health at Home Holdings, LLC
Health at Home Hospice - Chicago, LLC
Health at Home Hospice - Cleveland, LLC
Health at Home Hospice - Columbus, LLC
Health at Home Hospice - Dayton, LLC
Health at Home Hospice - Detroit, LLC
Health at Home Hospice - Indianapolis, LLC
Health at Home Hospice - Minnesota, LLC
Health at Home Hospice - Phoenix, LLC
Health at Home Hospice - Portland, LLC
Health at Home Hospice - Sacramento, LLC
Health at Home Therapy - Atlanta, LLC
Health at Home Therapy - Greenville, LLC
Health at Home Therapy - Knoxville, LLC
Health at Home Therapy - New Jersey, LLC
Health Care-ONE Insurance Agency, Inc.
Health Inventures Employment Solutions, LLC
Health Inventures, LLC
Health Payroll Services, LLC
Health Plan of Nevada, Inc.
Healthcare Associates of Irving PLLC
Healthcare Associates of Texas LLC
Healthcare Gateway Limited
HealthCare Partners ASC-LB, LLC
HealthCare Partners Management Services California, LLC
HealthCare Partners RE, LLC

                                           13
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 95 of 159. PageID #: 645114




Healthcare Solutions, Inc.
Healthgrades Marketplace, LLC
Healthline Group, LLC
Healthline Holdings, LLC
Healthline Intermediate Holdings, LLC
Healthline Media UK Limited
Healthline Media, LLC
Healthline UK Holdings Limited
HealthMarkets Group, Inc.
HealthMarkets Insurance Agency, Inc.
HealthMarkets Services, Inc.
HealthMarkets, Inc.
HealthMarkets, LLC
Healthplex Dental Services, Inc.
Healthplex I.P.A., Inc.
Healthplex Insurance Company
Healthplex of CT, Inc.
Healthplex of NJ, Inc.
Healthplex, Inc.
HealthSCOPE Benefits, Inc.
HealthSCOPE Holdings, Inc.
HealthSmart Benefit Solutions, Inc.
HealthSmart Benefits Management, LLC
HealthSmart Care Management Solutions, L.P.
HealthSmart Information Systems, Inc.
HealthSmart Preferred Care II, L.P.
HealthSmart Preferred Network II, Inc.
HealthSmart Primary Care Clinics, LP
HealthSmart Rx Solutions, Inc.
Heart ‘n Home Hospice and Palliative Care, LLC
Heart of Hospice, LLC
Heartland Heart and Vascular, LLC
Helena Home Care Services LLC
Help Seguros de Vida S.A.
Help Service S.A.
Help SpA
HGA HomeCare, LLC
HHA of Wisconsin, LLC
Highlands Ranch Healthcare, LLC
HL Greatist, LLC
HMC Home Health, LLC
HNH Birdie One, LLC
Home Care Connections, Inc.
Home Care Plus, Inc.
Home Health Agency - Central Pennsylvania, LLC
Home Health Agency - Collier, LLC

                                          14
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 96 of 159. PageID #: 645115




Home Health Agency - Hillsborough, LLC
Home Health Agency - Indiana, LLC
Home Health Agency - Pennsylvania, LLC
Home Health Agency - Philadelphia, LLC
Home Health Agency - Pinellas, LLC
Home Health Care by Black Stone of Central Ohio, LLC
Home Health Care by Black Stone of Cincinnati, LLC
Home Health Care by Black Stone of Dayton, LLC
Home Health Care by Black Stone of Northwest Ohio, LLC
Home Health of Jefferson Co, LLC
Home Medical S.A.
HomeCall, LLC
Honodav SpA
Hood Home Health Service, L.L.C.
Hospice of Central Arkansas, LLC
Housecalls Home Health and Hospice, LLC
Humedica, Inc.
Hygeia Corporation
Hygeia Corporation (Ontario)
Idaho Health Care Group, LLC
Idaho In-Home Healthcare Partnership-I, LLC
Idaho In-Home Partner-I, LLC
IHD Holdings, LLC
Illinois Health Care Group, LLC
Illinois Home Care Holdings, LLC
Illinois Home Health Care, LLC
Illinois Independent Care Network, LLC
Illinois LIV, LLC
Impel Consulting Experts, L.L.C.
Impel Management Services, L.L.C.
Imperial Point Surgery Center, LLC
Imperium Clinical Partner III, LLC
Imperium Clinical Partners II, LLC
Imperium Clinical Partners, LLC
Imperium Health Management, LLC
IN HomeCare Network Central, LLC
IN Homecare Network North, LLC
Indiana Care Organization, LLC
Indiana Health Care Group, LLC
Infirmary Home Health Agency, Inc.
Ingenios Health Co.
Ingenios Health Holdings, Inc.
In-Home Healthcare Partnership II, LLC
In-Home Healthcare Partnership of Texas-I, LLC
In-Home Healthcare Partnership, LLC
In-Home Partner of Texas-I, LLC

                                          15
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 97 of 159. PageID #: 645116




Inland Surgery Center, L.P.
Inmobiliaria Apoquindo 3001 S.A.
Inmobiliaria Apoquindo 3600 Ltda.
Inmobiliaria Apoquindo S.A.
Inmobiliaria Clínica Santa María S.A.
Inmobiliaria e Inversiones Alameda S.A.
Inmobiliaria e Inversiones Nueva Apoquindo SpA
Inmobiliaria Viñamed Ltda.
Innovative Senior Care Home Health of Alabama, LLC
Innovative Senior Care Home Health of Albuquerque, LLC
Innovative Senior Care Home Health of Boston, LLC
Innovative Senior Care Home Health of Charlotte, LLC
Innovative Senior Care Home Health of Chicago, LLC
Innovative Senior Care Home Health of Detroit, LLC
Innovative Senior Care Home Health of Durham, LLC
Innovative Senior Care Home Health of Edmond, LLC
Innovative Senior Care Home Health of Hartford, LLC
Innovative Senior Care Home Health of High Point, LLC
Innovative Senior Care Home Health of Indianapolis, LLC
Innovative Senior Care Home Health of Minneapolis, LLC
Innovative Senior Care Home Health of Ohio, LLC
Innovative Senior Care Home Health of Philadelphia, LLC
Innovative Senior Care Home Health of Portland, LLC
Innovative Senior Care Home Health of Rhode Island, LLC
Innovative Senior Care Home Health of St. Louis, LLC
Innovative Senior Care Home Health of Tulsa, LLC
INOV8 Surgical at Memorial City, LLC
inPharmative, Inc.
INSPIRIS of Texas Physician Group
Inspiris, Inc.
Integrated Behavioral Health, LLC
Integrity Clinical Partners, LLC
Inter-Hospital Physicians Association, Inc.
International Healthcare Services, Inc.
Inverclinco S.A.S.
Inversiones Clínicas Santa María SpA
IPN Optum Care Network, LLC
Isapre Banmédica S.A.
ISCHH of Minneapolis Holdings, LLC
Jackson County Home Health, LLC
Jackson Home Care Services, LLC
Jacksonville Ambulatory Surgery Center, LLC
Jefferson Regional HomeCare, LLC
Jordan Ridge Family Medicine, LLC
Jourdanton Home Care Services, LLC
Joyable, Inc.

                                           16
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 98 of 159. PageID #: 645117




Kalamazoo Endo Center, LLC
Kambros, LLC
KelseyCare Administrators LLC
Kentuckiana Clinical Partners, LLC
Kentucky Accountable Care, LLC
Kentucky Clinical Partners, LLC
Kentucky Health Care Group, LLC
Kentucky Home Health Care, LLC
Kentucky HomeCare of Henderson, LLC
Kentucky In-Home Healthcare Partnership-I, LLC
Kentucky In-Home Healthcare Partnership-II, LLC
Kentucky In-Home Partner-I, LLC
Kentucky In-Home Partner-II, LLC
Kentucky LV, LLC
Kentucky Physical Therapy Services at Richmond Place, LLC
Kentucky Physical Therapy Services of Lexington, LLC
Key West HHA, LLC
Key West PD, LLC
Keystone Healthcare Partnership, LLC
Kirksville Home Care Services, LLC
Knoxville Home Care Services, LLC
KS Management Services, L.L.C.
KS Plan Administrators, LLC
KSMS Holdings, LLC
KSMS Intermediate Holdings I, LLC
KSMS Intermediate Holdings II, LLC
La Esperanza del Perú S.A.
La Porte Home Care Services, LLC
Laboratorio ROE S.A.
Laboratorios Médicos Amed Quilpué S.A.
Lakeland Home Care Services, LLC
Lancaster Home Care Services, LLC
Landmark Group Holdings, LLC
Landmark Health NY IPA, LLC
Landmark Health NY PO, LLC
Landmark Health of California, LLC
Landmark Health of Massachusetts, LLC
Landmark Health of North Carolina, LLC
Landmark Health of Oregon, LLC
Landmark Health of Pennsylvania, LLC
Landmark Health of Washington, LLC
Landmark Health Technologies Private Limited
Landmark Health, LLC
Landmark India, LLC
Landmark MSO, LLC
Landmark Primary Care, LLC

                                           17
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 99 of 159. PageID #: 645118




Laser Acquisition Holdings III, LLC
LDI Holding Company, LLC
Leaf River Home Health Care, LLC
Leehar Distributors, LLC
Level2 Health Holdings, Inc.
Level2 Health IPA, LLC
Level2 Health Management, LLC
LHC California Home Health I, LLC
LHC Group Health Clinic, LLC
LHC Group Pharmaceutical Services II, LLC
LHC Group Pharmaceutical Services III, LLC
LHC Group Pharmaceutical Services, L.L.C.
LHC Group Recruiting & Training Center, LLC
LHC Group, Inc.
LHC Health Care Group of Florida, LLC
LHC Home Health Care Group of Michigan, LLC
LHC HomeCare - Lifeline, LLC
LHC HomeCare of Tennessee, LLC
LHC HomeCare of West Virginia, LLC
LHC Loveland Home Health I, LLC
LHC Physician Services of West Virginia, LLC
LHC Physician Services, LLC
LHC Real Estate I, LLC
LHC Real Estate II, LLC
LHCG C, LLC
LHCG CCI, LLC
LHCG CCII, LLC
LHCG CCIII, LLC
LHCG CCIV, LLC
LHCG CCIX, LLC
LHCG CCV, LLC
LHCG CCVI, LLC
LHCG CCVII, LLC
LHCG CCVIII, LLC
LHCG CCX, LLC
LHCG CCXI, LLC
LHCG CCXII, LLC
LHCG CCXIII, LLC
LHCG CCXIV, LLC
LHCG CCXV, LLC
LHCG CCXVI, LLC
LHCG CCXVII, LLC
LHCG CCXVIII, LLC
LHCG CCXX, LLC
LHCG CCXXI, LLC
LHCG CCXXII, LLC

                                         18
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 100 of 159. PageID #: 645119




 LHCG CCXXIV, LLC
 LHCG CCXXV, LLC
 LHCG CCXXVI, LLC
 LHCG CCXXVII, LLC
 LHCG CCXXVIII, LLC
 LHCG CCXXX, LLC
 LHCG CCXXXI, LLC
 LHCG CCXXXIII, LLC
 LHCG CCXXXIV, LLC
 LHCG CCXXXV, LLC
 LHCG CII, LLC
 LHCG CIV, LLC
 LHCG CIX, LLC
 LHCG CL, LLC
 LHCG CLI, LLC
 LHCG CLII, LLC
 LHCG CLIII, LLC
 LHCG CLIV, LLC
 LHCG CLIX, LLC
 LHCG CLV, LLC
 LHCG CLVI, LLC
 LHCG CLVII, LLC
 LHCG CLVIII, LLC
 LHCG CLX, LLC
 LHCG CLXI, LLC
 LHCG CLXII, LLC
 LHCG CLXIII, LLC
 LHCG CLXIV, LLC
 LHCG CLXIX, LLC
 LHCG CLXV, LLC
 LHCG CLXVI, LLC
 LHCG CLXVII, LLC
 LHCG CLXVIII, LLC
 LHCG CLXX, LLC
 LHCG CLXXI, LLC
 LHCG CLXXII, LLC
 LHCG CLXXIII, LLC
 LHCG CLXXIV, LLC
 LHCG CLXXIX, LLC
 LHCG CLXXV, LLC
 LHCG CLXXVI, LLC
 LHCG CLXXVII, LLC
 LHCG CLXXVIII, LLC
 LHCG CLXXX, LLC
 LHCG CLXXXI, LLC
 LHCG CLXXXII, LLC

                                       19
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 101 of 159. PageID #: 645120




 LHCG CLXXXIII, LLC
 LHCG CLXXXIX, LLC
 LHCG CLXXXV, LLC
 LHCG CLXXXVI, LLC
 LHCG CLXXXVII, LLC
 LHCG CLXXXVIII, LLC
 LHCG CV, LLC
 LHCG CVI, LLC
 LHCG CVII, LLC
 LHCG CVIII, LLC
 LHCG CX, LLC
 LHCG CXC, LLC
 LHCG CXCI, LLC
 LHCG CXCII, LLC
 LHCG CXCIII, LLC
 LHCG CXCIV, LLC
 LHCG CXCIX, LLC
 LHCG CXCV, LLC
 LHCG CXCVI, LLC
 LHCG CXCVII, LLC
 LHCG CXCVIII, LLC
 LHCG CXI, LLC
 LHCG CXII, LLC
 LHCG CXIII, LLC
 LHCG CXIV, LLC
 LHCG CXIX, LLC
 LHCG CXL, LLC
 LHCG CXLI, LLC
 LHCG CXLII, LLC
 LHCG CXLIII, LLC
 LHCG CXLIV, LLC
 LHCG CXLIX, LLC
 LHCG CXLV, LLC
 LHCG CXLVI, LLC
 LHCG CXLVII, LLC
 LHCG CXLVIII, LLC
 LHCG CXV, LLC
 LHCG CXVI, LLC
 LHCG CXVII, LLC
 LHCG CXVIII, LLC
 LHCG CXX, LLC
 LHCG CXXI, LLC
 LHCG CXXII, LLC
 LHCG CXXIII, LLC
 LHCG CXXIV, LLC
 LHCG CXXV, LLC

                                       20
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 102 of 159. PageID #: 645121




 LHCG CXXVI, LLC
 LHCG CXXVII, LLC
 LHCG CXXVIII, LLC
 LHCG CXXX, LLC
 LHCG CXXXI, LLC
 LHCG CXXXII, LLC
 LHCG CXXXIII, LLC
 LHCG CXXXIV, LLC
 LHCG CXXXIX, LLC
 LHCG CXXXV, LLC
 LHCG CXXXVI, LLC
 LHCG CXXXVII, LLC
 LHCG CXXXVIII, LLC
 LHCG CXXXX, LLC
 LHCG CXXXXI, LLC
 LHCG CXXXXII, LLC
 LHCG CXXXXIII, LLC
 LHCG CXXXXIV, LLC
 LHCG CXXXXV, LLC
 LHCG CXXXXVI, LLC
 LHCG L, LLC
 LHCG LI, LLC
 LHCG LII, LLC
 LHCG LIX, LLC
 LHCG LVI, LLC
 LHCG LVII, LLC
 LHCG LVIII, LLC
 LHCG LX, LLC
 LHCG LXII, LLC
 LHCG LXIII, LLC
 LHCG LXIV, LLC
 LHCG LXIX, LLC
 LHCG LXV, LLC
 LHCG LXVII, LLC
 LHCG LXVIII, LLC
 LHCG LXX, LLC
 LHCG LXXI, LLC
 LHCG LXXII, LLC
 LHCG LXXIII, LLC
 LHCG LXXIV, LLC
 LHCG LXXIX, LLC
 LHCG LXXV, LLC
 LHCG LXXVI, LLC
 LHCG LXXVII, LLC
 LHCG LXXVIII, LLC
 LHCG LXXX, LLC

                                       21
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 103 of 159. PageID #: 645122




 LHCG LXXXI, LLC
 LHCG LXXXII, LLC
 LHCG LXXXIII, LLC
 LHCG LXXXIV, LLC
 LHCG LXXXIX, LLC
 LHCG LXXXV, LLC
 LHCG LXXXVI, LLC
 LHCG LXXXVII, LLC
 LHCG LXXXVIII, LLC
 LHCG New York Holdings, LLC
 LHCG Partner II, LLC
 LHCG Partner, LLC
 LHCG V, L.L.C.
 LHCG VI, L.L.C.
 LHCG VIII, L.L.C.
 LHCG X, L.L.C.
 LHCG XC, LLC
 LHCG XCI, LLC
 LHCG XCII, LLC
 LHCG XCIII, LLC
 LHCG XCIV, LLC
 LHCG XCIX, LLC
 LHCG XCV, LLC
 LHCG XCVI, LLC
 LHCG XCVII, LLC
 LHCG XCVIII, LLC
 LHCG XII, L.L.C.
 LHCG XIII, L.L.C.
 LHCG XIV, L.L.C.
 LHCG XIX, LLC
 LHCG XL, LLC
 LHCG XLI, LLC
 LHCG XLII, LLC
 LHCG XLIII, LLC
 LHCG XLIV, LLC
 LHCG XLVI, LLC
 LHCG XLVII, LLC
 LHCG XLVIII, LLC
 LHCG XV, LLC
 LHCG XVI, LLC
 LHCG XVII, LLC
 LHCG XXI, LLC
 LHCG XXII, LLC
 LHCG XXIII, LLC
 LHCG XXIX, LLC
 LHCG XXV, LLC

                                       22
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 104 of 159. PageID #: 645123




 LHCG XXVI, LLC
 LHCG XXVII, LLC
 LHCG XXXIII, LLC
 LHCG XXXIV, LLC
 LHCG XXXIX, LLC
 LHCG XXXVII, LLC
 LHCG XXXVIII, LLC
 Lifeline Home Health Care of Bowling Green, LLC
 Lifeline Home Health Care of Fulton, LLC
 Lifeline Home Health Care of Hopkinsville, LLC
 Lifeline Home Health Care of Lady Lake, LLC
 Lifeline Home Health Care of Lakeland, LLC
 Lifeline Home Health Care of Lexington, LLC
 Lifeline Home Health Care of Marathon, LLC
 Lifeline Home Health Care of Port Charlotte, LLC
 Lifeline Home Health Care of Russellville, LLC
 Lifeline Home Health Care of Somerset, LLC
 Lifeline Home Health Care of Springfield, LLC
 Lifeline Home Health Care of Union City, LLC
 Lifeline HomeCare of Salem, LLC
 Lifeline of West Tennessee, LLC
 Lifeline Private Duty Services of Kentucky, LLC
 Lifeline Rockcastle Home Health, LLC
 Lifeprint Accountable Care Organization, LLC
 LifeWell. Ltd. Co.
 Lindenhurst Holding, LLC
 Litson Certified Care, Inc.
 Litson Health Care, Inc.
 LLC-I, L.L.C.
 LLC-II, L.L.C.
 Logan Surgical Suites, LLC
 Long Island Digestive Endoscopy Center, LLC
 Long Term Solutions, Inc.
 Louisa Home Care Holdings, LLC
 Louisa Home Care Services, LLC
 Louisiana Extended Care Hospital of Kenner, LLC
 Louisiana Health Care Group, L.L.C.
 Louisiana Home Health of Feliciana, LLC
 Louisiana Home Health of Hammond, L.L.C.
 Louisiana Home Health of Houma, L.L.C.
 Louisiana HomeCare of Delhi, L.L.C.
 Louisiana HomeCare of Kenner, L.L.C.
 Louisiana HomeCare of Lutcher, L.L.C.
 Louisiana HomeCare of Minden, L.L.C.
 Louisiana HomeCare of Miss-Lou, L.L.C.
 Louisiana HomeCare of Monroe, L.L.C.

                                            23
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 105 of 159. PageID #: 645124




 Louisiana HomeCare of North Louisiana, L.L.C.
 Louisiana HomeCare of Northwest Louisiana, L.L.C.
 Louisiana HomeCare of Plaquemine, LLC
 Louisiana HomeCare of Raceland, L.L.C.
 Louisiana HomeCare of Slidell, L.L.C.
 Louisiana Hospice & Palliative Care, L.L.C.
 Louisiana Hospice Group, LLC
 Louisiana In-Home Healthcare Partnership-I, LLC
 Louisiana In-Home Healthcare Partnership-II, LLC
 Louisiana In-Home Healthcare Partnership-III, LLC
 Louisiana In-Home Partner-I, LLC
 Louisiana In-Home Partner-II, LLC
 Louisiana In-Home Partner-III, LLC
 Louisiana Physical Therapy Services of Bossier City, LLC
 Louisiana Physical Therapy Services of Harahan, LLC
 Louisiana Physical Therapy Services of Lafayette, LLC
 Louisiana Physical Therapy, L.L.C.
 Louisville S.C., Ltd.
 Louisville-SC Properties, Inc.
 Loyola Ambulatory Surgery Center at Oakbrook, Inc.
 LTS At Home, LLC
 Lutheran Campus ASC, LLC
 MAMSI Life and Health Insurance Company
 Managed Care of North America, Inc.
 Managed Physical Network, Inc.
 March Holdings, Inc.
 March Vision Care, Inc.
 Marietta Surgical Center, Inc.
 Marin Health Ventures, LLC
 Marin Specialty Surgery Center, LLC
 Marin Surgery Holdings, Inc.
 Marion Regional HomeCare, LLC
 Marlin Holding Company LLC
 Marshall HomeCare, LLC
 Maryland Ambulatory Centers, LLC
 Maryland Health Care Group, LLC
 Maryland Healthcare Partnership, LLC
 Maryland Intermediary-I, LLC
 Maryland Intermediary-II, LLC
 Maryland Intermediary-III, LLC
 Maryland Intermediary-IV, LLC
 Maryland Physical Therapy Services of Frederick, LLC
 Maryland-SCA Centers, LLC
 Massachusetts Assurance Company, Ltd. PIC
 Massachusetts Avenue Surgery Center, LLC
 Massachusetts Health Care Group, LLC

                                              24
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 106 of 159. PageID #: 645125




 Massachusetts Physical Therapy Services of Framingham, LLC
 Massachusetts Physical Therapy Services of Quincy Bay, LLC
 Mayes County HMA Home Health LLC
 MCNA Health Care Holdings, LLC
 MCNA Insurance Company
 MCNA Systems Corp.
 MD Ops, Inc.
 MD-Individual Practice Association, Inc.
 MED 3000 Health Solutions of the Virginias, L.L.C.
 MED3000 Health Solutions Southeast
 Mederi Caretenders VS of Broward, LLC
 Mederi Caretenders VS of SE FL, LLC
 Mederi Caretenders VS of SW FL, LLC
 Mederi Caretenders VS of Tampa, LLC
 Mederi Private Care, LLC
 MedExpress Development, LLC
 MedExpress Urgent Care Alabama, LLC
 MedExpress Urgent Care Maine, Inc.
 MedExpress Urgent Care New Hampshire, Inc.
 MedExpress Urgent Care of Boynton Beach, LLC
 MedExpress Urgent Care, Inc. - Ohio
 Medical Center Home Health, LLC
 Medical Centers HomeCare, LLC
 Medical Clinic of North Texas PLLC
 Medical Hilfe S.A.
 Medical Support Los Angeles, Inc.
 Medical Surgical Centers of America, Inc.
 MedSynergies, LLC
 Melbourne Surgery Center, LLC
 Memorial City Holdings, LLC
 Memorial City Partners, LLC
 Memorial Houston Surgery Center, LLC
 Mena Medical Center Home Health, L.L.C.
 Mena Medical Center Hospice, L.L.C.
 Mesquite Liberty, LLC
 MGH/SCA, LLC
 MHC Real Estate Holdings, LLC
 Miami Surgery Center, LLC
 Michigan In-Home Healthcare Partnership-I, LLC
 Michigan In-Home Healthcare Partnership-II, LLC
 Michigan In-Home Healthcare Partnership-III, LLC
 Michigan In-Home Healthcare Partnership-IV, LLC
 Michigan In-Home Partner-I, LLC
 Michigan In-Home Partner-II, LLC
 Michigan In-Home Partner-III, LLC
 Michigan In-Home Partner-IV, LLC

                                            25
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 107 of 159. PageID #: 645126




 Midwest Center for Day Surgery, LLC
 Midwest Hospice, LLC
 Midwest JV Holdings, LLC
 Mid-West National Life Insurance Company of Tennessee
 Midwest Surgery Center Holdings, LLC
 Mile High SurgiCenter, LLC
 Minnesota Health Care Group, LLC
 Mississippi Health Care Group, LLC
 Mississippi HomeCare of Jackson II, LLC
 Mississippi HomeCare, L.L.C.
 Mississippi Physical Therapy Services of Biloxi, LLC
 Missouri Health Care Group, LLC
 Missouri Physical Therapy Services of Creve Coeur, LLC
 Mizell Memorial Hospital HomeCare, LLC
 MJ Nursing at Black Stone, LLC
 Monarch Management Services, Inc.
 Montana Health Care Group, LLC
 Montgomery Surgery Center Limited Partnership
 Mooresville Home Care Services, LLC
 Morris Avenue ASC, LLC
 Morristown-Hamblen HomeCare and Hospice, LLC
 Mountaineer HomeCare, LLC
 MSLA Management LLC
 Mt. Pleasant Surgery Center, L.P.
 Munroe Regional HomeCare, LLC
 Murrells Inlet ASC, LLC
 Mustang Razorback Holdings, Inc.
 My Wellness Solutions, LLC
 NAMM Holdings, Inc.
 National Decision Support Company, LLC
 National Foundation Life Insurance Company
 National Health Industries, Inc.
 National Health Information Network, Inc.
 National Pacific Dental, Inc.
 National Surgery Centers, LLC
 Navigator Health, Inc.
 Naviguard, Inc.
 naviHealth Care at Home, LLC
 naviHealth Coordinated Care, LLC
 naviHealth Holdings, LLC
 naviHealth SM Holdings, Inc.
 naviHealth, Inc.
 NCP Investment Holdings, Inc.
 Nebraska Health Care Group, LLC
 Neighborhood Health Partnership, Inc.
 Netwerkes, LLC

                                            26
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 108 of 159. PageID #: 645127




 Nevada Health Care Group, LLC
 Nevada Pacific Dental
 New Hampshire Health Care Group, LLC
 New Hampshire Physical Therapy Services of Hanover, LLC
 New Jersey Health Care Group, LLC
 New Mexico Health Care Group, LLC
 New Mexico Physical Therapy Services of Albuquerque, LLC
 New Orleans Regional Physician Hospital Organization, L.L.C.
 New West Physicians, Inc.
 Newton Holdings, LLC
 Nomad Buyer, Inc.
 North American Medical Management California, Inc.
 North Carolina Health Care Group, LLC
 North Carolina In-Home Healthcare Partnership-I, LLC
 North Carolina In-Home Healthcare Partnership-II, LLC
 North Carolina In-Home Healthcare Partnership-III, LLC
 North Carolina In-Home Healthcare Partnership-IV, LLC
 North Carolina In-Home Healthcare Partnership-IX, LLC
 North Carolina In-Home Healthcare Partnership-V, LLC
 North Carolina In-Home Healthcare Partnership-VI, LLC
 North Carolina In-Home Healthcare Partnership-VII, LLC
 North Carolina In-Home Healthcare Partnership-VIII, LLC
 North Carolina In-Home Partner-I, LLC
 North Carolina In-Home Partner-II, LLC
 North Carolina In-Home Partner-III, LLC
 North Carolina In-Home Partner-IV, LLC
 North Carolina In-Home Partner-IX, LLC
 North Carolina In-Home Partner-V, LLC
 North Carolina In-Home Partner-VI, LLC
 North Carolina In-Home Partner-VII, LLC
 North Carolina In-Home Partner-VIII, LLC
 North Okaloosa Home Health LLC
 North Puget Sound Oncology Equipment Leasing Company, LLC
 Northampton Home Care, LLC
 Northeast Arkansas Partnership, LLC
 Northeast Georgia Home Health II, LLC
 Northeast Washington Home Health, Inc.
 Northern Nevada Health Network, Inc.
 Northern New Jersey Center for Advanced Endoscopy, LLC
 Northern New Jersey Endoscopy Holdings, LLC
 Northern Rockies Surgicenter, Inc.
 Northlake Real Estate Holdings, LLC
 Northlake Surgical Center, L.P.
 Northlake Surgicare, Inc.
 Northshore Extended Care Hospital, LLC
 Northwest Georgia Home Health, LLC

                                            27
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 109 of 159. PageID #: 645128




 Northwest Healthcare Alliance, Inc.
 Northwest Spine and Laser Surgery Center LLC
 Northwest Surgicare, LLC
 NP Services of IN, LLC
 NP Services of KY, LLC
 NP Services of NC, LLC
 NP Services of OH, LLC
 NSC Greensboro, LLC
 NSC Lancaster, LLC
 NSC Seattle, Inc.
 NSC Upland, LLC
 Nurse on Call of Arizona, LLC
 Oak Shadows of Jennings, L.L.C.
 OC Cardiology Practice Partners, LLC
 OCC MSO, LLC
 OHHP, LLC
 Ohio Health Care Group, LLC
 Ohio HomeCare, LLC
 Ohio In-Home Healthcare Partnership-I, LLC
 Ohio In-Home Partner-I, LLC
 Ohio Physical Therapy Services of Mayfield Heights, LLC
 Ohio Physical Therapy Services of Richmond Heights, LLC
 Ohio Physical Therapy Services of Xenia, LLC
 OhioSolutions.org LLC
 Oklahoma City Home Care Services LLC
 Oklahoma Health Care Group, LLC
 Omesa SpA
 OMNI Health Management, LLC
 OMNI Home Health - District 1, LLC
 OMNI Home Health - District 2, LLC
 OMNI Home Health - District 4, LLC
 OMNI Home Health - Hernando, LLC
 OMNI Home Health - Jacksonville, LLC
 OMNI Home Health Holdings, Inc.
 OMNI Home Health Services, LLC
 OmniClaim, LLC
 Oncocare S.A.C.
 OPA MSO, LLC
 Optimum Choice, Inc.
 Optum Aviator Investor, LLC
 Optum Bank, Inc.
 Optum Behavioral Care of Delaware, Inc.
 Optum Behavioral Care of Ohio, Inc.
 Optum Behavioral Care of Virginia, Inc.
 Optum Biometrics, Inc.
 Optum Care Network of Indiana, LLC

                                            28
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 110 of 159. PageID #: 645129




 Optum Care Networks, Inc.
 Optum Care of New York Management, Inc.
 Optum Care Services Company
 Optum Care, Inc.
 Optum Clinics Holding Company, Inc.
 Optum Compounding Services, LLC
 Optum Digital Health Holdings, LLC
 Optum Direct To Consumer, LLC
 Optum Financial, Inc.
 Optum Frontier Therapies Commercial Services, Inc.
 Optum Frontier Therapies Holdings, LLC
 Optum Frontier Therapies II, LLC
 Optum Frontier Therapies Specialty Distribution, LLC
 Optum Frontier Therapies, LLC
 Optum Genomics, Inc.
 Optum Global Solutions (India) Private Limited
 Optum Global Solutions (Philippines), Inc.
 Optum Global Solutions Colombia S.A.S.
 Optum Global Solutions International B.V.
 Optum Government Solutions, Inc.
 Optum Growth Partners, LLC
 Optum Health & Technology (Hong Kong) Limited
 Optum Health & Technology (India) Private Limited
 Optum Health & Technology (Singapore) Pte. Ltd.
 Optum Health & Technology (US), LLC
 Optum Health & Technology Holdings (US), Inc.
 Optum Health Networks, Inc.
 Optum Health Plan of California
 Optum Health Services (Canada) Ltd.
 Optum Health Solutions (Australia) Pty Ltd
 Optum Health Solutions (Ireland) Limited
 Optum Health Solutions (UK) Limited
 Optum Healthcare of Illinois, Inc.
 Optum Heart and Vascular Center, LLC
 Optum Hospice Pharmacy Services, LLC
 Optum Infusion Clinic, LLC
 Optum Infusion Services 100, Inc.
 Optum Infusion Services 101, Inc.
 Optum Infusion Services 103, LLC
 Optum Infusion Services 200, Inc.
 Optum Infusion Services 201, Inc.
 Optum Infusion Services 202, Inc.
 Optum Infusion Services 203, Inc.
 Optum Infusion Services 204, Inc.
 Optum Infusion Services 205, Inc.
 Optum Infusion Services 206, Inc.

                                              29
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 111 of 159. PageID #: 645130




 Optum Infusion Services 207, Inc.
 Optum Infusion Services 208, Inc.
 Optum Infusion Services 209, Inc.
 Optum Infusion Services 301, LP
 Optum Infusion Services 302, LLC
 Optum Infusion Services 305, LLC
 Optum Infusion Services 308, LLC
 Optum Infusion Services 401, LLC
 Optum Infusion Services 402, LLC
 Optum Infusion Services 403, LLC
 Optum Infusion Services 404, LLC
 Optum Infusion Services 500, Inc.
 Optum Infusion Services 501, Inc.
 Optum Infusion Services 550, LLC
 Optum Infusion Services 551, LLC
 Optum Infusion Services 553, LLC
 Optum Infusion Services 554, Inc.
 Optum Insurance of Ohio, Inc.
 Optum Labs Topaz, Inc.
 Optum Labs, Inc.
 Optum Labs, LLC
 Optum Life Sciences (Canada) Inc.
 Optum Networks of New Jersey, Inc.
 Optum of New York, Inc.
 Optum Operations (Ireland) Unlimited Company
 Optum Oregon MSO, LLC
 Optum Packaging Services, LLC
 Optum Peak Endoscopy Center, LLC
 Optum Perks LLC
 Optum Pharma Services Holdings, Inc.
 Optum Pharmacy 700, LLC
 Optum Pharmacy 701, LLC
 Optum Pharmacy 702, LLC
 Optum Pharmacy 704, Inc.
 Optum Pharmacy 705, LLC
 Optum Pharmacy 706, Inc.
 Optum Pharmacy 707, Inc.
 Optum Pharmacy 801, Inc.
 Optum Public Sector Solutions, Inc.
 Optum Rocket, LLC
 Optum SCA CS JV Holdings, LLC
 Optum Senior Services, LLC
 Optum Services (Ireland) Limited
 Optum Services (Puerto Rico) LLC
 Optum Services, Inc.
 Optum Solutions UK Holdings Limited

                                           30
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 112 of 159. PageID #: 645131




 Optum Specialty Distribution Holdings, LLC
 Optum Specialty Distribution, LLC
 Optum Specialty Services, LLC
 Optum Technology, LLC
 Optum UK Solutions Group Limited
 Optum Washington Network, LLC
 Optum Women’s and Children’s Health, LLC
 Optum, Inc.
 Optum360 Services, Inc.
 Optum360 Solutions, LLC
 Optum360, LLC
 OptumCare ACO New Mexico, LLC
 OptumCare ACO West, LLC
 OptumCare Clinical Trials, LLC
 OptumCare Colorado ASC, LLC
 OptumCare Colorado Medical Group, LLC
 OptumCare Colorado, LLC
 OptumCare Endoscopy Center New Mexico, LLC
 OptumCare Florida CI, LLC
 OptumCare Florida, LLC
 OptumCare Holdings Colorado, LLC
 OptumCare Holdings, LLC
 OptumCare Management, LLC
 OptumCare New Mexico, LLC
 OptumCare New York IPA, Inc.
 OptumCare South Florida, LLC
 OptumCare Specialty Practices Investments, LLC
 OptumCare Specialty Practices, LLC
 OptumHealth Care Solutions, LLC
 OptumHealth Holdings, LLC
 OptumHealth International B.V.
 OptumInsight Holdings, LLC
 OptumInsight Life Sciences, Inc.
 OptumInsight Provider Value Network ACO - NY, LLC
 OptumInsight Provider Value Network ACO, LLC
 OptumInsight, Inc.
 OptumRx Administrative Services, LLC
 OptumRx Discount Card Services, LLC
 OptumRx Group Holdings, Inc.
 OptumRx Health Solutions, LLC
 OptumRx Holdings I, LLC
 OptumRx Holdings, LLC
 OptumRx Home Delivery of Ohio, LLC
 OptumRx NY IPA, Inc.
 OptumRx of Pennsylvania, LLC
 OptumRx PBM of Illinois, Inc.

                                          31
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 113 of 159. PageID #: 645132




 OptumRx PBM of Maryland, LLC
 OptumRx PBM of Pennsylvania, LLC
 OptumRx PBM of Wisconsin, LLC
 OptumRx PD of Pennsylvania, LLC
 OptumRx Pharmacy of Nevada, Inc.
 OptumRx, Inc.
 OptumServe Health Services, Inc.
 OptumServe Technology Services, Inc.
 Oregon Health Care Group, LLC
 Oren Meyers, Ph.D., LLC
 Orlando Center for Outpatient Surgery, L.P.
 Orthology Inc.
 OrthoNet Holdings, Inc.
 OrthoNet LLC
 OrthoNet New York IPA, Inc.
 OrthoNet of the South, Inc.
 OrthoNet West, Inc.
 Orthopedic Center of Louisville, LLC
 OrthoWest MSO, LLC
 OSB - Tecnologia e Serviços de Suporte Lda.
 Ovations, Inc.
 Oxford Benefit Management, Inc.
 Oxford Health Insurance, Inc.
 Oxford Health Plans (CT), Inc.
 Oxford Health Plans (NJ), Inc.
 Oxford Health Plans (NY), Inc.
 Oxford Health Plans LLC
 P2P Link, LLC
 Pacific Casualty Company, Inc.
 PacifiCare Life and Health Insurance Company
 PacifiCare Life Assurance Company
 PacifiCare of Arizona, Inc.
 PacifiCare of Colorado, Inc.
 Pacífico S.A. Entidad Prestadora de Salud
 Palliative Care At Heart, LLC
 Palmetto Express Company, LLC
 Palmetto Express, L.L.C.
 Panama City Surgery Center, LLC
 Parker LP, LLC
 Parkway Surgery Center, LLC
 Partial Hospital Systems, Inc.
 Patient Access Limited
 Patient Care Associates, L.L.C.
 Patient Care Connecticut, LLC
 Patient Care HHA, LLC
 Patient Care Medical Services, Inc.

                                            32
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 114 of 159. PageID #: 645133




 Patient Care New Jersey, Inc.
 Patient Care of Hudson County, LLC
 Patient Care Pennsylvania II, LLC
 Patient Care Pennsylvania, Inc.
 Patient Care, Inc.
 Patient Platform Limited
 Patient’s Choice Homecare, LLC
 Patient’s Choice Hospice and Palliative Care of Louisiana, L.L.C.
 Patient’s Choice Hospice, LLC
 Patrimonio Autónomo Nueva Clínica
 Payment Resolution Services, LLC
 PDX, Inc.
 PE Gastro Management, LLC
 PE Gastro MSO Holdings, LLC
 PE Healthcare Associates, LLC
 PE New Jersey Holdco, LLC
 PE North Ridgeville Holdings, LLC
 Pennsylvania Health Care Group Holdings, LLC
 Pennsylvania In-Home Healthcare Partnership-I, LLC
 Pennsylvania In-Home Healthcare Partnership-II, LLC
 Pennsylvania In-Home Healthcare Partnership-III, LLC
 Pennsylvania In-Home Partner-I, LLC
 Pennsylvania In-Home Partner-II, LLC
 Pennsylvania In-Home Partner-III, LLC
 Penzo Enterprises, LLC
 Peoples Health, Inc.
 Perham Physical Therapy, LTD
 Petersburg Home Care Services, LLC
 PF2 IP LLC
 PF2 PST Services LLC
 PGC Acquisition Holdings, LLC
 PGC Endoscopy Center for Excellence, LLC
 PGH Global (Cayman) Limited
 PGH Global, LLC
 PGT Medical Group, Inc.
 Phoenix Mental Health and Wellness PLLC
 Physician Alliance of the Rockies, LLC
 Physicians Accountable Care of Kentucky LLC
 Physicians Accountable Care, LLC
 Physicians Day Surgery Center, LLC
 Physicians Endoscopy Intermediate Holdco, Inc.
 Physicians Endoscopy, L.L.C.
 Physicians Group of Texas, LLC
 Physicians Health Choice of Texas, LLC
 Physicians Health Plan of Maryland, Inc.
 Physicians’ Medical Center, LLC

                                               33
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 115 of 159. PageID #: 645134




 Physicians’ Surgery Center of Downey, LLC
 Picayune HomeCare, LLC
 Pinnacle Health Partnership LLP
 Pinnacle III, LLC
 Pinnacle Systems Management Limited
 Platejoy, LLC
 Plus One Health Management Puerto Rico, Inc.
 Plus One Holdings, Inc.
 PMC-SCA Holdings, LLC
 PMI Acquisition, LLC
 PMSI Settlement Solutions, LLC
 PMSI, LLC
 Polo Holdco, LLC
 POMCO Network, Inc.
 POMCO, Inc.
 Pomerado Outpatient Surgical Center, Inc.
 Pomerado Outpatient Surgical Center, L.P.
 Ponca City Home Care Services, LLC
 Post-Acute Care Center for Research, LLC
 Pottstown Home Care Services, LLC
 PPH Holdings, LLC
 PPH Management Company, L.L.C.
 PPH-Columbia, Inc.
 Practice Partners in Healthcare, LLC
 Preferred Care Network of Florida, Inc.
 Preferred Care Network, Inc.
 Preferred Care Partners Holding, Corp.
 Preferred Care Partners, Inc.
 PreferredOne Administrative Services, Inc.
 PreferredOne Insurance Company
 Premier Choice ACO, Inc.
 Premier Surgery Center of Louisville, L.P.
 Premiere Medical Resources, LLC
 Preston Memorial HomeCare, LLC
 Prevention Healthcare Holdings, LLC
 Primary Care at Home of Louisiana II, LLC
 Primary Care at Home of Louisiana III, LLC
 Primary Care at Home of Louisiana IV, LLC
 Primary Care at Home of Louisiana, LLC
 Primary Care at Home of Maryland, LLC
 Primary Care at Home of Tennessee, LLC
 Primary Care at Home of West Virginia, LLC
 Prime Health, Inc.
 PrimeCare Medical Network, Inc.
 PrimeCare of Citrus Valley, Inc.
 PrimeCare of Corona, Inc.

                                            34
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 116 of 159. PageID #: 645135




 PrimeCare of Hemet Valley, Inc.
 PrimeCare of Inland Valley, Inc.
 PrimeCare of Moreno Valley, Inc.
 PrimeCare of Redlands, Inc.
 PrimeCare of Riverside, Inc.
 PrimeCare of San Bernardino, Inc.
 PrimeCare of Sun City, Inc.
 PrimeCare of Temecula, Inc.
 Princeton Community HomeCare, LLC
 Princeton Home Health, LLC
 Priority Care, Inc.
 Pro Surgery Center, LLC
 Procura Management, Inc.
 Progressive Enterprises Holdings, Inc.
 Progressive Medical, LLC
 ProHEALTH Medical Management, LLC
 ProHealth Physicians ACO, LLC
 ProHealth Physicians, Inc.
 ProHealth Proton Center Management, LLC
 Promotora Country S.A.
 Pronounced Health Solutions, Inc.
 Prosemedic S.A.C.
 Prospero Benefits Management, LLC
 Prospero Care Management, LLC
 Prospero Management Services, LLC
 Protechnic Exeter Limited
 Proxemis Limited
 QoL Acquisition Holdings Corp.
 Queens Endoscopy ASC, LLC
 R Cubed, Inc.
 Rally Health, Inc.
 Rapidus Billing Services, LLC
 Real Appeal, LLC
 Red Bud Home Care Services, LLC
 Red River HomeCare, L.L.C.
 Redlands Ambulatory Surgery Center
 Redlands-SCA Surgery Centers, Inc.
 Refresh Intermediate Holdings, Inc.
 Refresh Kentucky, LLC
 Refresh Management, LLC
 Refresh Mental Health, Inc.
 Refresh New Jersey Psych Health LLC
 Refresh Parent Holdings, Inc.
 Reliant MSO, LLC
 Research Surgical Center LLC
 Restore OMH Holdings, Inc.

                                           35
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 117 of 159. PageID #: 645136




 Restore OMH Intermediate Holdings, Inc.
 Rhode Island Health Care Group, LLC
 Richardson Medical Center HomeCare, L.L.C.
 River West Home Care, LLC
 Rivercrest Home Health Care, Inc.
 Riverside Corporate Wellness, LLC
 Riverside Medical Management, LLC
 Riverside Surgical Center of Meadowlands, LLC
 Riverside Surgical Center of Newark, LLC
 Roane HomeCare, LLC
 Rockville Eye Surgery Center, LLC
 Rocky Mountain Health Maintenance Organization, Incorporated
 RVO Health, LLC
 RX Systems Limited
 S&B Health Care, LLC
 Saden S.A.
 Salem Home Care, LLC
 Salem JV Holdings, LLC
 Salem Surgery Center, LLC
 Salveo Specialty Pharmacy, Inc.
 Sand Lake SurgiCenter, LLC
 Sanvello Health Holdings, LLC
 Sanvello Health Inc.
 SC Affiliates, LLC
 SCA AHN JV Holdings II, LLC
 SCA AHN JV Holdings, LLC
 SCA Alaska Surgery Center, Inc.
 SCA Austin Holdings, LLC
 SCA Aventura Holdings, LLC
 SCA Avon Holdings, LLC
 SCA Bloomfield Holdings, LLC
 SCA BOSC Holdings, LLC
 SCA Cedar Park Holdings, LLC
 SCA Clifton, LLC
 SCA Colorado Springs Holdings, LLC
 SCA Cottonwood Holdings, LLC
 SCA Danbury Surgical Center, LLC
 SCA Denver Holdings, LLC
 SCA Development, LLC
 SCA Duluth Holdings, LLC
 SCA Duncanville Holdings, LLC
 SCA Duncanville MSO, LLC
 SCA East Bay Holdings, LLC
 SCA eCode Solutions Private Limited
 SCA Englewood Health Holdings, LLC
 SCA Englewood Holdings, LLC

                                            36
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 118 of 159. PageID #: 645137




 SCA ESSC Holdings, LLC
 SCA Global One Holdings, LLC
 SCA Grove Creek Holdings, LLC
 SCA Guilford Holdings II, LLC
 SCA Guilford Holdings, LLC
 SCA Hays Holdings, LLC
 SCA Health Anesthesia, LLC
 SCA Health Value Enterprise, LLC
 SCA Health, LLC
 SCA Heartland Holdings, LLC
 SCA High Point Holdings, LLC
 SCA HoldCo, Inc.
 SCA Holding Company, Inc.
 SCA Holdings, Inc.
 SCA Houston Holdings, LLC
 SCA HRH Holdings, LLC
 SCA IEC Holdings, LLC
 SCA Indiana Holdings, LLC
 SCA Jacksonville Holdings, LLC
 SCA Louisville, LLC
 SCA Lutheran Holdings, LLC
 SCA Murrells Inlet, LLC
 SCA Northern Utah Holdings, LLC
 SCA Northwest Holdings, LLC
 SCA Outside New Jersey, LLC
 SCA Pacific Holdings, Inc.
 SCA Pacific Surgery Holdings, LLC
 SCA Palisades Holdings, LLC
 SCA Pinehurst Holdings, LLC
 SCA Pinnacle Holdings, LLC
 SCA Premier Surgery Center of Louisville, LLC
 SCA Providence Holdings, LLC
 SCA Rockledge JV, LLC
 SCA ROCS Holdings, LLC
 SCA Rush Oak Brook Holdings, LLC
 SCA Sage Medical, LLC
 SCA South Ogden Holdings, LLC
 SCA Southwest Fort Wayne Holdings, LLC
 SCA Southwestern PA, LLC
 SCA Specialists of Florida, LLC
 SCA SSSC Holdings, LLC
 SCA Stonegate Holdings, LLC
 SCA Surgery Holdings, LLC
 SCA Surgicare of Laguna Hills, LLC
 SCA Total Holdings, LLC
 SCA Waterloo Holdings, LLC

                                            37
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 119 of 159. PageID #: 645138




 SCA West Health Holdings, LLC
 SCA Westgreen Holdings, LLC
 SCA-Albuquerque Surgery Properties, Inc.
 SCA-Anne Arundel, LLC
 SCA-AppleCare Partners, LLC
 SCA-Bethesda, LLC
 SCA-Blue Ridge, LLC
 SCA-Bonita Springs, LLC
 SCA-Boynton Beach, LLC
 SCA-Carlsbad Holdings, LLC
 SCA-Castle Rock, LLC
 SCA-Charleston, LLC
 SCA-Chatham, LLC
 SCA-Chevy Chase, LLC
 SCA-Citrus, LLC
 SCA-Colonial Partners, LLC
 SCA-Colorado Springs, LLC
 SCA-Davenport, LLC
 SCA-Denver Physicians Holdings, LLC
 SCA-Denver, LLC
 SCA-Derry, LLC
 SCA-Doral, LLC
 SCA-Downey, LLC
 SCA-Dry Creek, LLC
 SCA-Dublin, LLC
 SCA-Encinitas, Inc.
 SCA-Eugene, LLC
 SCA-First Coast, LLC
 SCA-Florence, LLC
 SCA-Fort Collins, Inc.
 SCA-Fort Walton, Inc.
 SCA-Franklin, LLC
 SCA-Frederick, LLC
 SCA-Freeway Holdings, LLC
 SCA-Ft. Myers, LLC
 SCA-Gainesville, LLC
 SCA-Gladiolus, LLC
 SCA-Glenwood Holdings, LLC
 SCA-Grants Pass, LLC
 SCA-Grove Place, LLC
 SCA-Hagerstown, LLC
 SCA-Hilton Head, LLC
 SCA-Houston Executive, LLC
 SCAI Holdings, LLC
 SCA-Illinois, LLC
 SCA-Imperial Point Holdings, LLC

                                            38
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 120 of 159. PageID #: 645139




 SCA-JPM Holdings, LLC
 SCA-Kissing Camels Holdings, LLC
 SCA-Louisville Ortho, LLC
 SCA-LPSC Holdings, LLC
 SCA-Marina del Rey, LLC
 SCA-Mecklenburg Development Corp.
 SCA-Memorial City, LLC
 SCA-Memorial, LLC
 SCA-Merritt, LLC
 SCA-Midlands, LLC
 SCA-Mobile, LLC
 SCA-Mokena, LLC
 SCA-Morris County, LLC
 SCA-Mt. Pleasant, LLC
 SCA-Naperville, LLC
 SCA-Naples, LLC
 SCA-New Jersey, LLC
 SCA-Newport Beach, LLC
 Scanner Centromed S.A.
 SCA-Optum Nevada Holdings, LLC
 SCA-Palm Beach MSO Holdings, LLC
 SCA-Palm Beach, LLC
 SCA-Panama City Holdings, LLC
 SCA-Pocono, LLC
 SCA-Portland, LLC
 SCA-Practice Partners Holdings, LLC
 SCA-Pro Holdings, LLC
 SCA-Riverside Partners, LLC
 SCA-Riverside, LLC
 SCA-Sacred Heart Holdings, LLC
 SCA-San Diego, Inc.
 SCA-San Luis Obispo, LLC
 SCA-Sand Lake, LLC
 SCA-Santa Rosa, Inc.
 SCA-Seattle, LLC
 SCA-Somerset, LLC
 SCA-Spartanburg Holdings, LLC
 SCA-St. Cloud Holdings, LLC
 SCA-St. Louis Holdings, LLC
 SCA-St. Louis, LLC
 SCA-St. Lucie, LLC
 SCA-Surgicare, LLC
 SCA-UTH Holdings, LLC
 SCA-Verta, LLC
 SCA-VLR Holdings Company, LLC
 SCA-Wake Forest, LLC

                                       39
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 121 of 159. PageID #: 645140




 SCA-Western Connecticut, LLC
 SCA-Winston-Salem, LLC
 SCA-Winter Park, Inc.
 SCA-Woodlands Holdings, LLC
 SCLHS-SCA Holdings, LLC
 SCP Specialty Infusion, LLC
 Scranton Quincy Home Care Services, LLC
 Seattle Surgery Center LLC
 Senior Benefits, L.L.C.
 Senior Care Network of Connecticut, LLC
 Serquinox Holdings LLC
 Servicios de Entrenamiento en Competencias Clínicas SpA
 Servicios Integrados de Salud Ltda.
 Servicios Médicos Amed Quilpué S.A.
 Servicios Médicos Bío Bío Ltda.
 Servicios Médicos Ciudad del Mar Ltda.
 Servicios Médicos Santa María Ltda.
 Servicios Médicos Vespucio Ltda.
 Sharon Home Care Services, LLC
 SHC Atlanta, LLC
 SHC Austin, Inc.
 SHC Hawthorn, Inc.
 SHC Melbourne, Inc.
 Shelbyville Home Care Services, LLC
 Sierra Dental Plan, Inc.
 Sierra Health and Life Insurance Company, Inc.
 Sierra Health Services, Inc.
 Sierra Health-Care Options, Inc.
 Sierra Home Medical Products, Inc.
 Sierra Nevada Administrators, Inc.
 Sistema de Administración Hospitalaria S.A.C.
 SJ East Campus ASC, LLC
 SJ Home Care, LLC
 Small Business Insurance Advisors, Inc.
 Sociedad de Inversiones Santa María SpA
 Solaris JV Holdings, Inc.
 Solstice Administration Services, Inc.
 Solstice Administrators of Alabama, Inc.
 Solstice Administrators of Missouri, Inc.
 Solstice Administrators of North Carolina, Inc.
 Solstice Administrators, Inc.
 Solstice Benefit Services, Inc.
 Solstice Benefits, Inc.
 Solstice Health Insurance Company
 Solstice Healthplans of Arizona, Inc.
 Solstice Healthplans of Colorado, Inc.

                                             40
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 122 of 159. PageID #: 645141




 Solstice Healthplans of Ohio, Inc.
 Solstice Healthplans of Texas, Inc.
 Solstice Healthplans, Inc.
 Solstice of Illinois, Inc.
 Solstice of Minnesota, Inc.
 Solstice of New York, Inc.
 Soluciones en Salud SpA
 Solutran, LLC
 Somerset Outpatient Surgery, L.L.C.
 SOSCCA Holdings, LLC
 South Carolina Health Care Group, LLC
 South Carolina In-Home Healthcare Partnership-I, LLC
 South Carolina In-Home Healthcare Partnership-II, LLC
 South Carolina In-Home Healthcare Partnership-III, LLC
 South Carolina In-Home Partner-I, LLC
 South Carolina In-Home Partner-II, LLC
 South Carolina In-Home Partner-III, LLC
 South Mississippi Home Health, Inc.
 South Mississippi Home Health, Inc. - Region I
 South Mississippi Home Health, Inc. - Region II
 South Mississippi Home Health, Inc. - Region III
 Southeast Alabama HomeCare, LLC
 Southeast Louisiana HomeCare, L.L.C.
 Southern Georgia Partnership, LLC
 Southwest Arkansas HomeCare, LLC
 Southwest Medical Associates, Inc.
 Southwest Michigan Health Network Inc.
 Southwest Missouri HomeCare, LLC
 Southwest Post-Acute Care Partnership, LLC
 Southwest Surgery Center, LLC
 Southwest Surgical Center, LLC
 Space Coast Surgical Center, Ltd.
 Spartanburg Surgery Center, LLC
 Specialists in Urology Surgery Center, LLC
 Specialized Outpatient Surgery Center for Children and Adults, LLC
 Specialized Pharmaceuticals, Inc.
 Specialty Benefits, LLC
 Specialty Billing Solutions, LLC
 Specialty Extended Care Hospital of Monroe, LLC
 Specialty Surgical Center, LLC
 Spectera of New York, IPA, Inc.
 Spectera, Inc.
 Spokane Home Care Services, LLC
 Springdale Home Care Services, LLC
 SRPS, LLC
 St. Cloud MSO, LLC

                                              41
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 123 of 159. PageID #: 645142




 St. Cloud Surgical Center, LLC
 St. James HomeCare, L.L.C.
 St. Landry Family Healthcare, LLC
 St. Louis Cardiovascular Institute, LLC
 St. Louis Specialty Surgical Center, LLC
 St. Mary’s Medical Center Home Health Services, LLC
 Starship Securities LLC
 Stonegate Surgery Center, L.P.
 Summit Cardiovascular Group, LLC
 Summit Properties - Muskogee, LLC
 Suncoast Healthcare Partnership, LLC
 Suncoast Partner-1, LLC
 Suncoast Partner-II, LLC
 Suncoast Partner-III, LLC
 Suncoast Partnership-I, LLC
 Suncoast Partnership-II, LLC
 Suncoast Partnership-III, LLC
 SunCrest Companion Services, LLC
 SunCrest Healthcare of East Tennessee, LLC
 SunCrest Healthcare of Middle TN, LLC
 SunCrest Healthcare of West Tennessee, LLC
 SunCrest Healthcare, Inc.
 SunCrest Home Health - Southside, LLC
 Suncrest Home Health of AL, Inc.
 SunCrest Home Health of Claiborne County, Inc.
 SunCrest Home Health of Georgia, Inc.
 SunCrest Home Health of Manchester, Inc.
 SunCrest Home Health of MO, Inc.
 SunCrest Home Health of Nashville, Inc.
 SunCrest Home Health of South GA, Inc.
 SunCrest Home Health of Tampa, LLC
 SunCrest LBL Holdings, Inc.
 SunCrest Outpatient Rehab Services of TN, LLC
 SunCrest Outpatient Rehab Services, LLC
 SunCrest Telehealth Services, Inc.
 Sundance Behavioral Resources, LLC
 SunSurgery, LLC
 Surgery Center at Cherry Creek, LLC
 Surgery Center at Cottonwood, LLC
 Surgery Center at Grove Creek, LLC
 Surgery Center at Kissing Camels, LLC
 Surgery Center at South Ogden, LLC
 Surgery Center Holding, LLC
 Surgery Center of Boca Raton, Inc.
 Surgery Center of Colorado Springs, LLC
 Surgery Center of Des Moines, LLC

                                            42
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 124 of 159. PageID #: 645143




 Surgery Center of Easton, LLC
 Surgery Center of Ellicott City, Inc.
 Surgery Center of Highlands Ranch, LLC
 Surgery Center of Longs Peak, LLC
 Surgery Center of Louisville, LLC
 Surgery Center of Maui, LLC
 Surgery Center of Southern Pines, LLC
 Surgery Center of The Woodlands, LLC
 Surgery Centers of Des Moines, Ltd., an Iowa Limited Partnership
 Surgery Centers-West Holdings, LLC
 Surgical Care Affiliates, LLC
 Surgical Care Partners of Melbourne, LLC
 Surgical Center of Tuscaloosa Holdings, LLC
 Surgical Center of TVH, LLC
 Surgical Health Of Orlando, LLC
 Surgical Health, LLC
 Surgical Management Solutions, LLC
 Surgicare of Jackson, LLC
 Surgicare of Joliet, Inc.
 Surgicare of La Veta, Inc.
 Surgicare of Minneapolis, LLC
 Surgicare of Mobile, LLC
 Surgicare of Oceanside, Inc.
 Surgicare of Owensboro, LLC
 Surgicare of Salem, LLC
 Surgicare, LLC
 Surgicenters of Southern California, Inc.
 SWF Home Care Services, LLC
 Tecnología de Información en Salud S.A.
 Tennessee Health Care Group, LLC
 Tennessee In-Home Healthcare Partnership-I, LLC
 Tennessee In-Home Healthcare Partnership-II, LLC
 Tennessee In-Home Healthcare Partnership-III, LLC
 Tennessee In-Home Healthcare Partnership-IV, LLC
 Tennessee In-Home Partner-I, LLC
 Tennessee In-Home Partner-II, LLC
 Tennessee In-Home Partner-III, LLC
 Tennessee In-Home Partner-IV, LLC
 Tennessee Nursing Services of Morristown, Inc.
 Tennessee Physical Therapy Services of Kingsport, LLC
 Tennessee Physical Therapy Services of Knoxville, LLC
 Tennessee Physical Therapy Services of Memphis, LLC
 Tennessee Physical Therapy Services of Mt. Juliet, LLC
 Texas Health Care Group Holdings, LLC
 Texas Health Care Group of Texarkana, L.L.C.
 Texas Health Care Group of The Golden Triangle, LLC

                                              43
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 125 of 159. PageID #: 645144




 Texas Health Care Group, L.L.C.
 Texas Health Surgery Center Forney, LLC
 Texas Physical Therapy Services of Baytown, LLC
 Texas Physical Therapy Services of Burleson, LLC
 The Advisory Board Company
 The Center for Cognitive and Behavioral Therapy of Greater Columbus, Inc.
 The Center for Eating Disorders Management, Inc.
 The Chesapeake Life Insurance Company
 The Endoscopy Center of West Central Ohio, LLC
 The Lewin Group, Inc.
 The Polyclinic MSO, LLC
 The Surgical Center of the Treasure Coast, L.L.C.
 Thomas Home Health, LLC
 Thomas Johnson Surgery Center, LLC
 Three Rivers Holdings, Inc.
 Three Rivers HomeCare, LLC
 Tmesys, LLC
 Tomball Texas Home Care Services, LLC
 Total Surgery Center, LLC
 Trails Edge Surgery Center, LLC
 Transformer DE I, LLC
 Transformer DE II, LLC
 Transformer TX Holdings, LLC
 Travel Express Incorporated
 Trigg County Home Health, Inc.
 Tri-Parish Community HomeCare, L.L.C.
 TTCP-SR Holdings, Inc.
 Tucson Home Care Services, LLC
 Tuscaloosa Anesthesia Associates, LLC
 Twin Lakes Home Health Agency, LLC
 U.S. Behavioral Health Plan, California
 UCHealth HRH-SCA Holdings, LLC
 UCH-SCA LPSC Holdings, LLC
 UHC Finance (Ireland) Limited
 UHC International Services, Inc.
 UHC of California
 UHCG – FZE
 UHCG Holdings (Ireland) Limited
 UHCG Services (Ireland) Limited
 UHG Holdings 1 (Ireland) Unlimited Company
 UHG Holdings 3 (Ireland) Unlimited Company
 UHG Holdings UK IV Limited
 UHG Holdings UK V Limited
 UHG Holdings UK VI Limited
 UHG Holdings UK VII Limited
 UHG International (Ireland) Unlimited Company

                                              44
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 126 of 159. PageID #: 645145




 UHIC Holdings, Inc.
 UMR, Inc.
 Unidad Médica Diagnóstico S.A.
 Unimerica Insurance Company
 Unimerica Life Insurance Company of New York
 Unison Health Plan of Delaware, Inc.
 United Behavioral Health
 United Behavioral Health of New York, I.P.A., Inc.
 United Group Reinsurance, Inc.
 United Health Foundation
 United HealthCare Services, Inc.
 United Resource Networks IPA of New York, Inc.
 UnitedHealth Advisors, LLC
 UnitedHealth Group Inc.
 UnitedHealth Group Incorporated
 UnitedHealth Group International Finance (Ireland) Unlimited Company
 UnitedHealth International, Inc.
 UnitedHealth Military & Veterans Services, LLC
 UnitedHealthcare Benefits of Texas, Inc.
 UnitedHealthcare Benefits Plan of California
 UnitedHealthcare Community Plan of California, Inc.
 UnitedHealthcare Community Plan of Georgia, Inc.
 UnitedHealthcare Community Plan of Ohio, Inc.
 UnitedHealthcare Community Plan of Texas, L.L.C.
 UnitedHealthcare Community Plan, Inc.
 UnitedHealthcare Europe S.á r.l.
 UnitedHealthcare Freedom Insurance Company
 UnitedHealthcare Freedom Plans, Inc.
 UnitedHealthcare Global Medical (UK) Limited
 UnitedHealthcare Insurance Company
 UnitedHealthcare Insurance Company of America
 UnitedHealthcare Insurance Company of Illinois
 UnitedHealthcare Insurance Company of New York
 UnitedHealthcare Insurance Company of the River Valley
 UnitedHealthcare Insurance Designated Activity Company
 UnitedHealthcare Integrated Services, Inc.
 UnitedHealthcare International I B.V.
 UnitedHealthcare International II S.á r.l.
 UnitedHealthcare International III B.V.
 UnitedHealthcare International III S.á r.l.
 UnitedHealthcare International IV S.á r.l.
 UnitedHealthcare International VIII S.à r.l.
 UnitedHealthcare International X S.à r.l.
 UnitedHealthcare Life Insurance Company
 UnitedHealthcare of Alabama, Inc.
 UnitedHealthcare of Arizona, Inc.

                                             45
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 127 of 159. PageID #: 645146




 UnitedHealthcare of Arkansas, Inc.
 UnitedHealthcare of Colorado, Inc.
 UnitedHealthcare of Florida, Inc.
 UnitedHealthcare of Georgia, Inc.
 UnitedHealthcare of Illinois, Inc.
 UnitedHealthcare of Kentucky, Ltd.
 UnitedHealthcare of Louisiana, Inc.
 UnitedHealthcare of Mississippi, Inc.
 UnitedHealthcare of New England, Inc.
 UnitedHealthcare of New Mexico, Inc.
 UnitedHealthcare of New York, Inc.
 UnitedHealthcare of North Carolina, Inc.
 UnitedHealthcare of Ohio, Inc.
 UnitedHealthcare of Oklahoma, Inc.
 UnitedHealthcare of Oregon, Inc.
 UnitedHealthcare of Pennsylvania, Inc.
 UnitedHealthcare of South Carolina, Inc.
 UnitedHealthcare of Texas, Inc.
 UnitedHealthcare of the Mid-Atlantic, Inc.
 UnitedHealthcare of the Midlands, Inc.
 UnitedHealthcare of the Midwest, Inc.
 UnitedHealthcare of the Rockies, Inc.
 UnitedHealthcare of Utah, Inc.
 UnitedHealthcare of Washington, Inc.
 UnitedHealthcare of Wisconsin, Inc.
 UnitedHealthcare Plan of the River Valley, Inc.
 UnitedHealthcare Service LLC
 UnitedHealthcare Specialty Benefits, LLC
 UnitedHealthcare, Inc.
 Unity Health Network, LLC
 University of TN Medical Center Home Care Services, LLC
 Upland Holdings, LLC
 Upland Outpatient Surgical Center, L.P.
 Urgent Care Holdings, LLC
 Urgent Care MSO, LLC
 Urology Associates of North Texas, P.L.L.C.
 USHEALTH Academy, Inc.
 USHEALTH Administrators, LLC
 USHEALTH Advisors, LLC
 USHEALTH Funding, Inc.
 USHEALTH Group, Inc.
 USMD Administrative Services, L.L.C.
 USMD Affiliated Services
 USMD Holdings, Inc.
 USMD Inc.
 USMD PPM, LLC

                                            46
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 128 of 159. PageID #: 645147




 Utah Health Care Group, LLC
 Valley Physicians Network, Inc.
 Valparaiso Home Care Services, LLC
 Vascular Labs of the Rockies ASC, LLC
 Venice Home Care Services, LLC
 Verta Management Services, LLC
 Via Vitae MSO, LLC
 Victoria Texas Home Care Services, LLC
 Vida Integra S.p.A.
 Vida Tres S.A.
 Vieosoft, Inc.
 Virginia Health Care Group, LLC
 Virginia HomeCare, LLC
 Virginia In-Home Healthcare Partnership-I, LLC
 Virginia In-Home Healthcare Partnership-II, LLC
 Virginia In-Home Healthcare Partnership-III, LLC
 Virginia In-Home Healthcare Partnership-IV, LLC
 Virginia In-Home Healthcare Partnership-IX, LLC
 Virginia In-Home Healthcare Partnership-V, LLC
 Virginia In-Home Healthcare Partnership-VI, LLC
 Virginia In-Home Healthcare Partnership-VII, LLC
 Virginia In-Home Healthcare Partnership-VIII, LLC
 Virginia In-Home Healthcare Partnership-X, LLC
 Virginia In-Home Healthcare Partnership-XI, LLC
 Virginia In-Home Healthcare Partnership-XII, LLC
 Virginia In-Home Partner-I, LLC
 Virginia In-Home Partner-II, LLC
 Virginia In-Home Partner-III, LLC
 Virginia In-Home Partner-IV, LLC
 Virginia In-Home Partner-IX, LLC
 Virginia In-Home Partner-V, LLC
 Virginia In-Home Partner-VI, LLC
 Virginia In-Home Partner-VII, LLC
 Virginia In-Home Partner-VIII, LLC
 Virginia In-Home Partner-X, LLC
 Virginia In-Home Partner-XI, LLC
 Virginia In-Home Partner-XII, LLC
 Virtua-SCA Holdings III, LLC
 Vision NewCo, LLC
 Vital Hospice, Inc.
 Vivify Health, Inc.
 VPay Benefits Corporation
 VPay Intermediate Holdings, LLC
 VPay, Inc.
 Ware Visiting Nurses Service, Inc.
 Washington D.C. Health Care Group, LLC

                                             47
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 129 of 159. PageID #: 645148




 Washington Health Care Group, LLC
 Washington HomeCare and Hospice of Central Basin, LLC
 Waukegan Hospice, LLC
 Wauwatosa Outpatient Surgery Center, LLC
 Wayland Square Surgicare Acquisition, L.P.
 Wayland Square Surgicare GP, Inc.
 Weatherford Home Care Services, LLC
 WellMed Medical Management of Florida, Inc.
 WellMed Medical Management, Inc.
 West Coast Endoscopy Holdings, LLC
 West Grove Home Care, LLC
 West Tennessee HomeCare, LLC
 West Virginia Health Care Group, LLC
 West Virginia HomeCare, LLC
 West Virginia Physical Therapy Services of Charleston, LLC
 Western Arizona Regional Home Health and Hospice, LLC
 Western Connecticut Orthopedic Surgical Center, LLC
 Western Region Health Corporation
 Westgreen Surgical Center, LLC
 WESTMED Practice Partners LLC
 Wetzel County HomeCare, LLC
 Wichita Falls Texas Home Care, LLC
 Wilkes-Barre Home Care Services, LLC
 Willcare Consumer Directed, Inc.
 Willcare, Inc.
 Willow Park Endoscopy Center, LLC
 Wisconsin Health Care Group, LLC
 Woods Home Health, LLC
 Woodward Home Care Services, LLC
 Wyoming Health Care Group, LLC
 XLHealth Corporation
 XLHealth Corporation India Private Limited
 Xplor Counseling, LLC
 York Home Care Services, LLC
 Youngstown Home Care Services, LLC




                                             48
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 130 of 159. PageID #: 645149




CLASS ACTION SETTLEMENT AGREEMENT AMONG THIRD PARTY
           PAYORS AND SETTLING DISTRIBUTORS

                         EXHIBIT H - CLAIM FORM
     Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 131 of 159. PageID #: 645150
                   United States District Court for the Northern District of Ohio
                                          Eastern Division

IN RE: NATIONAL PRESCRIPTION OPIATE                             MDL 2804
LITIGATION
                                                                Case No. 1:17-md-2804


                        INSTRUCTIONS FOR SUBMITTING YOUR CLAIM FORM

A Third-Party Payor (TPP) Class Member or an authorized agent for a TPP Class Member may complete this Claim Form.
The Notice and Claims Administrator may request supporting documentation in addition to the documentation and
information requested below. The Notice and Claims Administrator may reject a claim if the TPP Class Member or
its authorized agent does not provide all requested documentation and information in a timely manner. If both a TPP
Class Member and its authorized agent submit a Claim Form, the Notice and Claims Administrator will review both and
determine which is controlling, as well as the amount of the Claim, giving consideration to the extent to which the claims
overlap or supplement one another.

If you are a TPP Class Member submitting a Claim Form on your own behalf, you must provide the information requested
in “Section A – COMPANY OR HEALTH PLAN TPP CLASS MEMBER ONLY,” in addition to the other
information requested in this Claim Form.

If you are an authorized agent of one or more TPP Class Members, you must provide the information requested in
“Section B – AUTHORIZED AGENT ONLY,” in addition to the other information requested in this Claim Form.

If you are submitting a Claim Form only as an authorized agent of two or more TPP Class Members, you may submit a
separate Claim Form for each TPP Class Member OR you may submit a “Consolidated Claim” via a single Claim
Form for all such TPP Class Members.

For those Consolidated Claims that are being submitted for multiple TPP Class Members, the filer shall provide aggregate
information as directed in Sections C or D of this Claim Form, and submit along with this Claim Form a chart
identifying the TPP Class Members included in the Consolidated Claim, as directed in Section B. For each
TPP Class Member included in the Consolidated Claim, the chart shall provide: (i) the name of the TPP Class
Member claimant and (ii) the TPP Class Member’s Federal Tax Identification Number (FEIN).

The “TPP Methodology NDCs” and “TPP Methodology ICD Codes” necessary to complete Section C are available at
www.XXXXXXXXXXX.com.

To qualify to receive a payment from the Settlement, you must complete and submit this Claim Form either on
paper or electronically on the Settlement website, www.XXXXXXXXXX.com, and you may need to provide certain
requested documentation to substantiate your Claim.

Your failure to complete and submit the Claim Form postmarked (if mailed) or received (if submitted online) on
or before [Month 00, 2024], will prevent you from receiving any payment from the Settlement. Submission of this Claim
Form does not ensure that you will share in the payments related to the Settlement. If the Notice and Claims Administrator
rejects or reduces your Claim, you may invoke the dispute resolution process described on page 7.




  QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                                        PAGE 1 OF 8
       Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 132 of 159. PageID #: 645151
                            In Re: National Prescription Opiate Litigation

                                       No. 1:17-md-2804 (N.D. Ohio)

                 MUST BE POSTMARKED ON OR BEFORE, OR SUBMITTED ONLINE BY
                                     [MONTH 00, 2024]

                                 THIRD-PARTY PAYOR CLAIM FORM
                                        Use Blue or Black Ink Only

ATTENTION: THIS FORM IS ONLY TO BE FILLED OUT ON BEHALF OF A THIRD-PARTY PAYOR
(OR AN AUTHORIZED AGENT) AND NOT INDIVIDUAL CONSUMERS.


•   Complete Section A only if you are filing as an individual TPP Class Member.
•   Complete Section B only if you are an authorized agent filing on behalf of one or more TPP Class
    Members.

 Section A: Company or Health Plan TPP Class Member Only
TPP Class Member Name


Contact Name


Care of (if applicable)


Street Address                                                                        Floor/Suite


City                                                         State                    Zip Code


Area Code - Telephone Number                           Tax Identification Number (FEIN)


Email Address


List other names by which your company or health plan has been known or other Federal Employer Identification
Numbers ("FEINs") it has used since January 1, 1996.



       Health Insurance Company/HMO               Self-Insured Employee Health or Pharmacy Benefit Plan




       Self-Insured Health & Welfare Fund
       Other (Explain)

    QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                         PAGE 2 OF 8
       Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 133 of 159. PageID #: 645152


 Section B: Authorized Agent Only
As an authorized agent, please check how your relationship with the TPP Class Member(s) is best described (you
may be required to provide documentation demonstrating this relationship):

       Third-Party Administrator or Administrative Services Only Provider

       Pharmacy Benefit Manager

       Other (Explain):

Authorized Agent's Company Name


Contact Name



Street Address                                                                          Floor/Suite


City                                                          State                     Zip Code


Area Code - Telephone Number                              Authorized Agent's Tax Identification Number


Email Address


Please list the name and FEIN of every TPP Class Member (i.e., Company or Health Plan) for whom you are
submitting this Claim Form (attach additional sheets to this Claim Form as necessary). Alternatively, you may
submit the requested list of TPP Class Member names and FEINs in an electronic format, such as Excel or a tab-
delimited text file. Contact the Notice and Claims Administrator to determine what formats are acceptable. Claim
Forms submitted on behalf of two or more TPP Class Members are referred to as Consolidated Claims. In either
case, the list shall be maintained as confidential by the Notice and Claims Administrator.

TPP CLASS MEMBER’S NAME                                   TPP CLASS MEMBER’S FEIN




  QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                              PAGE 3 OF 8
    Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 134 of 159. PageID #: 645153
   Section C: TPP Claims Methodology 1 - Transactional Claims Data Available
   TPP Class Members that are able to access pharmacy and medical transactional claims data from 1996 - 2024
   must utilize the methodology outlined in this Section C to complete this Claim Form.
   For the TPP Class Member(s) on whose behalf you are submitting this Claim Form, please provide the
   following information or utilize the forms for both individual and Consolidated Claims provided by the Notice
   and Claims Administrator at www.XXXXXXXXXX.com.
  i. By state, on an aggregated basis for entities filing Consolidated Claims, identify: the total dollar amount
     paid or reimbursed by the TPP Class Member(s) for the TPP Methodology NDCs from January 1, 1996 to
     [Month 00, 2024].
 ii. By state, on an aggregated basis for entities filing Consolidated Claims, identify the number of member-
     years with an opioid use disorder (OUD) diagnosis based on the TPP Methodology ICD Codes from January
     1, 1996 to [Month 00, 2024]. Member-years with OUD diagnosis is the sum of the number of unique
     individuals with an OUD diagnosis within each year, totaled for the 28 years of the damage period. (For
     example, if you had 10 people per year with OUD in each year for 5 years, that would equal 50 member-
     years with OUD diagnosis.)
 iii. By state, on an aggregated basis for entities filing Consolidated Claims, identify the number of Covered
      Lives* as of January 1, 2024.
 iv. The TPP Claim amounts for TPP Class Members that provide the information identified above in this Section
     C will be calculated as follows:
            a. The estimated medical cost of OUD ($XX,XXX) will be multiplied by the number of member-
               years with OUD identified in Section C.ii.; and
            b. The dollar value provided in Section C.i. will be combined with the dollar value derived in Section
               C.iv.a.
*“Covered Lives” means the number of enrollees or beneficiaries covered by the TPP.

  What should I do if I have transactional data available for some years but not others?
  You must follow Methodology 1 outlined in Section C to complete the Claim Form for all the years for which
  you have transactional data available. You may use Methodology 2 outlined in Section D to complete the Claim
  Form for any remaining years for which you do not have transactional data available.
  Please note, if you use Methodology 2 to submit a Claim Form for years that you have or could obtain data for,
  your entire claim may be rejected.


                      Total Dollar Amount           Member-Years with           Covered Lives as of
State
                      Paid                          OUD Diagnosis               January 1, 2024




  QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                                PAGE 4 OF 8
                                   Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 135 of 159. PageID #: 645154
 Section D: TPP Claims Methodology 2 - Transactional Claims Data Unavailable

 A TPP Class Member that is unable to access pharmacy and medical transactional claims data from 1996 – 2024, as necessary to complete Section C above, should utilize the
 methodology outlined in this Section D to complete this Claim Form. TPP Class Members electing to utilize TPP Methodology 2 must attest below that they do not have access
 to the necessary transactional claims data for completing TPP Methodology 1.
 For each TPP Class Member on whose behalf you are submitting this Claim Form, and on an aggregated basis for entities filing Consolidated Claims, list the number of Covered
 Lives* for each year in the applicable group of states. Spreadsheet templates of this chart are also available on the Settlement website for both individual and Consolidated
 Claims, www.XXXXXXXXXX.com.
 The Notice and Claims Administrator may request documents or other information from you to support your response below regarding your membership.
 *“Covered Lives” means the number of enrollees or beneficiaries covered by the TPP.

                                                                                                  Covered Lives

States                                 1996      1997       1998      1999      2000      2001    2002      2003   2004    2005     2006     2007    2008    2009      2010

Group 1: AK, AZ, CA, CO, GA, HI,
ID, IL, MN, NV, NM, NY, SC, TX,
UT, VT, VA, WA, WY

Group 2: CT, IN, KS, LA, MD, MI,
MS, MT, NE, NH, NC, ND, OR,
SD, WI

Group 3: AL, AR, DE, DC, FL, IA,
KY, ME, MA, MO, NJ, OH, OK,
PA, RI, TN, WV


                                                                                            Covered Lives

States                                 2011      2012       2013      2014      2015      2016    2017      2018   2019    2020     2021     2022    2023    2024

Group 1: AK, AZ, CA, CO, GA, HI,
ID, IL, MN, NV, NM, NY, SC, TX,
UT, VT, VA, WA, WY




                             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                                         PAGE 5 OF 8
                                   Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 136 of 159. PageID #: 645155
                                                                                              Covered Lives

States                                 2011      2012        2013      2014       2015      2016     2017     2018     2019     2020    2021   2022    2023   2024

Group 2: CT, IN, KS, LA, MD, MI,
MS, MT, NE, NH, NC, ND, OR,
SD, WI

Group 3: AL, AR, DE, DC, FL, IA,
KY, ME, MA, MO, NJ, OH, OK,
PA, RI, TN, WV

If you are unable to break down the number of covered lives by state, please complete the chart below with the number of covered lives by year. You may receive less than you
may have otherwise been eligible for in accordance with the Plan of Allocation.


                                                                                                   Covered Lives



 States                               1996      1997      1998      1999   2000      2001     2002      2003         2004     2005     2006    2007    2008    2009     2010


 All states




                                                                                             Covered Lives



 States                               2011      2012      2013      2014   2015      2016     2017      2018         2019     2020     2021    2022    2023    2024


 All states




For TPP Class Members electing to utilize TPP Methodology 2: After all Claims have been filed, the Notice and Claims Administrator will calculate an average dollar value per
covered life, based on all TPP information accumulated from submissions pursuant to Section C. The Notice and Claims Administrator will apply this average dollar value to the
information provided above in this Section D.



                             QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                                             PAGE 6 OF 8
      Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 137 of 159. PageID #: 645156
Section E: Proof of Payment and Disputes Regarding Claim Amounts
Please provide as much of the information requested above as possible. Pharmacy transaction data supporting claims
submitted pursuant to Section C above is mandatory for Section C.i. amounts of $300,000 or more, although the
Notice and Claims Administrator may also require pharmacy transaction data for claims of less than $300,000, so
keep related transaction data and any other claim documentation supporting your Claim (e.g., invoices) in case the
Notice and Claims Administrator requests it later. If the Section C.i. amount is less than $300,000, you should still
provide the pharmacy transaction data with your Claim submission if you can.

While not required to be submitted along with your initial Claim Form, please also retain all medical transaction
data supporting your Section C.ii. amounts in case the Notice and Claims Administrator requests it later.

If, after an audit of your Claim, the Notice and Claims Administrator still has questions about your Claim and you
have not provided sufficient substantiation of your Claim, the Notice and Claims Administrator may reject your
Claim.

If the Notice and Claims Administrator rejects or reduces your Claim and you believe the rejection or reduction is
in error, you may contact the Notice and Claims Administrator to request further review. If the dispute concerning
your Claim cannot be resolved by the Notice and Claims Administrator and Settlement Class Counsel, you may
request that the Court review your Claim.

Section F: Certification

 I/We have read and am/are familiar with the contents of the Instructions accompanying this Claim Form. I/We
 certify that the information I/we have set forth in the above Claim Form and in any documents attached by me/us
 are true, correct, and complete to the best of my/our knowledge. I/We certify that I/we, or the TPP Class
 Member(s) I/we represent:

     a. During the period January 1, 1996 to [Month 00, 2024], (i) paid and/or were reimbursed for any or all of
        the opioid prescription drugs identified in the TPP Methodology NDCs (which were manufactured,
        marketed, sold, distributed, or dispensed by any of the Defendants and/or Opioid Supply Chain Members),
        for purposes other than resale, and/or (ii) paid or incurred costs for treatment related to the misuse,
        addiction, and/or overdose of opioid drugs, as identified in the TPP Methodology ICD Codes, on behalf of
        individual beneficiaries, insureds, and/or members; and

     b. Is not one of the following excluded parties: (1) all federal governmental entities and all state and local
        governmental entities whose claims have been released by a prior settlement with the Settling
        Distributors; (2) Pharmacy Benefit Managers (“PBMs”); (3) consumers; (4) fully insured plan sponsors;
        (5) Excluded Insurers (Aetna, Anthem, Cigna, Humana, and UnitedHealth), including all related entities;
        (6) Settling Distributors and their subsidiaries, affiliates, and controlled persons; (7) officers, directors,
        agents, servants, or employees of any Settling Distributor, and the immediate family members of any
        such persons; (8) persons and entities named as Defendants in any of the actions centralized in MDL No.
        2804; and (9) anyone that excluded themselves from the TPP Class.

 I/We further certify that I/we have provided all of the information requested above to the extent I/we have it.

 I/We further certify that to the extent I/we am/are submitting this Claim Form pursuant to Section D, TPP Claims
 Methodology 2, above, I/we do not reasonably have access to the transactional claims data necessary to complete and
 submit this Claim Form pursuant to Section C, TPP Methodology 1.

  To the extent I/we have been given authority to submit this Claim Form by one or more TPP Class Members on
  their behalf, and accordingly am/are submitting this Claim Form in the capacity of an authorized agent with

   QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                                   PAGE 7 OF 8
      Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 138 of 159. PageID #: 645157
 authority to submit it, and to the extent I/we have been authorized to receive on behalf of the TPP Class
 Member(s) any and all amounts that may be allocated to them from the Settlement Fund, I/we certify that such
 authority has been properly vested in me/us and that I/we will fulfill all duties I/we may owe the TPP Class
 Member(s). If amounts from the Net Settlement Fund are distributed to me/us and a TPP Class Member later
 claims that I/we did not have the authority to claim and/or receive such amounts on its behalf, I/we and/or my/our
 employer will hold the Class, Settlement Class Counsel, Settling Distributors, and the Notice and Claims
 Administrator harmless with respect to any claims made by the TPP Class Member.

 I/We further certify that that I/we, or the TPP Class Member(s) I/we represent, have authority to release all
 Released Claims on behalf of the TPP Class Member(s) and all other entities who are Releasors by virtue of their
 relationship or association with it/them.

 I/We hereby submit to the jurisdiction of the United States District Court for the Northern District of Ohio for
 all purposes connected with this Claim Form, including resolution of disputes relating to this Claim Form. I/We
 acknowledge that any false information or representations contained herein may subject me/us to sanctions,
 including the possibility of criminal prosecution. I/We agree to supplement this Claim Form by furnishing
 documentary backup for the information provided herein, upon request of the Notice and Claims Administrator.

I certify that the above information supplied by the undersigned is true and correct to the best of my knowledge and
that this Claim Form was executed this ________ day of ____________________ 2024.

Signature                                                   Position/Title




Print Name                                                  Date




Mail the completed Claim Form to the address below, postmarked on or before [Month 00, 2024], or submit the
information online at the Settlement website below by that date:

                                               XXXXXXXXXX
                                              c/o A.B. Data, Ltd.
                                               P.O. Box 173000
                                             Milwaukee, WI 53217
                                     Toll-Free Telephone: 1-800-000-0000
                                     Website: www.XXXXXXXXXX.com
                                         Email: info@XXXXXX.com

                                         REMINDER CHECKLIST:

    1. Please complete and sign the above Claim Form. Attach or upload any documentation supporting your
       claim.
    2. Keep a copy of your Claim Form and supporting documentation for your records.
    3. If you would also like acknowledgement of receipt of your Claim Form, please complete the form online
       or mail this form via Certified Mail, Return Receipt Requested.
    4. If you move and/or your name changes, please send your new address and/or your new name or contact
       information to the Notice and Claims Administrator at info@XXXXXXXX.com or via U.S. Mail at the
       address listed above.
   QUESTIONS? CALL 1-800-000-0000 OR VISIT WWW.XXXXXXXXXXXXXX.COM.                                 PAGE 8 OF 8
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 139 of 159. PageID #: 645158




CLASS ACTION SETTLEMENT AGREEMENT AMONG THIRD PARTY
           PAYORS AND SETTLING DISTRIBUTORS

      EXHIBIT I - FORM OF PRELIMINARY APPROVAL ORDER
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 140 of 159. PageID #: 645159




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




        IN RE: NATIONAL PRESCRIPTION                       )   MDL 2804
        OPIATE LITIGATION                                  )
                                                           )   Case No. 1:17-md-2804
                                                           )
        THIS DOCUMENT RELATES TO:                          )   Judge Dan Aaron Polster
                                                           )
        ALL THIRD PARTY PAYOR ACTIONS                      )




     [PROPOSED] ORDER GRANTING THIRD PARTY PAYOR PLAINTIFFS’
 MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT AND
  DIRECTION OF NOTICE UNDER FEDERAL RULE OF CIVIL PROCEDURE 23(e)

        Before the Court is Third Party Payor (“TPP”) Plaintiffs’ Motion for Preliminary

 Approval of Class Action Settlement and Direction of Notice Under Federal Rule of Civil

 Procedure 23(e) (“Motion”), which seeks: (1) Preliminary Approval of the Settlement

 Agreement; (2) preliminary certification, for settlement purposes only, of the Settlement Class;

 (3) appointment of Interim Settlement Class Counsel and Interim Co-Lead Settlement Class

 Counsel; (4) appointment of Settlement Class Representatives; (5) approval of the Notice and

 proposed Notice Plan; (6) scheduling of the Fairness Hearing, to occur after the conclusion of the

 notice period; (7) appointment of the Escrow Agent; (8) establishment of the Qualified Settlement

 Fund; (9) appointment of the Notice and Claims Administrator; and (10) an order staying and

 enjoining Actions against the Settling Distributors, including their subsidiaries and affiliates, as

 set forth below.
                                                  1
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 141 of 159. PageID #: 645160




        WHEREAS, a proposed Class Action Settlement Agreement (the “Settlement”) has been

 reached between Class Counsel for Third Party Payor Plaintiffs, on behalf of a proposed settlement

 class of TPPs, and Settling Distributors, 1 that resolves certain claims against the Settling

 Distributors pertaining to their distribution of opioids and alleged contribution to the opioid

 epidemic;

        WHEREAS, the Court, for purposes of this Order, adopts all defined terms as set forth in

 the Settlement Agreement attached as Exhibit A to the Joint Declaration of Paul J. Geller and

 Elizabeth J. Cabraser (ECF __), unless otherwise defined herein;

        WHEREAS, Settling Distributors do not oppose the Court’s entry of the proposed

 Preliminary Approval Order;

        WHEREAS, the Court finds it has jurisdiction over the TPP Actions centralized before this

 Court in this MDL No. 2804, and the parties to those Actions, for purposes of Settlement and

 asserts jurisdiction over the Settlement Class Representatives for purposes of considering and

 effectuating this Settlement;

        WHEREAS, this Court has presided over and managed these MDL proceedings since the

 JPML centralized the Actions before this Court, In re: Nat’l Prescription Opiate Litig., 2017 WL

 6031547 (J.P.M.L. Dec. 5, 2017); and

        WHEREAS, this Court has considered all of the presentations and submissions related to

 the Motion, as well as the facts, contentions, claims, and defenses as they have developed in these

 proceedings, and is otherwise fully advised of all relevant facts in connection therewith;

        NOW, THEREFORE, IT IS HEREBY ORDERED:




 1
  Cencora, Inc. (f/k/a AmerisourceBergen Corporation), Cardinal Health, Inc., and McKesson
 Corporation (collectively, “Settling Distributors”).

                                                  2
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 142 of 159. PageID #: 645161




        The proposed Settlement appears to be the product of intensive, thorough, serious,

 informed, and non-collusive negotiations; has no obvious deficiencies; does not improperly grant

 preferential treatment to the Settlement Class Representatives or segments of the Class; and

 appears to be fair, reasonable, and adequate, such that notice of the Settlement should be directed

 to Settlement Class Members and a Fairness Hearing should be set.

        Accordingly, the Motion is GRANTED.

 I.     CLASS DEFINITION, CLASS REPRESENTATIVES, AND CLASS COUNSEL
        “Class” or “Settlement Class” includes:

                All entities that paid and/or were reimbursed for (i) opioid
                prescription drugs manufactured, marketed, sold, distributed, or
                dispensed by any of the Defendants and/or Opioid Supply Chain
                Members for purposes other than resale, and/or (ii) paid or
                incurred costs for treatment related to the misuse, addiction, and/or
                overdose of opioid drugs, on behalf of individual beneficiaries,
                insureds, and/or members, during the time period from January 1,
                1996 to the date of entry of the Preliminary Approval Order. For
                clarity, the Settlement Class includes but is not limited to:
                (a) private contractors of Federal Health Employee Benefits plans,
                (b) plans for self-insured local governmental entities that have not
                settled claims in MDL No. 2804, (c) managed Medicaid plans, (d)
                plans operating under Medicare Part C and/or D, and (e) Taft-
                Hartley plans. For the avoidance of doubt, all Plaintiffs identified
                in Exhibit B are included in the Class. Exhibit B is a non-
                exhaustive list and does not purport to identify all members of the
                Class.

        Excluded from the Class are:

                1. (a) all federal governmental entities and all state and local
                   governmental entities whose claims have been released by a
                   prior settlement with the Settling Distributors, (b) Pharmacy
                   Benefit Managers (“PBMs”), (c) consumers, (d) fully insured
                   plan sponsors, and (e) Excluded Insurers, including the related
                   entities as listed in the definition of Excluded Insurers. For
                   the avoidance of doubt, (i) entities that are administered or
                   operated, but not owned, by an Excluded Insurer and (ii)
                   entities that own an interest, even a controlling interest, in a
                   PBM, are not excluded from the Class, unless they are an
                   Excluded Insurer or are otherwise excluded; and

                                                  3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 143 of 159. PageID #: 645162




                2. (a) the Settling Distributors and their subsidiaries, affiliates,
                   and controlled persons; (b) officers, directors, agents, servants,
                   or employees of any Settling Distributor, and the immediate
                   family members of any such persons; and (c) persons and
                   entities named as Defendants in any of the Actions
                   coordinated under or parallel to MDL No. 2804.

        Paul J. Geller, Elizabeth J. Cabraser, Mark J. Dearman, and Eric B. Fastiff are hereby

 appointed as Interim Settlement Class Counsel, and Paul J. Geller and Elizabeth J. Cabraser are

 also hereby appointed as Interim Co-Lead Settlement Class Counsel, under Rule 23(g)(3) of the

 Federal Rules of Civil Procedure.     Interim Co-Lead Settlement Class Counsel and Settling

 Distributors are authorized to take, without further Court approval, all necessary and appropriate

 steps to implement the Settlement, including the approved notice program.

        The following TPP Plaintiffs are appointed as Settlement Class Representatives: Cleveland

 Bakers and Teamsters Health and Welfare Fund; Pipe Fitters Local Union No. 120 Insurance Fund;

 Pioneer Telephone Cooperative, Inc. Employee Benefits Plan; American Federation of State,

 County and Municipal Employees District Council 37 Health & Security Plan; Louisiana

 Assessors’ Insurance Fund; and Flint Plumbing and Pipefitting Industry Health Care Fund.

 II.    PRELIMINARY FINDINGS
        The Court is familiar with the standards applicable to certification of a settlement class.

 See Fed. R. Civ. P. 23(e); Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 613 (1997); Whitlock v.

 FSL Mgmt., LLC, 843 F.3d 1084, 1093 (6th Cir. 2016) (analyzing the seven factors that govern the

 “fair, reasonable, and adequate” inquiry in the Sixth Circuit); Order Granting Plaintiff’s

 Unopposed Motion for Preliminary Approval of Settlement and Notice to Settlement Class, Wiley

 v. TravelCenters of Am., LLC, No. 1:21-cv-01093 (N.D. Ohio Aug. 25, 2022), ECF 19 (Polster,

 J.).

        Applying these standards, the Court finds it will likely be able to certify, under

 Rule 23(e)(2), the proposed Settlement Class as defined above, for settlement purposes only,
                                                  4
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 144 of 159. PageID #: 645163




 because the Class and its representatives likely meet all relevant requirements of Fed. R. Civ. P.

 23(a) and (b)(3).

 III.     NOTICE TO SETTLEMENT CLASS MEMBERS
          The Court is also familiar with evolving methods of class notice. As applied here, the Court

 finds the content, format, and method of disseminating Notice—set forth in the Motion (ECF __), the

 Joint Declaration of Paul J. Geller and Elizabeth J. Cabraser in support of the Motion (ECF __-1), and

 the exhibits attached thereto—satisfy Rule 23(c)(2) and contemporary notice standards. The Court

 approves the notice program and directs that notice substantially in the form of the revised Proposed

 Notice be disseminated in the manner set forth in the proposed Settlement and Motion, the Joint

 Declaration of Paul J. Geller and Elizabeth J. Cabraser, and the Declaration of Eric J. Miller to

 Settlement Class Members under Rule 23(e)(1). No later than fourteen (14) calendar days following

 the commencement of the dissemination of the Notice, Settlement Class Counsel shall serve on the

 Settling Distributors and file with the Court proof, by affidavit or declaration, of such distribution.

 IV.      PROPOSED SCHEDULE
          Interim Settlement Class Counsel propose the below schedule for disseminating Notice,

 filing objections to the Settlement, requesting exclusion from the Class, and filing TPP Plaintiffs’

 Motion for Final Approval and for Attorneys’ Fees and Expenses:

                      Event                           Proposed Date                Court-Adopted
                                                (unless specified otherwise,          Date (if
                                               days herein are calendar days)         altered)
        Deadline for Settling Distributors     10 days after the filing of the
        to provide Class Action Fairness       Settlement with the Court
        Act notice to appropriate federal
        and state officials.
        Deadline for Notice and Claims         14 days following entry of
        Administrator to commence              Preliminary Approval Order
        dissemination of Notice to
        Settlement Class Members via
        email and/or U.S. mail (the “Notice
        Date”).

                                                     5
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 145 of 159. PageID #: 645164




                    Event                          Proposed Date             Court-Adopted
                                             (unless specified otherwise,       Date (if
                                            days herein are calendar days)      altered)
     Deadline for Interim Settlement        14 days following the Notice
     Class Counsel to serve on Settling     Date
     Distributors and file with the Court
     proof, by affidavit or declaration, of
     the dissemination of the Notice.
     Deadline to submit opening briefs      30 days after the Notice Date
     and supporting materials in support
     of Final Approval of Settlement
     and motion for attorneys’ fees and
     expenses.

     Deadline for objectors to file         45 days after the Notice Date
     Objections with the Court, and for
     Settlement Class Members to
     deliver written and signed Opt-Out
     Forms to Notice and Claims
     Administrator and to email same to
     Interim Settlement Class Counsel
     and Settling Distributors. For the
     avoidance of doubt, Opt-Out Forms
     must be received by Notice and
     Claims Administrator, Interim
     Settlement Class Counsel, and
     Settling Distributors by such date.
     Reply Memoranda in Support of          75 days after the Notice Date
     Final Approval and Fee and
     Expense Application filed.
     Fairness Hearing                       No earlier than the later of:
                                            (1) 120 days following
                                            submission of the Motion for
                                            Preliminary Approval; or (2)
                                            5 days following the Settling
                                            Distributors’ deadline to
                                            exercise their Walk-Away
                                            Right.

        The Fairness Hearing shall take place on [day] ________, 2024, at __:__ _.m. at the United

 States District Court for the Northern District of Ohio, Carl B. Stokes United States Court House,

 801 West Superior Avenue, Courtroom 18B, Cleveland, Ohio 44113-1837, before the Honorable

 Dan Aaron Polster, to determine whether the proposed Settlement is fair, reasonable, and adequate;


                                                 6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 146 of 159. PageID #: 645165




 whether it should be finally approved by the Court; and whether the Actions as to the Settling

 Distributors and Released Claims should be dismissed with prejudice under the Settlement and the

 notice program.     Any application for Attorneys’ Fees and Expenses submitted by Interim

 Settlement Class Counsel and any application for a Service Award to the Settlement Class

 Representatives will be considered separately from the fairness, reasonableness, and adequacy of

 the Settlement.

 V.     STAY OF ACTIONS AS TO THE SETTLING DISTRIBUTORS

        The stay of all MDL 2804 TPP Actions as to the Settling Distributors, including their

 subsidiaries and affiliates, shall continue until this Court has made its final settlement approval

 determination. The Court hereby severs and stays the Class Representatives’ and TPP Bellwether

 Plaintiffs’ cases as to the Settling Distributors, including their subsidiaries and affiliates, during

 the same period. In aid of the Court’s jurisdiction over this Action, all Settlement Class Members

 are hereby enjoined from filing, commencing, prosecuting, continuing, litigating, intervening in,

 or participating as class members in any action asserting Released Claims against any Released

 Entities in any forum or jurisdiction, unless and until such Settlement Class Member has timely

 excluded itself from the Settlement Class.

 VI.    PROCEDURE FOR OPT-OUTS AND OBJECTIONS

        The procedure for Opt-Outs set forth in Section V.G. of the Settlement Agreement, and the

 instructions in the Notice regarding the procedures that must be followed to opt out of the

 Settlement Class and Settlement, as set forth in the Settlement Agreement and proposed Notices

 attached thereto, are approved. Opt Out forms must be received by the Notice and Claims

 Administrator no later than the date designated for such purpose in the Notice and set forth in the

 chart above.



                                                   7
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 147 of 159. PageID #: 645166




        No “mass,” “class,” “group,” or otherwise combined Opt-Out Forms shall be valid, and no

 entity may submit an Opt-Out Form on behalf of any other entity that is included in the Class

 definition including, but not limited to, subsidiaries, affiliated or related companies or business

 entities, divisions, partnerships, or joint ventures, clients, customers, or administrative services

 organization.

        Any Settlement Class Member that does not submit a timely and valid Opt-Out Form in

 accordance with Section V.G.1. of the Settlement Agreement submits to the jurisdiction of the

 Court and, unless the Settlement Class Member submits an Objection that complies with the

 provisions of Section V.F., shall waive and forfeit any and all Objections to the Settlement or the

 Agreement the Settlement Class Member may have asserted.

        The procedure for Objections to the Settlement or to an award of fees or expenses to

 Settlement Class Counsel, as set forth in Section V.F. of the Settlement Agreement, is approved.

        The assertion of an Objection does not operate to opt the Third Party Payor asserting it out

 of, or otherwise exclude that Third Party Payor from, the Settlement Class. A Third Party Payor

 within the Settlement Class can opt out of the Settlement Class and Settlement only by submitting

 a valid and timely Opt-Out Form in accordance with the Settlement Agreement and this Order.

        No later than seven (7) calendar days following the deadline set by the Court for Settlement

 Class Members to opt out from the Class, Interim Settlement Class Counsel shall provide Settling

 Distributors’ counsel with the Opt-Out Report identifying all requests to be excluded from the

 certified Class, and whether any such requests were deemed untimely and/or failed to provide any

 of the information required in Section V.G.1. or were otherwise inadequate.

        Pursuant to Section VI.C. of the Settlement Agreement, the Settling Distributors may, in

 their sole discretion, terminate the Agreement by serving written notice, by email and overnight

 courier, to Interim Settlement Class Counsel within fifteen (15) business days following receipt by

                                                  8
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 148 of 159. PageID #: 645167




 Settling Distributors from Interim Settlement Class Counsel of the Opt-Out Report (the “Walk-

 Away Right”), unless such date is extended by mutual agreement of Interim Settlement Class

 Counsel and Settling Distributors.

 VII.   SETTLEMENT ADMINISTRATION, NOTICE, AND CONTINUING
        JURISDICTION

        The dates and deadlines set forth in this Preliminary Approval Order, including, but not

 limited to, the Fairness Hearing, may be extended by Order of the Court without further notice to

 Settlement Class Members, except that notice of any such extensions shall be included on the

 Settlement website. Settlement Class Members should check the Settlement website regularly for

 updates and further details regarding extensions of these deadlines. Opt-Out Forms and Objections

 must meet the deadlines and follow the requirements set forth in the approved Notice in order to

 be valid.

        Interim Co-Lead Settlement Class Counsel and Settling Distributors are hereby authorized

 to use all reasonable procedures in connection with approval and administration of the Settlement

 not materially inconsistent with the Preliminary Approval Order or the Settlement Agreement,

 including making, without further approval of the Court, minor changes to the Settlement

 Agreement, the form or content of the Notice, or any other exhibits the Settlement Class

 Representatives and Settling Distributors jointly agree are reasonable or necessary, except as

 otherwise provided in the Settlement Agreement.

        The Court appoints A.B. Data to serve as the Notice and Claims Administrator, and

 authorizes A.B. Data, through data aggregators or otherwise, to request, obtain, and use Settlement

 Class Members’ information for notice purposes.

        Settlement Class Members that wish to participate in the Settlement shall complete and

 submit Claim Forms in accordance with the instructions contained therein. Unless the Court

 orders otherwise, all Claim Forms must be submitted no later than ____________, 2024. Any
                                              9
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 149 of 159. PageID #: 645168




 Settlement Class Member that submits a Claim Form shall reasonably cooperate with the Notice

 and Claims Administrator, including by promptly responding to any inquiry made by the Notice

 and Claims Administrator. Any Settlement Class Member that does not timely submit a Claim Form

 within the time provided shall be barred from sharing in the distribution of the proceeds of the

 Settlement but shall nonetheless be bound by the Settlement Agreement, the Final Judgment, and

 the releases therein, unless otherwise ordered by the Court. The Claim Form shall comply with the

 requirements set forth in the Settlement Agreement and any further requirements described in the

 form attached as Exhibit H to the Settlement Agreement.

         The Court appoints Citibank, N.A. as Escrow Agent, which shall control and administer an

 Escrow Account to be established as set forth in the Settlement. Within the later of fourteen (14)

 days of the entry of this Order or the Settling Distributors’ receipt of information and instructions

 required to effectuate a wire transfer in satisfaction of this paragraph, the Settling Distributors shall

 pay by wire transfer a portion of the Settlement Amount sufficient to cover the Notice and

 Administrative Costs, and any Taxes and Tax Expenses as they become due, but in no event greater

 than $1,000,000.00. The Escrow Agent may direct payment of up to $1,000,000.00 for reasonable

 Notice and Administrative Costs, including Taxes or Tax Expenses, as approved by this Court.

         Any portion of the Escrow Account not used for Notice and Administrative Costs and

 Taxes or Tax Expenses paid, incurred, or due and owing shall be returned to the Settling

 Distributors, less interested accrued, if, for any reason, the Effective Date does not occur.

         All funds held by the Escrow Agent shall be deemed and considered to be in custodia legis

 of the Court and shall remain subject to the jurisdiction of the Court, until such time as such funds

 shall be distributed pursuant to the Settlement and/or further order(s) of the Court.




                                                    10
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 150 of 159. PageID #: 645169




         The Court also authorizes that the Escrow Account be established as a “qualified settlement

 fund” within the meaning of Treasury Regulations § 1.468B-1. Such account shall constitute the

 Qualified Settlement Fund as defined in the Settlement Agreement.

         The Court shall maintain continuing jurisdiction over these proceedings (including over

 the administration of the Qualified Settlement Fund) for the benefit of the Settlement Class.

         Neither this Preliminary Approval Order, the Settlement, nor any of its terms or provisions,

 nor any of the negotiations or proceedings connected with it, shall be considered, construed or

 represented to be: (1) an admission, concession, or evidence of liability or wrongdoing; or (2) a

 waiver or any limitation of any defense otherwise available to the Settling Distributors.

         If the Settlement is not approved or consummated for any reason whatsoever, the Settlement

 and all proceedings had in connection therewith shall be without prejudice to the rights of the

 Settling Parties status quo ante [[as of May 1, 2024]] as set forth in Section VI.D.1. of the

 Settlement, except as otherwise expressly provided in the Settlement Agreement. In such event,

 Settling Distributors will not be deemed to have consented to certification of any class, and will

 retain all rights to oppose, appeal, or otherwise challenge, legally or procedurally, class certification

 or any other issue in the Actions. Likewise, if the Settlement does not reach Final Judgment, then

 the participation in the Settlement by any Settlement Class Representative or Settlement Class

 Member cannot be raised as a defense to their claims.



 IT IS SO ORDERED.


 DATED: _________________________                 _____________________________________
                                                  THE HONORABLE DAN A. POLSTER
                                                  UNITED STATES DISTRICT JUDGE




                                                    11
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 151 of 159. PageID #: 645170




   CLASS ACTION SETTLEMENT AGREEMENT AMONG THIRD
       PARTY PAYORS AND SETTLING DISTRIBUTORS

           EXHIBIT J - FORM OF FINAL APPROVAL ORDER
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 152 of 159. PageID #: 645171




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




        IN RE: NATIONAL PRESCRIPTION                     )   MDL 2804
        OPIATE LITIGATION                                )
                                                         )   Case No. 1:17-md-2804
                                                         )
        THIS DOCUMENT RELATES TO:                        )   Judge Dan Aaron Polster
                                                         )
        ALL THIRD PARTY PAYOR ACTIONS                    )




           [PROPOSED] FINAL ORDER AND JUDGMENT GRANTING
  THIRD PARTY PAYOR PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS
   ACTION SETTLEMENT, AND AWARD OF ATTORNEYS’ FEES AND EXPENSES
        AND SETTLEMENT CLASS REPRESENTATIVE SERVICE AWARDS

        Before the Court is Third Party Payor (“TPP”) Plaintiffs’ Motion for Final Approval of

 Class Action Settlement, and Award of Attorneys’ Fees and Expenses and Settlement Class

 Representative Service Awards. The background, procedural history, and Settlement terms were

 summarized in the Court’s Order Granting Third Party Payor Plaintiffs’ Motion for Preliminary

 Approval of Class Action Settlement and Direction of Notice Under Federal Rule of Civil

 Procedure 23(e). See ECF ____ (“Preliminary Approval Order”). In brief, the Settlement

 between Interim Settlement Class Counsel for Third Party Payor Plaintiffs, on behalf of a

 proposed Settlement Class of TPPs, and Settling Distributors 1 provides $300 million to


 1
  Cencora, Inc. (f/k/a AmerisourceBergen Corporation), Cardinal Health, Inc., and McKesson
 Corporation (collectively, “Settling Distributors”).

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 153 of 159. PageID #: 645172




 compensate the Settlement Class for harms allegedly incurred as part of the ongoing, nationwide

 opioid crisis.

 I.      CLASS CERTIFICATION AND SETTLEMENT APPROVAL
         When presented with a motion for final approval of a class action settlement, a court first

 evaluates whether certification of a settlement class is appropriate under Rule 23(a)-(b) of the

 Federal Rules of Civil Procedure. Rule 23(a) provides that a class action is proper only if four

 requirements are met: (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of

 representation. See Fed. R. Civ. P. 23(a)(1)-(4). As relevant here, certification of a Rule

 23(b)(3) settlement class action requires that: (1) “the questions of law or fact common to class

 members predominate over any questions affecting only individual members”; and (2) “a class

 action [be] superior to other available methods for fairly and efficiently adjudicating the

 controversy.” Fed. R. Civ. P. 23(b)(3). In its Preliminary Approval Order, the Court concluded

 that the Settlement Class, as defined therein, and its Settlement Class Representatives were likely

 to satisfy these requirements and that Interim Settlement Class Counsel met the requirements of

 Rule 23(g). See ECF ___. The Court finds no reason to disturb its earlier conclusions, as the

 requirements of Rule 23(a), (b)(3), and (g) were satisfied then, and they remain satisfied now.

 Accordingly, the Court concludes that certification of the Settlement Class is appropriate.

         After finding that the Settlement Class satisfies Rule 23(a) and (b)(3), the Court must

 determine whether the Settlement is fundamentally “fair, reasonable, and adequate.” Fed. R.

 Civ. P. 23(e)(2). The Court is familiar with the standards applicable to certification of a

 settlement class, having applied these standards in the Preliminary Approval Order to conclude

 that the Settlement appeared to be “fair, reasonable, and adequate[.]” ECF ____; see also

 Whitlock v. FSL Mgmt., LLC, 843 F.3d 1084, 1093 (6th Cir. 2016) (analyzing the seven factors

 that govern the “fair, reasonable, and adequate” inquiry in the Sixth Circuit); Granada Invs., Inc.

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 154 of 159. PageID #: 645173




 v. DWG Corp., 962 F.2d 1203, 1205-06 (6th Cir. 1992) (noting that district courts enjoy broad

 discretion when applying the Rule 23(e)(2) factors).

        Now, in granting final approval of the Settlement, the Court has considered each of the

 Rule 23(e) factors and finds that the Settlement Class Representatives and Interim Settlement

 Class Counsel have adequately represented the Settlement Class; the Settlement Agreement was

 negotiated at arm’s length; the relief provided for the Settlement Class is adequate; and the Plan

 of Allocation treats Settlement Class Members equitably relative to one another. See Fed. R.

 Civ. P. 23(e)(2).

        These conclusions are bolstered by the Settlement Class Members’ favorable reaction to

 the Settlement: __ TPPs objected to the settlement, and, out of over 40,000 potential Settlement

 Class Members that were notified, only __ TPPs (less than __%) excluded themselves from the

 settlement. This factor supports final approval. See Whitlock, 843 F.3d at 1093 (considering as

 part of the Rule 23(e)(2) seven-factor analysis “the reaction of absent class members”).

        In addition, the Court finds that the Court-approved notice provided to the Settlement

 Class pursuant to the Settlement Agreement and the Preliminary Approval Order fully complied

 in all respects with the requirements of Fed. R. Civ. P. 23 and due process, and the notice was

 reasonably calculated under the circumstances to apprise the Settlement Class Members of the

 pendency of this Action, their right to object to or exclude themselves from the Settlement, and

 their right to appear at the Fairness Hearing.

        The Court also finds that the Settling Distributors have complied with the Class Action

 Fairness Act of 2005, 28 U.S.C. §§ 1332(d), 1453, 1711-1715, and its notice requirements by

 providing appropriate federal and state officials with information about the Settlement

 Agreement.



                                                  3
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 155 of 159. PageID #: 645174




 II.    REQUESTED ATTORNEYS’ FEES AND EXPENSES AND SERVICE AWARDS
        “The determination of a reasonable fee must be reached through an evaluation of a myriad

 of factors, all within the knowledge of the trial court, examined in light of the congressional policy

 underlying the substantive portions of the statute providing for the award of fees.” United Slate,

 Tile & Composition Roofer, Damp & Waterproof Workers Ass’n, Local 307 v. G & M Roofing &

 Sheet Metal Co., 732 F.2d 495, 501 (6th Cir. 1984); see also Feiertag v. DDP Holdings, LLC,

 2016 WL 4721208, at *6 (S.D. Ohio Sept. 9, 2016) (applying factors to determine a reasonable

 attorneys’ fee). Attorneys’ fees may be properly awarded as a “percentage of the fund method.”

 Rawlings v. Prudential-Bache Props., Inc., 9 F.3d 513, 516 (6th Cir. 1993).

        Interim Co-Lead Settlement Class Counsel request a fee award of 20% of the Settlement

 Funds, plus all reimbursable costs and service awards (see ECF __). The fee amount includes the

 common benefit obligations due under the Court’s common benefit-related Orders (see ECF 4428,

 May 9, 2022 Ongoing Common Benefit Order).

 III.   CONCLUSION
        Accordingly, the Court hereby orders, adjudges, finds, and decrees as follows:

        The Court DISMISSES the Actions coordinated under MDL No. 2804 and all claims

 contained therein, as well as all of the Released Claims with prejudice as to the Released Entities

 only. The Parties are to bear their own costs, except as otherwise provided in the Settlement

 Agreement.

        Only those entities listed in the Opt-Out Report appended to Exhibit 1 of the Supplemental

 Joint Declaration of Elizabeth J. Cabraser and Paul J. Geller (ECF __) that timely submitted valid

 requests to opt out of the Settlement Class are not bound by this Order. Those entities are not

 entitled to any recovery from the Settlement.

        The Court GRANTS class certification for settlement purposes only.


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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 156 of 159. PageID #: 645175




        The Court CONFIRMS the appointment of Interim Settlement Class Counsel Paul J.

 Geller, Elizabeth J. Cabraser, Mark J. Dearman, and Eric B. Fastiff as Settlement Class Counsel.

 The Court further CONFIRMS the appointment of Interim Co-Lead Settlement Class Counsel

 Paul J. Geller and Elizabeth J. Cabraser as Co-Lead Settlement Class Counsel.

        The Court CONFIRMS the appointment of Settlement Class Representatives Cleveland

 Bakers and Teamsters Health and Welfare Fund; Pipe Fitters Local Union No. 120 Insurance Fund;

 Pioneer Telephone Cooperative, Inc. Employee Benefits Plan; American Federation of State,

 County and Municipal Employees District Council 37 Health & Security Plan; Louisiana

 Assessors’ Insurance Fund; and Flint Plumbing and Pipefitting Industry Health Care Fund.

        The Court GRANTS Co-Lead Settlement Class Counsel’s request for attorneys’ fees and

 costs, subject to the Court’s common benefit-related Orders. The Court hereby AWARDS: notice

 and administration costs, expert costs, and Settlement Class Counsel expenses; attorneys’ fees of

 20% of the Settlement Funds; and the below service awards. The attorneys’ fee award includes

 the common benefit obligations due under the Court’s common benefit-related Orders, which shall

 be allocated by the Fee Panel among qualified applicants: firms that: (1) represent litigating TPPs

 against the Settling Distributors (parallel to requirements in prior governmental entity settlements);

 and (2) did work that inured to the common benefit. The fee award net of the common benefit

 assessment shall be allocated by Co-Lead Settlement Class Counsel among counsel who have

 performed authorized work for the benefit of the Settlement Class, with any appeals to such

 allocation going to Special Master Cohen.

        The Court GRANTS Settlement Class Counsel’s request for service awards of $10,000 to

 each of the Settlement Class Representatives.

        The Court hereby discharges and releases the Released Claims as to the Released Entities,

 as those terms are used and defined in the Settlement Agreement.

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Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 157 of 159. PageID #: 645176




        The Court hereby permanently bars and enjoins the institution and prosecution by any

 Settlement Class Representative, Settlement Class Member, Releasor, and anyone claiming

 through or on behalf of any of them, of any other action against the Released Entities in any court

 or other forum asserting any of the Released Claims, or any claim related in any way to the

 Released Claims, as those terms are used and defined in the Settlement Agreement.

        All Settlement Class Members, Releasors, and anyone claiming through or on behalf of

 any of them, shall cooperate with the Settling Distributors to promptly dismiss with prejudice as

 to any of the Released Entities the Actions listed on Exhibit A to the Settlement Agreement that

 are not coordinated under MDL No. 2804 and all other pending litigation asserting any Released

 Claims against any of the Released Entities.

        The Court hereby discharges and releases all Settlement Class Representatives, Settlement

 Class Members, and their counsel of the claims provided in Section IX.L. of the Settlement

 Agreement.

        Neither the Settlement Agreement nor any act performed or document executed pursuant to

 or in furtherance of the Settlement: (i) is or may be deemed to be or may be used as an admission

 of, or evidence of, the validity of any Released Claim or of any wrongdoing or liability of the

 Settling Distributors or Released Entities; or (ii) is or may be deemed to be or may be used as an

 admission of, or evidence of, any fault or omission of any of the Settling Distributors or Released

 Entities in any civil, criminal, or administrative proceeding in any court or other forum.

 Notwithstanding the foregoing, the Settling Distributors and/or the Released Entities may file the

 Settlement Agreement and/or this Final Judgment in any other action that may be brought against

 them to support a defense or counterclaim based on principles of res judicata, collateral estoppel,

 release, good faith settlement, judgment bar, or any theory of claim preclusion or issue preclusion

 or similar defense.

                                                 6
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 158 of 159. PageID #: 645177




        Therefore, pursuant to, and in accordance with, Fed. R. Civ. P. Rule 23, the Court hereby

 fully and finally approves the Settlement Agreement in its entirety and finds that the Settlement

 Agreement is fair, reasonable, and adequate. The Court also finds that the Settlement Agreement

 is in the best interests of the Settlement Class Representatives and all Settlement Class Members,

 and is consistent and in compliance with all applicable laws and rules. The Court further finds that

 the Settlement Agreement is the product of intensive, thorough, serious, informed, and non-

 collusive negotiations overseen by the mediator. The Court further finds that the Parties have

 evidenced full compliance with the Preliminary Approval Order.

        All objections to the Settlement Agreement are found to be without merit and are overruled.

        Without further approval from the Court, and without the express written consent of

 Settlement Class Counsel and Settling Distributors, the Settlement is not subject to any material

 modification.

        The terms of the Settlement and of this Final Order and Judgment are forever binding on

 the Settling Parties and Settlement Class Members, as well as their respective heirs, executors,

 administrators, predecessors, successors, affiliates, and assigns. Settlement Class Members include

 all entities within the Class definition in Section III.A.1.(a). of the Settlement Agreement that did

 not submit a timely and valid Opt-Out in accordance with the procedures in the Settlement

 Agreement and the Preliminary Approval Order.

        The Court finds that the Settlement is a good-faith settlement that bars any Claim by any

 Non-Released Entity against any Released Entities for contribution, indemnification, or otherwise

 seeking to recover all or a portion of any amounts paid by or awarded against that Non-Released

 Entity to any Settlement Class Member or Releasor by way of settlement, judgment, or otherwise

 on any Claim that would be a Released Claim were such Non-Released Entity a Settling

 Distributor, to the extent that a good-faith settlement (or release thereunder) has such an effect

                                                  7
Case: 1:17-md-02804-DAP Doc #: 5614-2 Filed: 08/30/24 159 of 159. PageID #: 645178




 under applicable law, including, without limitation, O.H. Code § 2307.28 and similar laws in other

 states or jurisdictions.

         The Court further reserves and retains exclusive and continuing jurisdiction over the

 Settlement, including the Escrow Account, the Escrow Agent as its administrator, and all future

 proceedings concerning the administration and enforcement of the Settlement Agreement and to

 effectuate its terms.

         In the event that, for any reason, the Effective Date does not occur in accordance with the

 terms of the Settlement Agreement then: (i) this Final Judgment shall be rendered null and void to

 the extent provided by and in accordance with the Settlement Agreement and shall be vacated; (ii)

 all Orders entered and releases delivered in connection herewith shall be null and void to the extent

 provided by and in accordance with the Settlement Agreement; and (iii) the Settlement Funds shall

 be returned to Settling Distributors in accordance with the Settlement Agreement.

         The Court finds, pursuant to Fed. R. Civ. P. 54(b), that there is no just reason for delay,

 and directs immediate entry of this Final Judgment by the Clerk of the Court.




 IT IS SO ORDERED.


 DATED: _________________________              _____________________________________
                                               THE HONORABLE DAN A. POLSTER
                                               UNITED STATES DISTRICT JUDGE




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